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01:01:29      1
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              4                          UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF ILLINOIS
              5                                EASTERN DIVISION
              6
              7    UNITED STATES OF AMERICA,                Case No. 1:09-cr-00673
              8      Plaintiff,                             Chicago, Illinois
                                                            June 2, 2011
              9             v.                              Trial
                                                            1:00 P.M. SESSION
             10
                   RON COLLINS,
             11
                     Defendant.
             12    -------------------------------
             13
             14                                 VOLUME 3-B
                                            TRANSCRIPT OF TRIAL
             15                   BEFORE THE HONORABLE VIRGINIA M. KENDALL
                                 UNITED STATES DISTRICT JUDGE, AND A JURY
             16
             17
             18    APPEARANCES:
             19
             20
                   For the Government:         Office of the U.S. Attorney
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                                                    Renai S. Rodney
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              1               (Resumed at 1:13 p.m.)
              2               (Whereupon the following discussion was had in open
              3    court, outside the presence of the jury:)
01:13:49      4               (Witness takes the stand.)
01:13:49      5               THE COURT: I assume you didn't talk about your
01:13:52      6    testimony at lunch.
01:13:53      7               THE WITNESS: Oh, no. I went to Arby's.
01:15:32      8               (The jury enters the courtroom.)
01:15:32      9               THE COURT: Okay, folks, please be seated.
01:15:34     10               I did forget to tell you -- you can sit -- I did
01:15:37     11    forget to tell you when you started about the temperature in
01:15:40     12    the building, but I think you figured it out. It goes up and
01:15:44     13    down, and we never know when it is going to be anything. So
01:15:46     14    for the rest of the trial, you're right, come in layers is the
01:15:50     15    way to go. So bring something that you can put on or take
01:15:53     16    off, because you never know when it will be cold or when it
01:15:59     17    will be hot.
01:15:59     18               Okay. We've tendered the witness for cross.
01:16:01     19    Mr. Rubino, you may begin when you're ready.
01:16:03     20               MR. RUBINO: Thank you, your Honor.
01:16:04     21                                        - - -
01:16:04     22                       JORGE LLAMAS, CROSS-EXAMINATION
01:16:04     23    BY MR. RUBINO:
01:16:09     24    Q. Good afternoon, Mr. Llamas.
01:16:13     25    A. Good afternoon.
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01:16:28      1    Q. Mr. Llamas, you told us that in March 210 [sic] you pled
01:16:33      2    guilty to federal criminal charges of drug dealing, more
01:16:38      3    particularly cocaine, correct?
01:16:41      4    A. Correct.
01:16:42      5    Q. And at that time and still now, because you have not yet
01:16:45      6    been sentenced, you are facing a penalty of ten years to the
01:16:49      7    rest of your life in prison?
01:16:51      8    A. That's correct.
01:16:52      9    Q. What does life in prison mean to you?
01:16:56     10    A. Life, you're gone.
01:17:03     11    Q. Do you understand that that means that there is no parole?
01:17:06     12    A. Yes.
01:17:06     13    Q. There is no early release?
01:17:08     14    A. Yes.
01:17:08     15    Q. There is nothing. You leave prison unfortunately
01:17:13     16    deceased, right?
01:17:14     17    A. Yes, correct.
01:17:15     18    Q. Life truly means life in the federal system. You know
01:17:19     19    that?
01:17:19     20    A. Yes, correct.
01:17:20     21    Q. And that's a pretty ominous thing over your head, is it
01:17:23     22    not, that that possibility exists?
01:17:25     23    A. Sure.
01:17:29     24    Q. Now, you have made a deal, if you will, with the
01:17:32     25    Government, have you not?
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01:17:34      1    A. Yes.
01:17:34      2    Q. And that deal is that the Government will recommend to a
01:17:40      3    judge a particular sentence, correct?
01:17:42      4    A. Correct.
01:17:43      5    Q. Now, obviously the judge can do whatever the judge sees
01:17:46      6    fit, you understand that?
01:17:47      7    A. Correct.
01:17:48      8    Q. The judge can accept the recommendation, the judge can
01:17:51      9    give you a sentence lower than the recommendation, or the
01:17:54     10    judge could give you a sentence of the rest of your natural
01:17:58     11    life and die there, correct?
01:18:00     12    A. Correct.
01:18:00     13    Q. But you believe, do you not, that the Government's
01:18:03     14    recommendation carries some weight with the Court?
01:18:08     15    A. Excuse me. Meaning? Meaning? That -- what do you mean,
01:18:13     16    Counsel?
01:18:13     17    Q. What I mean is that it means a lot to you to have the
01:18:18     18    Government look at a federal judge and say, Judge, we'd like
01:18:20     19    you to give this man this sentence?
01:18:23     20    A. Oh, correct.
01:18:24     21    Q. That's a big deal to you, isn't it?
01:18:26     22    A. Yeah, correct.
01:18:27     23    Q. Because if they kept their mouth shut, you could get a lot
01:18:31     24    more, couldn't you?
01:18:32     25    A. Correct.
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01:18:34      1    Q. Now, you told us on more than one occasion in your
01:18:39      2    testimony you were here to tell the truth, right?
01:18:41      3    A. Correct.
01:18:41      4    Q. You're not here to save your skin?
01:18:43      5    A. No.
01:18:43      6    Q. You're not here to get a lower sentence?
01:18:49      7    A. Well, technically, one -- one -- you need one for the
01:18:55      8    other, so --
01:18:55      9    Q. So you're just here for the beauty of the truth, not to
01:18:59     10    get any benefits for yourself, right, just truth for the sake
01:19:03     11    of truth and truth only?
01:19:03     12    A. Well, regardless of whatever, that's what I'm here for is
01:19:07     13    the truth.
01:19:07     14    Q. So just the beauty of selling the pure truth and just let
01:19:11     15    the chips fall where they may, huh?
01:19:14     16    A. Correct.
01:19:14     17    Q. Have you always told the truth?
01:19:16     18    A. For the most part, yes.
01:19:19     19    Q. Now, you've used marijuana for how long, over
01:19:25     20    fifteen years?
01:19:26     21    A. Roughly fifteen years.
01:19:28     22    Q. You used it right up to the time of your arrest, did you
01:19:31     23    not?
01:19:32     24    A. Yes.
01:19:33     25    Q. And it's kind of debatable whether you used it after your
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01:19:36      1    arrest, isn't it?
01:19:37      2    A. Well, debatable in the sense that I guess they haven't
01:19:45      3    done the correct testing for marijuana, that it's not as black
01:19:48      4    and white as other drugs.
01:19:49      5    Q. So those drug tests are no good, are they?
01:19:53      6    A. Well, yeah.
01:19:54      7    Q. They convict innocent -- or they accuse innocent people of
01:19:58      8    drugs when they haven't used them, right?
01:20:00      9               MS. GUREN: Objection, your Honor.
01:20:01     10               THE COURT: That's sustained as argumentative.
01:20:03     11    BY MR. RUBINO:
01:20:04     12    Q. Well, you failed four or five drug tests, right?
01:20:07     13    A. That's correct.
01:20:07     14    Q. And they were administered to you by federal probation,
01:20:11     15    correct?
01:20:11     16    A. That's correct.
01:20:12     17    Q. And on those four or five occasions federal probation was
01:20:15     18    wrong every single time, weren't they?
01:20:17     19    A. Well, in my case, yes. I can't speak to --
01:20:20     20    Q. And then they gave you another drug test, which showed
01:20:24     21    opiates, correct?
01:20:27     22    A. That's correct.
01:20:28     23    Q. And the federal government was wrong again, right?
01:20:31     24    A. Well, yeah. Well, I never -- I wouldn't even know what an
01:20:34     25    opiate is.
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01:20:35       1   Q. So you used the term it was a false positive?
01:20:40       2   A. Correct.
01:20:40       3   Q. So they made another mistake in your case?
01:20:43       4   A. Well, not that they make a mistake. It's not them making
01:20:46       5   a mistake. It's just -- you know, we're all human. Humans
01:20:49       6   make mistakes.
01:20:50       7   Q. Six times?
01:20:51       8   A. Huh?
01:20:52       9   Q. On every single drug test --
01:20:53     10                MS. GUREN: Objection, your Honor.
01:20:54     11                THE COURT: Overruled. You can answer the question.
01:20:56     12    Six times?
01:20:57     13                THE WITNESS: No, it wasn't six times. That's false.
01:21:00     14    BY MR. RUBINO:
01:21:00     15    Q. I thought you had four or five --
01:21:02     16    A. Four or five.
01:21:03     17    Q. -- plus one. My math gives me five -- how about five or
01:21:07     18    six then, I'll retract six times.
01:21:08     19                Since it was four or five plus one, let's say five or
01:21:13     20    six.
01:21:13     21    A. That's fair.
01:21:13     22    Q. So they were wrong five or six times?
01:21:14     23    A. It's not that they are wrong. It's just THC, for whatever
01:21:18     24    reason, they haven't -- you know, it's -- it's a real gray
01:21:23     25    area.
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01:21:24       1   Q. Oh, I see.
01:21:24       2               So the test said you were using drugs, but the test
01:21:27       3   was wrong, correct?
01:21:28       4   A. Well, yeah.
01:21:29       5   Q. Okay. Now, you were asked about picking up and delivering
01:21:44       6   drugs for the Flores brothers from July of '02 through March
01:21:48       7   of '04. Remember that period?
01:21:50       8   A. Yes.
01:21:50       9   Q. Let me ask you this: How many times did you pick up drugs
01:21:54     10    or deliver drugs for the Flores brothers from April '08
01:22:00     11    through December '08?
01:22:03     12    A. From April '08 to December '08?
01:22:06     13    Q. Yes.
01:22:07     14    A. Ooh. I don't know.
01:22:10     15    Q. Lots of times?
01:22:12     16    A. Not as much, because like I said, I wasn't on the
01:22:17     17    day-to-day. So it wasn't as much as prior '04.
01:22:22     18    Q. But it was still going strong, wasn't it, from April '08
01:22:25     19    to December of '08?
01:22:28     20    A. Yeah.
01:22:29     21    Q. And during that same period from April '08 to December of
01:22:34     22    '08, you were picking up money also for the Flores brothers,
01:22:38     23    were you not?
01:22:39     24    A. Well, not 'til -- technically your dates are a little off,
01:22:43     25    because I was out of the country October 1st of '08 'til
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01:22:47       1   December 3rd, 4th, 5th of '08. So you could say, you know,
01:22:52       2   April to September. That's more fair.
01:22:54       3   Q. Okay. You were out of the country from when 'til when?
01:22:58       4   A. Well, in '08 I believe I was out of the country three
01:23:00       5   different times, but I know for a fact --
01:23:04       6   Q. During that period?
01:23:05       7   A. Yes. So I know for a fact in '08, October 1st, I was
01:23:10       8   going to Mexico 'til roughly December 4th or 5th.
01:23:13       9   Q. October 1st you went to Mexico?
01:23:16     10    A. Yes.
01:23:16     11    Q. And when did you return?
01:23:17     12    A. Roughly December 4th or 5th, between the -- anywhere from
01:23:22     13    the 3rd to the 6th.
01:23:23     14    Q. Okay. So up 'til October 1st, were the Flores brothers
01:23:29     15    actively engaged in drug trafficking?
01:23:32     16    A. That's correct.
01:23:33     17    Q. Up 'til October 1st?
01:23:34     18    A. Yes.
01:23:35     19    Q. Now, October 1st through December 4th, which is just a
01:23:40     20    hair over two months, right?
01:23:41     21    A. Yes.
01:23:42     22    Q. You were in Mexico?
01:23:43     23    A. Yes.
01:23:43     24    Q. Were you in Mexico with the Flores brothers?
01:23:46     25    A. At times, yes.
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01:23:48       1   Q. Okay.
01:23:48       2   A. I went to see them, but at times I would go see other
01:23:53       3   people in Mexico.
01:23:54       4   Q. Okay. During that period, October to December, were the
01:23:58       5   Flores brothers still actively involved in drug dealing?
01:24:01       6               MS. GUREN: Objection, your Honor, foundation.
01:24:04       7               THE COURT: That's overruled. There's plenty of time
01:24:06       8   period set forth.
01:24:08       9               THE WITNESS: Okay. Could you repeat, sir?
01:24:11     10    BY MR. RUBINO:
01:24:11     11    Q. During the period you were in Mexico --
01:24:13     12    A. Yes.
01:24:13     13    Q. -- from October 1st through December 4th --
01:24:15     14    A. Yes.
01:24:15     15    Q. -- my question to you is: Were the Flores brothers
01:24:18     16    actively involved in drug dealing?
01:24:20     17    A. Yes, to my knowledge, yes.
01:24:30     18    Q. Now, you told us there came a time in March of '04 --
01:24:37     19    correct me if I'm wrong -- when a seizure was made at a
01:24:39     20    warehouse, and based upon that seizure you went to Mexico?
01:24:44     21    A. Correct.
01:24:45     22    Q. Have I got it right?
01:24:48     23    A. Correct, yeah.
01:24:49     24    Q. Okay. Now, do you remember being interviewed by the DEA
01:24:54     25    agents on March 18th and April 15th?
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01:24:59       1   A. Of what year?
01:25:00       2   Q. Oh, I'm sorry. Of '09. Sorry.
01:25:02       3   A. Of '09?
01:25:03       4   Q. Yes, sir.
01:25:04       5   A. March, what did you say, 15?
01:25:06       6   Q. 18th. And April 15th.
01:25:09       7   A. Yeah, that's about fair.
01:25:10       8   Q. Okay. And do you remember having a conversation with them
01:25:16       9   wherein you told them in approximately early '04, you told the
01:25:23     10    agents, that you were conducting counter-surveillance for the
01:25:28     11    Flores drug trafficking organization, when you believed you
01:25:36     12    observed law enforcement presence?
01:25:38     13    A. Yes, that's correct.
01:25:38     14    Q. You remember telling them that, and you told them the
01:25:41     15    truth?
01:25:42     16    A. Yes, that's correct.
01:25:43     17    Q. And did you further tell the agents that you felt like
01:25:49     18    hiding out in Mexico because of the heat, if you will?
01:25:51     19    A. Yeah, that's fair.
01:25:52     20    Q. Okay. But you decided not to leave until months later?
01:25:57     21    A. No, that wasn't months later.
01:25:59     22    Q. Okay. You didn't tell them, But decided not to leave
01:26:03     23    until months later? You didn't tell the agents that?
01:26:07     24    A. No, I left on [sic] March -- I didn't leave months later.
01:26:10     25    It was a month after the seizure.
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01:26:12       1   Q. Okay. A month --
01:26:15       2   A. -- after the seizure.
01:26:15       3   Q. And do you remember telling them that your reason for not
01:26:17       4   leaving immediately was due to the twins and someone else who
01:26:25       5   learned of your desire to leave -- let me finish. Maybe the
01:26:32       6   whole thing in context.
01:26:34       7   A. Okay.
01:26:34       8   Q. Do you remember further stating that, The twins kept
01:26:38       9   pushing you to work -- referring to delivering cocaine for
01:26:42     10    them -- and they told you that if you did not continue to
01:26:50     11    work, they would report it to a Mexican man?
01:26:53     12    A. No --
01:26:53     13                MS. GUREN: Objection, your Honor, improper
01:26:55     14    impeachment.
01:26:56     15                THE COURT: It is. It's improper -- it's not
01:26:58     16    impeachment and it's hearsay, so sustained.
01:27:03     17    BY MR. RUBINO:
01:27:04     18    Q. Did you not immediately leave because you were either
01:27:10     19    directly or indirectly threatened by the Flores brothers?
01:27:15     20    A. No.
01:27:16     21    Q. The Flores brothers never threatened you?
01:27:20     22    A. No.
01:27:20     23    Q. Did the Flores brothers ever tell you that --
01:27:25     24                MS. GUREN: Objection, hearsay.
01:27:26     25                MR. RUBINO: Coconspirator hearsay, 801(d)(2)(E).
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01:27:30       1               THE COURT: I don't know what he's going to say,
01:27:32       2   whether it's for the reaction. Because if it's a threat, then
01:27:35       3   it would be not for the truth of the matter asserted. So I'm
01:27:39       4   not sure where you're going with it.
01:27:41       5   BY MR. RUBINO:
01:27:42       6   Q. Okay. Did the Flores brothers ever tell you that there
01:27:47       7   was someone above them in the drug trafficking organization in
01:27:51       8   Mexico?
01:27:51       9               MS. GUREN: Objection.
01:27:52     10                THE COURT: Okay. Sustained.
01:27:56     11    BY MR. RUBINO:
01:27:57     12    Q. At any time did anyone in the drug trafficking
01:28:01     13    organization threaten you, threaten your life, threaten your
01:28:06     14    family, make you feel insecure, whatever way we want to phrase
01:28:10     15    that, that would have caused you to be fearful?
01:28:15     16    A. I was never threatened.
01:28:17     17    Q. (Indicating.)
01:28:18     18    A. I was never threatened. I was never threatened.
01:28:21     19    Q. I understand.
01:28:30     20                Now, you told us that when you returned to the United
01:28:34     21    States from Mexico in '04, okay, that you were then only
01:28:40     22    seeing one person?
01:28:42     23    A. Primarily, yes.
01:28:44     24    Q. And that was because, you said, and check -- and correct
01:28:48     25    me if I'm wrong, because of your smoking habit?
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01:28:51       1   A. Correct.
01:28:51       2   Q. Is that the words you used?
01:28:54       3   A. That's correct.
01:28:55       4   Q. Now, it really was a marijuana smoking addiction, wasn't
01:28:59       5   it?
01:29:00       6   A. Yes.
01:29:01       7   Q. I mean, you were using large, large amounts of marijuana
01:29:07       8   on a daily basis, were you not?
01:29:09       9   A. Correct, that's correct.
01:29:10     10    Q. During the whole period that you're testifying about?
01:29:13     11    A. That's correct.
01:29:17     12    Q. Now, you told us the total amount of deliveries you made
01:29:22     13    would have been nine tons?
01:29:25     14    A. Give or take.
01:29:26     15    Q. Okay. Give or take.
01:29:27     16                That's 18,000 pounds or 9,000 kilos; am I correct?
01:29:37     17    A. Uh --
01:29:39     18    Q. A ton being 2,000 pounds.
01:29:42     19    A. You're off on that count, but on the keys, you're right.
01:29:45     20    Q. Okay. Roughly, 6-, 7-, 8-, 9,000 kilos?
01:29:49     21    A. Yes.
01:29:49     22    Q. I mean, like a -- vast, huge amounts?
01:29:52     23    A. Yes.
01:29:54     24    Q. And you were paid close to a million dollars, correct?
01:30:00     25    A. Correct.
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01:30:03       1   Q. And for this huge amount of cocaine and for a million
01:30:10       2   dollars the Government's going to recommend five years,
01:30:16       3   seven months, right?
01:30:19       4   A. Uh --
01:30:20       5   Q. 67 months?
01:30:21       6   A. Could you rephrase that again? Sorry about that.
01:30:24       7   Q. The Government's recommendation, you understand to be,
01:30:30       8   five years, seven months?
01:30:33       9   A. Correct.
01:30:34     10    Q. And did they agree to that recommendation knowing that you
01:30:41     11    had distributed over -- or up to 9,000 kilos?
01:30:46     12                MS. GUREN: Objection to what the Government knew.
01:30:48     13                THE COURT: It's sustained, speculation.
01:30:51     14    BY MR. RUBINO:
01:30:52     15    Q. Now, with respect to Ron Collins, the gentleman seated
01:30:58     16    here, you referred to him as Ron Ron?
01:31:01     17    A. Correct.
01:31:01     18    Q. Did you ever know him by the name of Hollywood?
01:31:05     19    A. No. Hollywood was someone else.
01:31:07     20    Q. Who was Hollywood?
01:31:09     21    A. Someone else.
01:31:10     22    Q. Who?
01:31:12     23    A. Well, one of the other customers.
01:31:14     24    Q. What was his name?
01:31:15     25    A. Callie (phonetic).
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01:31:16       1   Q. (Indicating.)
01:31:17       2   A. Callie.
01:31:19       3   Q. And his first name?
01:31:21       4   A. I don't know.
01:31:22       5   Q. You don't know. That was his last name?
01:31:25       6   A. No. Callie was just what we called him. Callie or
01:31:29       7   Hollywood.
01:31:29       8   Q. Okay. And how about somebody named Whody, have you ever
01:31:32       9   heard that?
01:31:35     10    A. Yes.
01:31:35     11    Q. Okay. And who is Whody?
01:31:35     12    A. You got to be more specific. There's -- you're -- your
01:31:39     13    client could be Whody. Anybody could be Whody. The jury
01:31:42     14    could be Whody. Whody's just another name like for dude. I
01:31:49     15    said you got to be more specific.
01:31:51     16    Q. Now, you told us in the fall of '06 you met Ron Collins at
01:31:58     17    an Outback steakhouse, correct?
01:32:03     18    A. It's correct, but to a certain extent -- I wasn't there to
01:32:07     19    meet him. Cesar was. I was just tagging along.
01:32:10     20    Q. Okay. So you and Cesar were there and met Ron Collins?
01:32:13     21    A. Yes.
01:32:14     22    Q. Okay. Now, you told us that was the first time that you
01:32:19     23    had ever met Ron Collins?
01:32:21     24    A. To my knowledge, yes.
01:32:23     25    Q. Okay. Now, do you remember being interviewed by Agent
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01:32:28       1   Bagley of the DEA on October 6, 210 [sic]?
01:32:33       2   A. Yes.
01:32:34       3   Q. And at that interview did you not tell him that you had
01:32:40       4   met Ron Collins in Mexico and that was the first time you had
01:32:46       5   met Ron Collins?
01:32:50       6   A. The way I'm going to explain this is Ron Collins --
01:32:54       7   Q. Well, not to interrupt the witness, but did you tell him
01:32:58       8   that, which is a yes or no?
01:33:01       9   A. Yes.
01:33:02     10    Q. So you told Agent Bagley that you first met Ron Ron in
01:33:09     11    Mexico in 2004?
01:33:13     12    A. No, not 2004, no, it wasn't 2004.
01:33:15     13    Q. You didn't tell him you met him in Mexico in 2004?
01:33:20     14    A. No, it wasn't 2004. It could have been -- it could have
01:33:21     15    been '05 or '06. But he was there with Justin Turner, with
01:33:26     16    someone else, and I didn't see your defendant by -- per se. I
01:33:31     17    seen Justin. But he was there.
01:33:35     18    Q. Okay. Let me try this again.
01:33:38     19    A. Sure.
01:33:46     20    Q. You remember Agent Bagley?
01:33:48     21    A. Yes.
01:33:48     22    Q. And you remember being interviewed by him on October 6th,
01:33:53     23    210 [sic]?
01:33:54     24    A. Yes.
01:33:55     25    Q. Here's my question, which I'd appreciate a yes or no, and
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01:34:00       1   then if you want to explain it, that's fine. Did you at that
01:34:05       2   time identify as someone known as Ron Ron and did you first
01:34:10       3   state you met Ron Ron in Mexico in '04? Did you say that to
01:34:14       4   Agent Bagley?
01:34:18       5   A. I don't recall.
01:34:19       6   Q. You don't recall if you said that?
01:34:21       7   A. No.
01:34:21       8   Q. Okay. Well, did you first meet Ron Collins in Mexico in
01:34:28       9   2004?
01:34:29     10    A. Well, I didn't -- I never seen him in Mexico in 2004.
01:34:32     11    Q. I'm sorry?
01:34:32     12    A. I'm saying I didn't see him personally in Mexico in 2004.
01:34:35     13    Q. Okay. So you never met him in Mexico?
01:34:38     14    A. No.
01:34:40     15    Q. Met that --
01:34:41     16    A. Did I see him with my two eyes? No.
01:34:43     17    Q. Well, that's what I'm asking you.
01:34:46     18    A. Well, yeah.
01:35:01     19    Q. Other than the one time you were with -- or alleged to be
01:35:06     20    with -- Perez at the Outback, all the other times you've told
01:35:10     21    us about, the four, five, or six times that you allegedly
01:35:13     22    picked up money from Ron Collins, you claim to be alone on
01:35:17     23    those occasions, correct?
01:35:20     24    A. It depended if -- like I said, if I was picking up his
01:35:25     25    car, I was with someone else. So to say I was by myself all
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01:35:30       1   the time, no.
01:35:31       2   Q. Okay. But who else could come in here and corroborate
01:35:34       3   your testimony?
01:35:34       4               MS. GUREN: Objection, your Honor.
01:35:36       5               THE COURT: Sustained.
01:35:36       6   BY MR. RUBINO:
01:35:36       7   Q. Who else was with you?
01:35:40       8   A. My coworkers.
01:35:42       9   Q. I can't hear you.
01:35:42     10    A. My coworkers.
01:35:44     11    Q. Well, I want to be more specific than that.
01:35:47     12                You went and picked up money. You gave us a
01:35:50     13    description of a corner you went to and such-and-such an
01:35:54     14    intersection, 13th and was it Indiana?
01:35:56     15    A. Prairie, Prairie.
01:35:57     16    Q. 13th and Prairie?
01:35:59     17    A. Yeah, right off of Indiana.
01:36:02     18    Q. Who was with you, anyone?
01:36:14     19    A. Yeah, I believe Hector Siminthal (phonetic), Monkey.
01:36:23     20    Q. I thought Monkey was with you, you told us, when you
01:36:26     21    picked up the car?
01:36:28     22    A. Yeah. He could have been with me for the what you call
01:36:31     23    it.
01:36:31     24    Q. Well, he could have been or he was? I mean --
01:36:34     25    A. There's a good chance that he was in that case, because --
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01:36:37       1   Q. The odds are for it, but you're not positive beyond any
01:36:42       2   reasonable doubt, are you?
01:36:43       3               MS. GUREN: Objection, your Honor.
01:36:47       4               THE COURT: Overruled.
01:36:48       5   BY MR. RUBINO:
01:36:49       6   Q. Are you?
01:36:49       7   A. Repeat the question, sir?
01:36:50       8   Q. Well, let me ask you this.
01:36:51       9   A. Sure.
01:36:52     10    Q. Didn't you tell us -- and maybe I misunderstood you.
01:36:55     11                Didn't you tell us on the money pickups you were
01:36:58     12    always alone?
01:36:59     13    A. Yeah, for the most part, yeah. But like I said, someone
01:37:01     14    could have tagged along. There wasn't -- it was not uncommon
01:37:04     15    for someone to tag along with me.
01:37:19     16    Q. Now, did you give the car back to Ron Collins, the Lincoln
01:37:25     17    MKX? Did you actually return it to him or did someone else?
01:37:30     18    A. I -- I believe I drove it.
01:37:30     19    Q. On the return?
01:37:32     20    A. Yes.
01:37:32     21    Q. Not the pickup?
01:37:33     22    A. Yes.
01:37:37     23    Q. You acquired it in the summer of '08, you told us?
01:37:42     24    A. Correct.
01:37:43     25    Q. And you were there when the car was acquired, because you
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01:37:46       1   told us how pretty --
01:37:48       2   A. Correct.
01:37:48       3   Q. -- it was?
01:37:49       4   A. Correct.
01:37:50       5   Q. And you were there when the car was given back to Collins,
01:37:54       6   you tell us?
01:37:54       7   A. Yeah, I gave him the keys.
01:37:56       8   Q. I'm sorry?
01:37:57       9   A. I gave him the keys.
01:37:58     10    Q. You distinctly remember doing this?
01:38:00     11    A. Yeah.
01:38:01     12    Q. But you told us, did you not, that you did it in November
01:38:04     13    of '08?
01:38:05     14                MS. GUREN: Objection.
01:38:06     15                THE WITNESS: No.
01:38:09     16                THE COURT: Hold on, hold on. That's overruled. Go
01:38:11     17    ahead.
01:38:11     18    BY MR. RUBINO:
01:38:11     19    Q. Did you tell us that you returned the car in November of
01:38:14     20    '08?
01:38:16     21    A. If I did, you know, I could have --
01:38:19     22    Q. Well --
01:38:20     23    A. -- misspoke. But it was in -- how could I say this? From
01:38:26     24    the scope of how big everything is, you know --
01:38:28     25    Q. You know, here's -- I don't mean to cut you off.
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01:38:31       1   A. No problem. Go ahead.
01:38:32       2   Q. But my question simply is --
01:38:33       3   A. Sure.
01:38:34       4   Q. -- an hour ago when you were sitting there --
01:38:37       5   A. Yes.
01:38:37       6   Q. -- on your direct examination --
01:38:40       7   A. Yes.
01:38:40       8   Q. -- did you not say --
01:38:41       9               MS. GUREN: Objection, form.
01:38:42     10                THE COURT: Okay. Sustained. Go ahead and ask the
01:38:45     11    question.
01:38:46     12    BY MR. RUBINO:
01:38:46     13    Q. An hour ago when asked --
01:38:49     14                THE COURT: No. Okay. So the form is sustained.
01:38:52     15    You can impeach a different way. Go ahead.
01:39:04     16    BY MR. RUBINO:
01:39:05     17    Q. Did the Floreses have any legitimate businesses?
01:39:12     18    A. To my knowledge, just a barber shop.
01:39:16     19    Q. Did they have anything to do with the music business?
01:39:21     20    A. I believe one of them did.
01:39:24     21    Q. And did that brother have a music company, which had
01:39:32     22    various artists under contract?
01:39:35     23    A. Oh. Various?
01:39:37     24    Q. Or an artist, better phrased, an artist named Magic? Let
01:39:42     25    me get right to it.
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01:39:44       1   A. Yeah, yeah, I ...
01:39:45       2   Q. So do you remember which brother it was, whether it was --
01:39:48       3   A. I want to say it was Junior.
01:39:50       4   Q. Okay. And his full name is?
01:39:52       5   A. Margarito.
01:39:54       6   Q. Margarito, right?
01:39:55       7   A. Flores, Junior I want to say.
01:39:58       8   Q. So Margarito had a legitimate business that was in the
01:40:01       9   music business?
01:40:03     10    A. Yeah.
01:40:05     11    Q. Okay. And he had an artist under contract whose name was
01:40:08     12    Magic, correct?
01:40:09     13    A. Correct.
01:40:09     14    Q. Magic was not a drug dealer, was he?
01:40:12     15    A. To my knowledge --
01:40:13     16                MS. GUREN: Objection, foundation.
01:40:14     17                THE COURT: Okay. Sustained.
01:40:15     18    BY MR. RUBINO:
01:40:16     19    Q. Do you know if Magic was a drug dealer?
01:40:19     20                THE COURT: You can answer that.
01:40:20     21                THE WITNESS: Oh, no, no. Magic was not a drug
01:40:23     22    dealer, to my knowledge.
01:40:25     23    BY MR. RUBINO:
01:40:25     24    Q. In Mexico where they had these phones and all the drug
01:40:30     25    dealers' names were on the phones --
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01:40:31       1   A. Correct.
01:40:32       2   Q. -- was there a phone with Magic's name on it?
01:40:39       3   A. That -- it could have gotten mixed up with them, probably.
01:40:43       4   But, no, that phone, to my knowledge, was always in Junior's
01:40:48       5   pocket.
01:40:49       6   Q. To your knowledge, that dropped off. I ...
01:40:51       7   A. To my -- to my knowledge, whatchamacallit, Junior always
01:40:58       8   had Magic's phone in his pocket, you know, like the customers'
01:41:02       9   phones were somewhere else, in other words.
01:41:06     10    Q. Now, the Flores twins had an older brother named Mondo
01:41:14     11    (phonetic), did they not?
01:41:16     12    A. That's correct.
01:41:18     13    Q. Mondo was also involved in their drug dealing activities,
01:41:22     14    was he not?
01:41:24     15    A. To my knowledge, he did his time for what he did and that
01:41:30     16    was it. When they were doing their thing, it was totally
01:41:33     17    separate.
01:41:34     18    Q. Now, he was a Mexican citizen, was he not, not an American
01:41:38     19    citizen?
01:41:39     20    A. Yes.
01:41:39     21    Q. And, in fact, after he had his problems then, as you say,
01:41:43     22    did his time, he was deported, was he not?
01:41:47     23    A. That's correct.
01:41:47     24    Q. And he went back to Mexico and lived there?
01:41:50     25    A. To my knowledge, yes.
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01:41:51       1   Q. Are you aware if after the twins were arrested --
01:41:58       2   A. Uh-huh.
01:41:59       3   Q. -- and brought to the United States, which is end of
01:42:01       4   November --
01:42:02       5   A. December, roughly.
01:42:03       6   Q. Exactly, roughly.
01:42:04       7               Are you aware if Mondo came to the United States and
01:42:08       8   started collecting the outstanding drug money?
01:42:12       9   A. Mondo collecting money? No. That I --
01:42:15     10    Q. I'm sorry. I can't hear you.
01:42:17     11    A. My opinion, there's no way Mondo would have collected the
01:42:21     12    money, but that's my opinion.
01:42:22     13    Q. After they were brought here end of December?
01:42:28     14    A. Yes.
01:42:28     15    Q. Okay. During that period did you go out and collect the
01:42:31     16    outstanding drug money?
01:42:33     17    A. Hell no, no way.
01:42:35     18    Q. Who, if anyone, went out and collected the --
01:42:38     19                MS. GUREN: Objection, your Honor.
01:42:38     20    BY MR. RUBINO:
01:42:38     21    Q. -- outstanding drug money, if you know?
01:42:39     22                THE COURT: Okay. If he knows, he said, so
01:42:41     23    overruled. You can answer the question.
01:42:42     24                THE WITNESS: That I know of?
01:42:44     25    BY MR. RUBINO:
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01:42:45       1   Q. Yeah.
01:42:45       2               Do you know if anyone went out on behalf of the twins
01:42:49       3   and collected the outstanding drug money?
01:42:52       4   A. No, not on behalf of the twins. That someone might have
01:42:56       5   been wanting to come up on their own maybe, but not on --
01:42:59       6   because nobody knew what the debts were.
01:43:02       7   Q. Okay. Now, did you tell us in your direct examination
01:43:07       8   that codes were used on the phone?
01:43:11       9   A. Well, yeah. Well, the certain terminology, but the code
01:43:15     10    would refer to a number for -- you know, it's something else.
01:43:21     11    Q. I don't think I understand.
01:43:23     12    A. Okay. A code is basically this.
01:43:25     13    Q. Codes that were used?
01:43:27     14    A. Yeah, yeah.
01:43:27     15    Q. I'm talking about something that was actually used. Okay?
01:43:31     16    A. Yeah. The code, basically like the one that we gave the
01:43:34     17    defendant, which was -- I believe his number was 26. Okay.
01:43:37     18    The way -- the way this goes to the law enforcement, it's
01:43:41     19    rather kind of easy, you know, you just pick a number from one
01:43:45     20    to a hundred. All right. As long as you and the person that
01:43:47     21    you're giving the number to knows what number you're
01:43:49     22    multiplying by, then he just divides and gets the number. So
01:43:54     23    that way you evade law enforcement --
01:43:56     24    Q. Huh? Run that by me again.
01:43:59     25    A. When you have the -- it's a little complicated, but it's
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01:44:02       1   not -- it's not at all.
01:44:02       2               Okay. For instance, when you're calling your mother
01:44:08       3   or anybody, well, you ain't got nothing to worry about. But
01:44:11       4   when you're in the DTO, you do have to evade law enforcement,
01:44:17       5   you know. So, therefore, when you're giving your mom a
01:44:22       6   number, well, you're going to say 773 XXX, you know, with no
01:44:27       7   hesitation. But since you're doing something illegal, you
01:44:31       8   can't give the number just like that. Because if there's a
01:44:34       9   tap or anything, you know, wiretap surveillance whatever, you
01:44:39     10    know, the Government is hearing. Well, they could hear the
01:44:42     11    number. So, therefore, if you code it up, you block it up,
01:44:45     12    it's a little bit harder for them to get it, in other words.
01:44:48     13    Q. So the codes were used for phone numbers or to identify
01:44:52     14    people?
01:44:53     15    A. It -- well, look. Code -- the code number is for the
01:44:58     16    numbers. The -- whether terminology was used for X, Y, and Z,
01:45:04     17    yeah.
01:45:05     18    Q. Now, had you overheard the Flores brothers when they were
01:45:11     19    on the telephone speaking to their distributors or their
01:45:20     20    clients, had you heard them use code?
01:45:24     21                MS. GUREN: Objection, your Honor, hearsay.
01:45:24     22                THE COURT: Okay. Overruled. To the extent that you
01:45:28     23    know whether they used codes on the phone, you can answer the
01:45:31     24    question.
01:45:31     25                THE WITNESS: Oh, yeah, yeah, they would use codes.
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01:45:35       1   BY MR. RUBINO:
01:45:35       2   Q. Would they use codes for locations?
01:45:38       3   A. Yes.
01:45:38       4   Q. Would they use codes for the amount of drugs?
01:45:42       5   A. Well, like I said, there's not technically codes. It's
01:45:45       6   just terminology. It's just -- in other words.
01:45:48       7               MR. RUBINO: Okay. I have nothing further. Thank
01:45:50       8   you.
01:45:50       9               THE COURT: Okay. Any redirect, Ms. Guren?
01:45:52     10                MS. GUREN: Yes, your Honor.
01:45:53     11                                         - - -
01:45:53     12                      JORGE LLAMAS, REDIRECT EXAMINATION
01:45:53     13    BY MS. GUREN:
01:45:57     14    Q. I don't want to go too down this road, but I do just want
01:46:01     15    to clarify.
01:46:02     16                When you were talking about multiplying 26, for
01:46:06     17    example, by a number, are you referring to a phone number?
01:46:08     18    A. Yes, yes, yes. Like I said, you multiply like, for
01:46:12     19    instance, 26 times 773, you know, that's a block, and then the
01:46:16     20    next three numbers times 26, that's a block, and the last four
01:46:21     21    numbers and then you say all the whole numbers and, you know,
01:46:25     22    we know where the numbers break off.
01:46:26     23    Q. And did you previously testify on cross that you sometimes
01:46:28     24    gave that code number to the defendant?
01:46:30     25    A. Well, no. It's not that I gave -- I gave it to him, so
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01:46:33       1   that that way he could get his own phones for the future.
01:46:37       2   Q. Okay.
01:46:38       3   A. You know, so this way I wouldn't be the -- like the
01:46:40       4   middleman is out of the way, in other words.
01:46:43       5   Q. I also want to get back to some questions you were asked
01:46:46       6   on cross-examination about Mexico and whether or not you knew
01:46:49       7   Ron Collins was there. You were cut off on your explanation
01:46:52       8   or your ability to say what you were trying to say.
01:46:55       9               You had said you didn't personally see him, but what
01:46:58     10    did you mean?
01:47:00     11    A. In the summer of '04 and in the summer of '05 and in the
01:47:06     12    summer of '06, them three years, the twins had extravagant
01:47:12     13    birthday parties, so it wasn't uncommon for their customers,
01:47:16     14    their friends, et cetera, to come down per se to see them.
01:47:21     15    Q. And so you said that Justin Turner was there?
01:47:25     16    A. Yes, Justin Turner was there. He was a customer.
01:47:28     17    Q. And how did you know that the defendant was down there?
01:47:30     18    A. I heard.
01:47:31     19    Q. So you heard, but you didn't personally see?
01:47:34     20    A. Exactly.
01:47:34     21    Q. And that's what you meant when you were talking to law
01:47:37     22    enforcement?
01:47:37     23    A. Exactly, exactly.
01:47:38     24    Q. I also just want to clarify that interview that you had
01:47:41     25    with Patrick --
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01:47:44       1   A. Yes.
01:47:44       2   Q. -- Pat Bagley.
01:47:46       3               Defense counsel said you identified a photo as the
01:47:49       4   guy you saw in Mexico. In terms of that process of that
01:47:52       5   interview, when you first sat down with the Government that
01:47:54       6   day, did they show you a photograph of the defendant?
01:47:59       7   A. Yeah.
01:48:00       8   Q. Did they ask you who -- if you recognized that person?
01:48:03       9   A. Yeah. They just showed me a picture, and I was like, Oh,
01:48:06     10    that's Ron Ron, you know, the twins -- whatever -- whatever
01:48:09     11    recollection I had, I gave them.
01:48:11     12    Q. After they showed you this photo that you identified as
01:48:14     13    Ron Ron, did they then start asking you questions about your
01:48:17     14    dealings with Ron Ron?
01:48:18     15    A. Correct.
01:48:18     16    Q. In part of that continued interview, did you say that you
01:48:22     17    had heard that the defendant was in Mexico?
01:48:24     18    A. Yes.
01:48:27     19    Q. You were also asked some questions on cross about when you
01:48:31     20    returned the car to the defendant?
01:48:34     21    A. Yes.
01:48:34     22    Q. Just to clarify, didn't you say on direct examination that
01:48:37     23    it was September 2008 --
01:48:39     24    A. Yeah, I'm pretty sure it was -- my memory's pretty good.
01:48:44     25    I want to say it was September. 'Cause like I said, I made it
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01:48:47       1   clear with counsel that from October 1st to December, I know I
01:48:51       2   wasn't in the country, you know. So, therefore, like I said,
01:48:53       3   that wouldn't have come out of my mouth, because I knew I
01:48:58       4   wasn't in the country. There's no ifs, ands, or buts.
01:49:01       5   Q. You were also asked some questions about Magic.
01:49:03       6               Were you ever in a car when cocaine was delivered to
01:49:05       7   Magic?
01:49:07       8   A. To Magic?
01:49:07       9   Q. Yes.
01:49:08     10    A. No.
01:49:08     11    Q. Did you ever deliver cocaine yourself to Magic?
01:49:09     12    A. Hell -- no, no, no, no, no.
01:49:11     13    Q. Were you ever in a car that went to deliver cocaine to Ron
01:49:15     14    Ron?
01:49:15     15    A. To Ron Ron, yes.
01:49:17     16    Q. You were also asked some questions about your marijuana
01:49:21     17    use and your tests. When you tested positive for opiates, was
01:49:25     18    that also one of the same tests where you tested positive for
01:49:28     19    marijuana?
01:49:29     20    A. Yeah. It was -- well, they test you once, so whatever
01:49:32     21    if -- whatever you are going to have new, it's going to come
01:49:35     22    out, basically.
01:49:37     23    Q. You were also asked some questions about your plea
01:49:41     24    agreement and the importance of the Government's
01:49:44     25    recommendation.
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01:49:44       1   A. Yes.
01:49:45       2   Q. Do you understand that in your sentencing your defense
01:49:48       3   counsel will also be there?
01:49:49       4   A. Of course.
01:49:50       5   Q. Do you expect your defense counsel to advocate on your
01:49:53       6   behalf?
01:49:54       7   A. Yes, yes, yes.
01:49:55       8   Q. Do you understand that in -- you being up here telling the
01:50:00       9   truth is part of your agreement with the Government?
01:50:03     10    A. Correct.
01:50:05     11                MS. GUREN: One moment, your Honor?
01:50:08     12                THE COURT: Okay.
01:50:08     13                MS. GUREN: No further questions.
01:50:10     14                THE COURT: Mr. Rubino?
01:50:10     15                                         - - -
01:50:10     16                       JORGE LLAMAS, RECROSS-EXAMINATION
01:50:10     17    BY MR. RUBINO:
01:50:14     18    Q. You were just asked about your interview with Agent
01:50:19     19    Bagley?
01:50:19     20    A. Correct.
01:50:21     21    Q. And you're telling us that you told Agent Bagley that you
01:50:29     22    had heard Ron Collins was in Mexico?
01:50:33     23    A. Correct.
01:50:33     24    Q. Is that your statement?
01:50:35     25    A. My statement is --
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01:50:38       1   Q. That you told him you heard he was in Mexico?
01:50:42       2   A. Yeah.
01:50:43       3   Q. My question is, is that what you told Agent Bagley?
01:50:47       4   A. Yes.
01:50:47       5   Q. You did not tell Agent Bagley: Llamas -- you did not tell
01:50:53       6   Agent Bagley that you first met Ron Ron, met, m-e-t, versus
01:50:58       7   heard -- you know the difference between met and heard?
01:51:01       8   A. Yes.
01:51:01       9   Q. So you never told Agent Bagley that you met Ron Ron in
01:51:06     10    Mexico?
01:51:08     11    A. Like I told counsel, I never seen him --
01:51:15     12    Q. My question is what -- I didn't ask you that. I asked for
01:51:18     13    what you told Agent Bagley.
01:51:20     14                Did you tell him that you met Ron Ron in Mexico?
01:51:25     15    A. Not to --
01:51:27     16    Q. Yes or no?
01:51:28     17    A. No.
01:51:29     18                MR. RUBINO: Thank you.
01:51:30     19                THE COURT: Anything else?
01:51:31     20                MS. GUREN: Very briefly.
01:51:31     21                                         - - -
01:51:31     22                      JORGE LLAMAS, REDIRECT EXAMINATION
01:51:34     23    BY MS. GUREN:
01:51:34     24    Q. Do you know the exact words that you said to Agent Bagley?
01:51:36     25    A. The exact words would have -- would have been like I told
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01:51:40       1   you, that he was there with Justin Turner and Justin said he
01:51:46       2   was there, you know.
01:51:47       3   Q. So is it possible that Agent Bagley, in listening to what
01:51:49       4   you said, wrote down understanding one thing?
01:51:52       5   A. Yeah, yeah, that's possible. You know, we're all human.
01:51:54       6   Q. Is it possible he didn't ask you follow-up questions to
01:51:57       7   clarify whether or not you had met him in person?
01:51:59       8   A. That's correct.
01:52:00       9               MS. GUREN: No further questions.
01:52:01     10                THE COURT: Okay. Sir, you may step down and be
01:52:04     11    excused.
01:52:04     12                THE WITNESS: That's it, ma'am?
01:52:05     13                THE COURT: That's all, yes.
01:52:07     14                THE WITNESS: Okay.
01:52:08     15                (Witness leaves the stand.)
01:52:10     16                THE COURT: And you can call your next witness.
01:52:11     17                THE WITNESS: Can I take this?
01:52:13     18                THE COURT: Why don't you give that to the
01:52:15     19    prosecutors?
01:52:17     20                MS. RODNEY: Your Honor, Government calls Cesar
01:52:20     21    Perez.
01:52:21     22                THE COURT: Okay.
01:52:23     23                (Witness takes the stand.)
01:52:27     24                THE COURT: Right up here, sir.
01:52:30     25                Please raise your right hand.
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01:52:32       1               (The witness was sworn.)
01:52:37       2               THE COURT: Have a seat.
01:52:37       3                                        - - -
01:52:37       4                       CESAR PEREZ, DIRECT EXAMINATION
01:52:37       5   BY MS. RODNEY:
01:52:45       6   Q. Good afternoon.
01:52:45       7   A. Good afternoon.
01:52:46       8   Q. Will you please state and spell your name for the record?
01:52:48       9   A. Cesar Perez, C-e-s-a-r P-e-r-e-z.
01:52:53     10    Q. Mr. Perez, how old are you?
01:52:55     11    A. 32.
01:52:56     12    Q. Where were you born?
01:52:58     13    A. In Illinois, Chicago.
01:53:02     14    Q. How far did you go in school?
01:53:03     15    A. GED.
01:53:05     16    Q. Are you currently working?
01:53:07     17    A. Yes.
01:53:08     18    Q. And where do you work?
01:53:09     19    A. I Send Deliveries (phonetic).
01:53:12     20    Q. What do you do there?
01:53:13     21    A. I deliver and install appliances.
01:53:16     22    Q. Are you currently living in the Chicagoland area?
01:53:19     23    A. Yes.
01:53:19     24    Q. And how long have you lived here?
01:53:23     25    A. Last fifteen, sixteen years.
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01:53:28       1   Q. Now, Mr. Perez, I'd like to turn your attention to April
01:53:32       2   of 2010. At that time did you plead guilty to a federal drug
01:53:36       3   charge?
01:53:36       4   A. Yes.
01:53:37       5   Q. What did you plead guilty to?
01:53:39       6   A. Distributing [sic] of cocaine.
01:53:45       7   Q. And how many kilograms of cocaine did you admit to
01:53:48       8   distributing, as part of the charge you pled guilty to?
01:53:51       9   A. Thousands.
01:53:53     10    Q. And did you enter into a plea agreement with the
01:53:56     11    Government regarding this offense?
01:53:58     12    A. Yes.
01:54:00     13    Q. Under the terms of your plea agreement, what are you
01:54:03     14    required to do here today?
01:54:04     15    A. Tell the truth.
01:54:08     16    Q. In exchange for your truthful testimony, what do you
01:54:10     17    expect to receive from the Government in return?
01:54:12     18    A. A third off my sentencing.
01:54:17     19    Q. And do you know how many months that'll be?
01:54:19     20    A. No.
01:54:22     21    Q. Is it approximately 138 months?
01:54:26     22    A. Yes.
01:54:27     23    Q. Now, is that a recommendation that you're expecting the
01:54:30     24    Government to make to the judge in your case?
01:54:33     25    A. Yes.
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01:54:33       1   Q. And is that a different judge than the judge in the
01:54:35       2   courtroom here today?
01:54:36       3   A. Yes.
01:54:38       4   Q. Now, do you know, as you sit here today, what your
01:54:41       5   sentence will be for sure?
01:54:42       6   A. No.
01:54:44       7   Q. And what do you have to do in order to receive a
01:54:47       8   recommendation for a reduced sentence from the Government?
01:54:50       9   A. Just tell the truth.
01:54:54     10    Q. And what is your understanding of what will happen to your
01:54:57     11    agreement with the Government for a recommendation for a
01:55:00     12    reduced sentence, if you lie during your testimony today?
01:55:02     13    A. I'll lose the deal.
01:55:05     14    Q. And will you receive a recommendation?
01:55:06     15    A. No.
01:55:08     16    Q. Now, do you understand the offense to which you've pleaded
01:55:11     17    guilty carries a maximum term of imprisonment of life?
01:55:14     18    A. Yes.
01:55:15     19    Q. Mr. Perez, have you ever used drugs?
01:55:18     20    A. Yes.
01:55:18     21    Q. What kind of drugs have you used?
01:55:21     22    A. Cocaine, weed.
01:55:23     23    Q. When did you first use cocaine?
01:55:27     24    A. In about '01.
01:55:30     25    Q. And how often did you use cocaine?
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01:55:33       1   A. Weekly.
01:55:35       2   Q. When is the last time you used cocaine?
01:55:37       3   A. Probably '08.
01:55:39       4   Q. Did you use cocaine on a weekly basis between 2001 and
01:55:45       5   2008?
01:55:45       6   A. Sometimes.
01:55:46       7   Q. And when did you first use marijuana?
01:55:49       8   A. Probably about the same time, '01.
01:55:52       9   Q. And how often did you use marijuana?
01:55:55     10    A. Once a month, maybe, if that.
01:55:58     11    Q. And when's the last time you used marijuana?
01:56:01     12    A. '08.
01:56:04     13    Q. What part of '08, when you say '08?
01:56:07     14    A. November, maybe.
01:56:08     15    Q. And was that the last time you also used cocaine?
01:56:12     16    A. Right.
01:56:13     17    Q. And when you were using cocaine, what quantities were you
01:56:16     18    using on a weekly basis?
01:56:18     19    A. Up to an eightball.
01:56:19     20    Q. And is that approximately three and a half grams --
01:56:22     21    A. 3.5, yes.
01:56:25     22    Q. And are you using drugs today?
01:56:30     23    A. No.
01:56:30     24    Q. Now, I'd like to direct your attention to the year 2001.
01:56:31     25    Were you working during that time?
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01:56:33       1   A. Yes.
01:56:34       2   Q. And what did you do to make money?
01:56:36       3   A. I worked for the twins.
01:56:38       4   Q. And what are the twins' names?
01:56:42       5   A. Pedro and Margarito Flores.
01:56:44       6   Q. And what did you -- what type of work did you do for the
01:56:47       7   twins?
01:56:48       8   A. Distribute cocaine, pick up some money, drop off
01:56:52       9   cellphones.
01:56:56     10    Q. How long did you do this type of work for the twins?
01:56:59     11    A. From like '01 to '08.
01:57:05     12    Q. And when did you meet the twins?
01:57:11     13    A. Maybe '97, maybe '98.
01:57:16     14    Q. Now, Mr. Perez, I'm going to direct your attention to the
01:57:19     15    screen in front of you. Your Honor, may I show the witness a
01:57:22     16    photo. I'm not publishing it just yet.
01:57:24     17                THE COURT: That's fine.
01:57:25     18                MS. RODNEY: Actually, may I have permission to
01:57:28     19    publish the photo? It's been previously admitted into
01:57:30     20    evidence, Government Exhibit Photo 1.
01:57:33     21                THE COURT: Sure.
01:57:33     22                MS. RODNEY: And Government Exhibit Photo 2.
01:57:35     23                THE COURT: Yes.
01:57:43     24    BY MS. RODNEY:
01:57:44     25    Q. Mr. Perez, do you recognize the individual depicted in
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01:57:47       1   Government Exhibit Photo 1?
01:57:49       2   A. Yes.
01:57:49       3   Q. And who is that?
01:57:50       4   A. Pedro.
01:57:55       5   Q. Now, directing your attention to another photo on the
01:57:58       6   right side of the screen, do you recognize the individual
01:58:01       7   depicted in Government Exhibit Photo 2?
01:58:04       8   A. Margarito, Junior.
01:58:11       9   Q. So did you begin working for the twins in 2001?
01:58:15     10    A. Yes.
01:58:16     11    Q. And why did you begin working for them?
01:58:18     12    A. It's kind of -- need to get some money.
01:58:22     13    Q. When you first started working for the twins in 2001, what
01:58:27     14    did your work generally consist of?
01:58:29     15    A. Picking up and dropping off kilos.
01:58:34     16    Q. Kilos of what?
01:58:35     17    A. Cocaine.
01:58:38     18    Q. And how were you contacted to perform that work?
01:58:41     19    A. By cellphone.
01:58:42     20    Q. And who contacted you?
01:58:43     21    A. One of the twins.
01:58:47     22    Q. And did you receive instructions when they contacted you
01:58:51     23    by phone?
01:58:51     24    A. Yes.
01:58:52     25    Q. And did you follow those instructions after you received
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01:58:55       1   them?
01:58:56       2   A. Yes.
01:58:58       3   Q. Now, in 2001 when you first started working for them, were
01:59:01       4   you working by yourself or with others?
01:59:03       5   A. By myself.
01:59:05       6   Q. Did you later begin working with others?
01:59:08       7   A. Yes.
01:59:08       8   Q. Approximately when?
01:59:13       9   A. Okay. Maybe '02, '03.
01:59:17     10    Q. And who were some of the people that you worked with
01:59:19     11    around that time?
01:59:21     12    A. Sosa, Rollie, T, Danny.
01:59:27     13    Q. Do you know Sosa's real name?
01:59:30     14    A. Jorge Llamas.
01:59:32     15    Q. What is T's real name?
01:59:34     16    A. Antonio Aguilera.
01:59:37     17    Q. And do you know Danny's last name?
01:59:39     18    A. Torres.
01:59:44     19    Q. Now, when you talked about picking up cocaine, who did you
01:59:48     20    pick up the cocaine from?
01:59:49     21    A. Different people.
01:59:53     22    Q. And who were these people in relationship to the Flores
01:59:59     23    brothers?
01:59:59     24    A. The people supplying the Flores brothers.
02:00:03     25    Q. And did you begin picking up cocaine from these people in
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02:00:07       1   2001?
02:00:07       2   A. Yes.
02:00:11       3   Q. How did you know where to pick up the cocaine from?
02:00:14       4   A. The twins would call me and let me know.
02:00:18       5   Q. What information did they give you regarding those
02:00:21       6   pickups?
02:00:22       7   A. Where to go, what time, what to look for.
02:00:27       8   Q. And where did you go when you received these instructions?
02:00:30       9   A. Anywhere, stores, warehouse [sic], parking lots,
02:00:34     10    neighborhoods.
02:00:36     11    Q. How did you travel to pick up the cocaine?
02:00:38     12    A. My car.
02:00:41     13    Q. Did anyone go with you to pick up the cocaine?
02:00:44     14    A. Sometimes.
02:00:47     15    Q. And what purpose did that person serve to go pick up the
02:00:52     16    cocaine with you?
02:00:53     17    A. Just followed me, make sure everything went okay.
02:00:56     18    Q. Now, once you arrived at these various places to pick up
02:00:58     19    the cocaine, what did you do?
02:01:00     20    A. Just put it in my car or swapped cars.
02:01:05     21    Q. To pick up the cocaine you swapped cars?
02:01:08     22    A. Right.
02:01:10     23    Q. Approximately how much cocaine did you receive during
02:01:13     24    these pickups?
02:01:14     25    A. Anywhere from 25 to 300 at a time, kilos.
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                                          at (312) 408-5154
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02:01:19       1   Q. Kilograms?
02:01:21       2   A. Yes.
02:01:26       3   Q. And how did you transport the cocaine that you received?
02:01:30       4   A. In my vehicle.
02:01:31       5   Q. Where did you put it in your vehicle?
02:01:33       6   A. If it fit, in the compartment. If it didn't, I'd just
02:01:39       7   ride it out in the trunk or back seat.
02:01:39       8   Q. You say compartment, what type of compartment are you
02:01:40       9   referring to?
02:01:40     10    A. The hidden compartment.
02:01:40     11    Q. The hidden compartment?
02:01:45     12    A. Yes.
02:01:45     13    Q. What did you do with the cocaine that you picked up?
02:01:47     14    A. Take it to one of our houses, a stash house they call it.
02:01:51     15    Q. And what did you do, once you took it to the stash house?
02:01:54     16    A. Just do a count and verify if they are all good.
02:01:58     17    Q. And after you verified it -- verified the count, what did
02:02:02     18    you do?
02:02:02     19    A. Call the twins.
02:02:05     20    Q. Did you pick up cocaine in the way you've just described
02:02:08     21    on more than one occasion?
02:02:11     22    A. Yes.
02:02:11     23    Q. And who instructed you to do those pickups each time?
02:02:15     24    A. Pedro or Margarito.
02:02:17     25    Q. And how did they communicate with you each time?
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02:02:20       1   A. Cellphone.
02:02:21       2   Q. I'm sorry. I didn't hear.
02:02:22       3   A. Through cellphone.
02:02:25       4   Q. And did you take the cocaine you picked up and drop it off
02:02:29       5   at the same location each time?
02:02:31       6   A. No.
02:02:31       7   Q. Where did you take it?
02:02:32       8   A. Different stash houses around the city.
02:02:36       9   Q. How often did you pick up kilograms of cocaine?
02:02:40     10    A. Sometimes once a week.
02:02:42     11    Q. Were there other amounts of time that you picked it up?
02:02:46     12    A. Yes.
02:02:47     13    Q. More than once a week or less than --
02:02:50     14    A. Less than once a week.
02:02:52     15    Q. How long did you pick up cocaine for the twins, while you
02:02:55     16    were working for them?
02:02:58     17    A. Through the whole time that I was working for them.
02:03:04     18    Q. Were you paid for picking up cocaine for the twins?
02:03:08     19    A. Yes.
02:03:08     20    Q. How much were you paid?
02:03:09     21    A. 100 a kilogram.
02:03:10     22    Q. $100?
02:03:12     23    A. Yes.
02:03:17     24    Q. Did you also deliver cocaine for the twins?
02:03:19     25    A. Yes.
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02:03:20       1   Q. And when did you begin doing this type of work?
02:03:23       2   A. Also when I started off in '01.
02:03:29       3   Q. Who instructed you to make these deliveries?
02:03:32       4   A. The twins.
02:03:33       5   Q. And how did you receive those instructions?
02:03:35       6   A. Cellphone.
02:03:37       7   Q. Did you always receive your instructions by cellphone from
02:03:40       8   the twins?
02:03:41       9   A. Yes.
02:03:42     10    Q. Who were you making these cocaine deliveries to?
02:03:44     11    A. Their customers.
02:03:46     12    Q. Whose customers?
02:03:47     13    A. The twins' customers.
02:03:49     14    Q. Did you deliver to more than one of the twins' customers?
02:03:53     15    A. Yes.
02:03:54     16    Q. Approximately how many different customers did you deliver
02:03:57     17    cocaine to?
02:04:00     18    A. I'd say twelve to about fifteen, maybe.
02:04:03     19    Q. How often did you deliver cocaine to the twins' customers?
02:04:07     20    A. Sometimes weekly.
02:04:10     21    Q. Approximately how many times total did you deliver cocaine
02:04:13     22    to the twins' customers while you worked for them?
02:04:22     23    A. Maybe a hundred times.
02:04:24     24    Q. And where were these customers located?
02:04:27     25    A. All over Chicagoland, downtown, suburbs.
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02:04:30       1   Q. Describe the types of places where you've met the
02:04:36       2   customers.
02:04:36       3   A. On the streets, alleys, parking lots, stores, parking
02:04:42       4   garages downtown.
02:04:47       5   Q. When is the last delivery you made to the twins'
02:04:50       6   customers?
02:04:50       7   A. It was '08.
02:04:52       8   Q. What part of '08?
02:04:57       9   A. I'd say December.
02:05:03     10    Q. When you delivered cocaine to the customers, did you
02:05:05     11    deliver by yourself or with others?
02:05:08     12    A. Both.
02:05:11     13    Q. Did you deliver by yourself more often than not or did you
02:05:16     14    deliver with others more often than not?
02:05:18     15    A. By myself more often.
02:05:20     16    Q. Did you drive a vehicle to make these deliveries?
02:05:23     17    A. Yes.
02:05:23     18    Q. And where was the cocaine stored inside of your vehicle?
02:05:26     19    A. Inside the hidden compartment.
02:05:28     20    Q. Did you store anything else inside of the hidden
02:05:31     21    compartment?
02:05:31     22    A. Sometimes cash.
02:05:33     23    Q. Where did you receive the cash from that you put in the
02:05:36     24    compartment?
02:05:36     25    A. The customers.
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02:05:40       1   Q. Once you met your various -- or the twins' various
02:05:45       2   customers, how did you give them the cocaine?
02:05:48       3   A. Duffle bags.
02:05:52       4   Q. Did you hand them a duffle bag, or what did you do with
02:05:55       5   it?
02:05:55       6   A. Yeah. I'd hand it to them or put it in their back seat.
02:05:59       7   If they had a compartment, they'd put it in their compartment.
02:06:04       8   Q. Did you exchange the cocaine with the customers any other
02:06:08       9   way?
02:06:08     10    A. Sometimes they'd take the vehicle, my vehicle.
02:06:12     11    Q. The customer would take your vehicle?
02:06:14     12    A. Yes.
02:06:16     13    Q. Did you receive the customer's vehicle when this happened?
02:06:20     14    A. Yes.
02:06:21     15    Q. And did you later get your vehicle back from the
02:06:24     16    customers?
02:06:25     17    A. Yes.
02:06:29     18    Q. Now, you've talked about receiving cash or money from the
02:06:31     19    customers. Did you receive money from the customers each time
02:06:34     20    you delivered cocaine to them?
02:06:36     21    A. No.
02:06:37     22    Q. About how often did you receive money from the customers
02:06:41     23    you delivered to?
02:06:43     24    A. Probably less than 50 percent of the time.
02:06:47     25    Q. Did you receive money from the customers but not give them
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02:06:50       1   cocaine on some occasions?
02:06:52       2   A. Can you repeat that?
02:06:54       3   Q. Did you receive money from the customers but not actually
02:06:56       4   give them cocaine when you met them?
02:06:58       5   A. Sometimes.
02:07:06       6   Q. When you received money from a customer, what did you do
02:07:09       7   with it?
02:07:11       8   A. Just take it to the stash house.
02:07:13       9   Q. Did you do anything with it at the stash house?
02:07:18     10    A. No, not me.
02:07:19     11    Q. And you didn't count the money at the stash house?
02:07:21     12    A. No. I'd hand it to one of the other guys that was in
02:07:27     13    charge of the money.
02:07:27     14    Q. How was the money packaged that you received from the
02:07:29     15    customers you met?
02:07:30     16    A. Various ways, just in rubber bands, plastic bags, paper
02:07:34     17    bags, shoe boxes, duffle bags, luggages [sic].
02:07:39     18    Q. Did you deliver the same amount of cocaine to each
02:07:42     19    customer that you met?
02:07:43     20    A. No.
02:07:44     21    Q. What amounts of cocaine did you deliver?
02:07:46     22    A. Anywhere from five to 50, up.
02:07:50     23    Q. Kilogram quantities?
02:07:53     24    A. Yes.
02:07:53     25    Q. How did you know to deliver these amounts?
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02:07:56       1   A. The twins.
02:07:59       2   Q. Approximately how many kilograms of cocaine in total did
02:08:03       3   you deliver to the twins' customers?
02:08:06       4   A. A lot. I'd say over a thousand.
02:08:08       5   Q. Were you paid for delivering cocaine to the twins'
02:08:12       6   customers?
02:08:12       7   A. Yes.
02:08:13       8   Q. How much were you paid?
02:08:14       9   A. $100 a kilogram.
02:08:22     10    Q. You also talk about delivering cellphones for the twins'
02:08:26     11    customers -- to the twins' customers. Who instructed you to
02:08:30     12    deliver cellphones?
02:08:31     13    A. The twins.
02:08:35     14    Q. Did you know what the cellphones were for?
02:08:37     15    A. To communicate with the twins.
02:08:39     16    Q. How often did you deliver cellphones to the twins'
02:08:43     17    customers?
02:08:45     18    A. Maybe once a month.
02:08:49     19    Q. Now, other than what you've just testified to, did you do
02:08:52     20    any other type of work for the twins between 2001 and 2008?
02:08:57     21    A. Sometimes get the cars, and ...
02:09:00     22    Q. When you say get the cars, what do you mean?
02:09:03     23    A. Pick up the cars from wherever they had them made, with
02:09:06     24    the compartments, and drop them off in various locations.
02:09:09     25    Q. Pick up the cars that who had made?
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02:09:11       1   A. The twins.
02:09:13       2   Q. And where did you take these cars?
02:09:15       3   A. Sometimes to the customers, sometimes just drop them off
02:09:18       4   on the streets with the keys inside.
02:09:22       5   Q. And how often did you deliver -- or drop off cars for the
02:09:26       6   twins?
02:09:27       7   A. Not often.
02:09:28       8   Q. Were you paid for that work?
02:09:30       9   A. No.
02:09:32     10    Q. Approximately how much money were you paid for working for
02:09:34     11    the twins between 2001 to 2008?
02:09:37     12    A. I'd say a million.
02:09:39     13    Q. A million dollars?
02:09:41     14    A. Yes.
02:09:42     15    Q. Now, looking around the courtroom, do you see anyone to
02:09:44     16    whom you delivered cocaine, while you were working for the
02:09:47     17    twins?
02:09:48     18    A. Yes, I do.
02:09:49     19    Q. Can you please point out this person and identify them by
02:09:52     20    a piece of clothing?
02:09:54     21    A. White-colored shirt, Ron Ron.
02:09:59     22    Q. Where is that person sitting?
02:09:59     23    A. Right over to my right, in a blue coat.
02:10:03     24                MS. RODNEY: Your Honor, may the record reflect that
02:10:04     25    the witness has identified the defendant?
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02:10:06       1               THE COURT: It will.
02:10:08       2   BY MS. RODNEY:
02:10:09       3   Q. And by what name did you know the defendant?
02:10:11       4   A. Ron Ron.
02:10:16       5   Q. Now, approximately when did you begin delivering cocaine
02:10:20       6   to the defendant?
02:10:21       7   A. I'd say like '05.
02:10:24       8   Q. Did you deliver cocaine to the defendant more than once?
02:10:27       9   A. Yes, I did.
02:10:29     10    Q. Approximately how often did you deliver cocaine to the
02:10:32     11    defendant?
02:10:33     12    A. Sometimes once a week.
02:10:35     13    Q. Approximately how many times did you deliver cocaine to
02:10:38     14    the defendant?
02:10:41     15    A. I'd say about twenty times.
02:10:48     16    Q. What quantity of cocaine did you deliver to the
02:10:52     17    defendant --
02:10:53     18                MR. RUBINO: Objection. Which time?
02:10:54     19                THE COURT: Okay. That's for foundation. It's
02:10:57     20    sustained.
02:10:59     21    BY MS. RODNEY:
02:10:59     22    Q. When was the last time you delivered cocaine to the
02:11:04     23    defendant?
02:11:04     24    A. I'd say '07, maybe.
02:11:07     25    Q. Did you deliver cocaine -- did you deliver the same amount
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02:11:09       1   of cocaine to the defendant each time?
02:11:11       2   A. No, I didn't.
02:11:12       3   Q. What quantity of cocaine -- what quantities of cocaine did
02:11:16       4   you deliver to the defendant?
02:11:17       5   A. From ten to, like, maybe 30.
02:11:21       6   Q. Is that kilogram quantities?
02:11:22       7   A. Kilograms.
02:11:28       8   Q. Did you deliver cocaine to the defendant in the same place
02:11:31       9   each time?
02:11:32     10    A. No.
02:11:33     11    Q. What places did you deliver cocaine to the defendant?
02:11:36     12    A. In downtown Chicago and once at a restaurant out in,
02:11:42     13    like -- off 100-and-something.
02:11:46     14    Q. Do you remember the name of the restaurant?
02:11:48     15    A. Oh. Outback.
02:11:49     16    Q. And you said downtown in Chicago. What area?
02:11:54     17    A. One place off of Monroe and another place off of -- off by
02:12:01     18    Michigan Ave., and also -- I'm sorry -- on 75th Street at a
02:12:07     19    Wal-Mart. I think it's Darien or Lemont.
02:12:16     20    Q. Do you remember the time period that you delivered to the
02:12:19     21    defendant at these various places?
02:12:21     22    A. Just between those times I said, '05, maybe, to '07.
02:12:39     23    Q. Now, Mr. Perez, I'm going to hand you two exhibit folders.
02:12:59     24                If I could direct your attention to the exhibits
02:13:00     25    marked Government Exhibit Photo 5 and Government Exhibit
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02:13:04       1   Photo 9. Do you recognize the images depicted in those
02:13:11       2   exhibits?
02:13:16       3   A. Yes, I got it.
02:13:16       4   Q. Do you have those in front of you?
02:13:19       5   A. Yes, I do.
02:13:24       6   Q. And what do you see in those exhibits?
02:13:27       7   A. That would be where one of the places that I seen Ron Ron
02:13:31       8   at.
02:13:33       9               MS. RODNEY: I'm sorry, your Honor. May I have just
02:13:34     10    one moment, please?
02:13:35     11                THE COURT: Sure.
02:13:41     12    BY MS. RODNEY:
02:13:43     13    Q. And what place where you saw Ron Ron, what area?
02:13:48     14    A. Right off Monroe Street.
02:13:51     15    Q. Do you recognize the images both in Government Exhibit
02:13:54     16    Photo 5 and Government Exhibit Photo 9?
02:13:56     17    A. Yes, I do.
02:14:01     18    Q. Are the images depicted in Government Exhibit Photo 5 and
02:14:05     19    Government Exhibit Photo 9 a true and accurate depiction of
02:14:09     20    the area on Monroe where you met the defendant?
02:14:11     21    A. Yes.
02:14:12     22                MS. RODNEY: Your Honor, the Government moves into
02:14:15     23    evidence Government Exhibit Photo 5 and Photo 9.
02:14:17     24                THE COURT: Those will be admitted.
02:14:22     25                MS. RODNEY: Your Honor, may I publish?
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02:14:23       1               THE COURT: Sure.
02:14:27       2   BY MS. RODNEY:
02:14:28       3   Q. Mr. Perez, do you see Government Exhibit Photo 5 on the
02:14:32       4   left side of the screen and Government Exhibit Photo 9 on the
02:14:36       5   right side?
02:14:37       6   A. Yes.
02:14:38       7   Q. I am going to direct your attention to Government Exhibit
02:14:43       8   Photo 5 -- excuse me -- Photo 9. Is that an overhead view of
02:14:50       9   the area on Monroe where you met the defendant?
02:14:52     10    A. Yes, it is.
02:14:54     11    Q. Now, using the exhibits and referring to the street names
02:14:57     12    on the exhibits, can you indicate where you met the defendant?
02:15:00     13    A. Sometimes I'd park right off of Monroe Street by the park,
02:15:04     14    the park is across the street. You can't see it in the
02:15:07     15    picture. And he'd either come out and meet me, or I would
02:15:11     16    drive into the garage.
02:15:13     17    Q. And is the garage on Monroe Street or Laflin?
02:15:16     18    A. It's on Laflin.
02:15:18     19    Q. Is it on the building depicted on the left side or the
02:15:22     20    right side?
02:15:23     21    A. What was that?
02:15:24     22    Q. Is the garage the building on the left side or the right
02:15:30     23    side of the screen?
02:15:30     24    A. It's on the left side.
02:15:35     25    Q. Is that the area where you're talking about where the
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02:15:38       1   highlight is shown on the exhibit?
02:15:41       2   A. Yes.
02:15:43       3   Q. How many times did you deliver to the defendant in this
02:15:46       4   area on Monroe?
02:15:49       5   A. About -- at least ten times.
02:15:56       6   Q. How did you arrange to meet the defendant in this area?
02:15:59       7   A. By orders of the twins.
02:16:04       8   Q. And how were you contacted?
02:16:05       9   A. By cellphone.
02:16:06     10    Q. How did you travel to meet the defendant in this area?
02:16:09     11    A. In the work car.
02:16:11     12    Q. What type of car was it?
02:16:13     13    A. SUV.
02:16:16     14    Q. Were you alone or with someone else when you met the
02:16:19     15    defendant in this area?
02:16:21     16    A. Alone.
02:16:24     17    Q. And when you met the defendant in this area, was he by
02:16:27     18    himself or with others?
02:16:29     19    A. By himself.
02:16:33     20    Q. Now, do you remember the first time that you met the
02:16:36     21    defendant in the area on Monroe?
02:16:38     22    A. No, I don't.
02:16:40     23    Q. Was it during the time period you were working for the
02:16:43     24    twins?
02:16:43     25    A. Yes, it was.
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02:16:45       1   Q. When you met the defendant in this area, did he have a
02:16:48       2   car?
02:16:49       3   A. Yes.
02:16:52       4   Q. Describe what happened when you met the defendant at this
02:16:55       5   location?
02:16:55       6   A. I would either get the cocaine in the bags and hand it to
02:17:01       7   him or put it in his car, or drive in the garage, then he also
02:17:06       8   put it in the back of his car.
02:17:08       9   Q. How did you know to drive into the garage?
02:17:11     10    A. When he would come out, he'd get me and we'd drive in
02:17:15     11    there.
02:17:15     12    Q. And what happened inside the garage?
02:17:17     13    A. Just give him what -- whatever I had in the car.
02:17:20     14    Q. How did you give it to him?
02:17:21     15    A. In a duffle bag.
02:17:24     16    Q. Did you hand it to him?
02:17:26     17    A. Sometimes.
02:17:27     18    Q. Other times what did you do?
02:17:29     19    A. Just put it in the back seat of his car or in the trunk.
02:17:36     20    Q. And what kind of car did the defendant have that you put
02:17:39     21    the cocaine in his trunk?
02:17:43     22    A. A Rover, Infiniti, Lexus, Audi.
02:17:50     23    Q. Is this at the Monroe location?
02:17:52     24    A. Yes.
02:17:53     25    Q. And what color was that car?
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02:17:55       1   A. They were all silver.
02:18:00       2   Q. Did you receive anything from the defendant when you met
02:18:03       3   him at the Monroe location?
02:18:05       4   A. Sometimes the cash.
02:18:15       5   Q. Now, you also talked about meeting the defendant in an
02:18:18       6   area off of Michigan. Do you remember the cross streets with
02:18:21       7   Michigan?
02:18:22       8   A. No, I don't.
02:18:23       9   Q. What city?
02:18:24     10    A. In Chicago.
02:18:25     11    Q. What part of the city?
02:18:26     12    A. Downtown.
02:18:28     13    Q. And how many times did you meet the defendant in that
02:18:30     14    area?
02:18:31     15    A. About the same time -- about the same amount of times, up
02:18:35     16    to ten times.
02:18:36     17    Q. Do you remember the first time you met the defendant in
02:18:38     18    the area off of Michigan?
02:18:40     19    A. No, I don't.
02:18:41     20    Q. How did you arrange to meet the defendant in that area?
02:18:44     21    A. The twins would contact me through cellphone.
02:18:46     22    Q. How did you travel to meet the defendant in that area?
02:18:49     23    A. In my car.
02:18:57     24    Q. Did you travel to the area off Michigan by yourself or
02:19:00     25    with other people?
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02:19:01       1   A. By myself.
02:19:03       2   Q. And when you met the defendant, was he with -- was he by
02:19:06       3   himself or with other people?
02:19:08       4   A. By himself.
02:19:09       5   Q. Was the defendant in a car when you met him?
02:19:12       6   A. Yes.
02:19:14       7   Q. And when you arrived in the area off Michigan, what did
02:19:19       8   you do?
02:19:19       9   A. I'd park, look for his car, or he'd pull up after I got
02:19:24     10    there, and just give him the bag.
02:19:27     11    Q. The bag containing what?
02:19:28     12    A. Cocaine.
02:19:33     13    Q. How did you know where to park?
02:19:36     14    A. The twins would tell me -- well, pretty much it's around
02:19:39     15    the same block all the time.
02:19:42     16    Q. And how -- did you see the defendant when you arrived in
02:19:45     17    this location and park?
02:19:47     18    A. Yes.
02:19:47     19    Q. Where did you see him?
02:19:48     20    A. Parked on the side of the street.
02:19:51     21    Q. Did you go to where the defendant was parked?
02:19:53     22    A. I'd park behind him, in front of him, wherever I could
02:19:56     23    find parking.
02:19:57     24    Q. And once you parked, what happened?
02:19:58     25    A. I'd open up my compartment, get my stuff together, and
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02:20:01       1   then walk over to his car and put it in his car.
02:20:04       2   Q. And what would you put in his car?
02:20:06       3   A. A duffle bag with kilos.
02:20:09       4   Q. How many kilograms of cocaine did the duffle bag hold?
02:20:13       5   A. It depends, could be for ten, twenty, and up.
02:20:16       6   Q. How many kilograms of cocaine did the duffle bag hold that
02:20:20       7   you gave the defendant off the area of Monroe -- Michigan?
02:20:24       8   Excuse me.
02:20:25       9   A. Usually it was about twenty.
02:20:28     10    Q. Did you receive anything from the defendant, when you met
02:20:30     11    him in the area off of Michigan to deliver the cocaine?
02:20:33     12    A. Sometimes.
02:20:34     13    Q. And what did you receive?
02:20:35     14    A. Cash.
02:20:36     15    Q. Do you know how much cash you received?
02:20:38     16    A. No.
02:20:40     17    Q. Did you see what the defendant did with the duffle bags
02:20:43     18    that you gave him?
02:20:44     19    A. No, just -- I put them in his back seat.
02:20:49     20    Q. Did the defendant get out of the car when you gave him the
02:20:53     21    duffle bag?
02:20:53     22    A. No.
02:20:54     23    Q. So you put the duffle bag in his car?
02:20:57     24    A. Yes.
02:21:02     25    Q. Now, you also testified that you met the defendant in an
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02:21:06       1   area off 75th Street in Darien or Lemont?
02:21:10       2   A. Yes.
02:21:11       3   Q. Where was that?
02:21:12       4   A. A Wal-Mart.
02:21:13       5   Q. How many times did you deliver to the defendant at the
02:21:15       6   Wal-Mart?
02:21:16       7   A. Twice.
02:21:17       8   Q. Do you remember the first time you delivered to the
02:21:19       9   defendant in this area?
02:21:20     10    A. No, I don't.
02:21:21     11    Q. Was it during the time period you worked for the twins?
02:21:24     12    A. Yes, it was.
02:21:25     13    Q. How did you arrange to meet the defendant at the Wal-Mart?
02:21:29     14    A. The twins called me.
02:21:31     15    Q. And how did you get to the Wal-Mart?
02:21:33     16    A. I drove my vehicle there.
02:21:36     17    Q. Did you go to the Wal-Mart by yourself or with someone
02:21:41     18    else?
02:21:41     19    A. By myself.
02:21:42     20    Q. And what -- did you meet the defendant inside the Wal-Mart
02:21:44     21    or outside?
02:21:45     22    A. Outside in the parking lot.
02:21:48     23    Q. And when you met the defendant, was he in a car?
02:21:52     24    A. Yes, he was.
02:21:56     25    Q. What kind of car was the defendant in when you met him?
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02:22:02       1   A. A Lexus, silver Lexus.
02:22:04       2   Q. What kind of Lexus was it?
02:22:08       3   A. 430, GS 430.
02:22:10       4   Q. Is it a car or a truck?
02:22:11       5   A. It's a car.
02:22:12       6   Q. When you met the defendant in the Wal-Mart parking lot,
02:22:16       7   explain what happened.
02:22:17       8   A. I would just give him the bag there, and that was one
02:22:21       9   time. The second time he took my car and I took his Lexus
02:22:25     10    home.
02:22:25     11    Q. Let's talk about the first time. So you met the defendant
02:22:28     12    in the parking lot. And when you saw him, what did you do?
02:22:31     13    A. Just gave him the bag, the duffle bag.
02:22:35     14    Q. Did you put it in his hands or put it in his car?
02:22:38     15    A. In his car.
02:22:40     16    Q. How many kilograms of cocaine was in the duffle bag?
02:22:44     17    A. I don't remember.
02:22:47     18    Q. Now, the second time you met the defendant at the
02:22:49     19    Wal-Mart, what did you do when you saw him?
02:22:51     20    A. We switched cars.
02:22:53     21    Q. How did you give him your car?
02:22:55     22    A. Just handed him the keys.
02:22:58     23    Q. And how did you know to do that?
02:23:00     24    A. The twins told me he was going to be taking my car.
02:23:03     25    Q. And did you take the defendant's car?
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02:23:06       1   A. Yes, I did.
02:23:07       2   Q. Did you give him your key?
02:23:11       3   A. Yes.
02:23:11       4   Q. What car did you give to the defendant that second time at
02:23:16       5   the Wal-Mart?
02:23:16       6   A. It was -- I think it was an Expedition at the time.
02:23:23       7   Q. And was there cocaine in your car, when you gave it to the
02:23:26       8   defendant?
02:23:27       9   A. Yes.
02:23:27     10    Q. Where was it?
02:23:28     11    A. In the compartment.
02:23:29     12    Q. How much cocaine was in the compartment?
02:23:32     13    A. I don't recall.
02:23:37     14    Q. Did you see what the defendant did with your car, when you
02:23:40     15    gave him your keys?
02:23:41     16    A. He just drove off.
02:23:43     17    Q. And where was the defendant's car?
02:23:46     18    A. I was in it.
02:23:48     19    Q. How long did you have the defendant's car?
02:23:50     20    A. Just overnight.
02:23:52     21    Q. And what did you do with it?
02:23:53     22    A. Parked it in my garage.
02:23:56     23    Q. Did you get your car back from the defendant?
02:23:59     24    A. Yes.
02:23:59     25    Q. And when did you get it back?
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02:24:00       1   A. The next evening.
02:24:03       2   Q. And where did you get it from?
02:24:04       3   A. Same place.
02:24:06       4   Q. Which is where?
02:24:07       5   A. The Wal-Mart.
02:24:08       6   Q. And how did you know to return to the Wal-Mart to get your
02:24:11       7   car?
02:24:12       8   A. Twins called me.
02:24:13       9   Q. And did the defendant bring your car back to the Wal-Mart?
02:24:16     10    A. Yes.
02:24:17     11    Q. Did he say anything to you, when he returned your car to
02:24:21     12    you?
02:24:21     13    A. No.
02:24:22     14    Q. Did you give him his keys back to his car?
02:24:25     15    A. Yes, I did.
02:24:26     16    Q. Did you receive anything from the defendant, when you met
02:24:29     17    him at the Wal-Mart that second time?
02:24:31     18    A. I don't think so.
02:24:34     19    Q. Did you check the compartment of your car after you got it
02:24:37     20    back from the defendant?
02:24:38     21    A. No, I didn't.
02:24:40     22    Q. Now, you also testified about meeting the defendant at an
02:24:44     23    Outback steakhouse. Where was that located?
02:24:47     24    A. It was --
02:24:47     25                MR. RUBINO: Objection. He never testified about
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02:24:49       1   that.
02:24:50       2               THE COURT: Okay. I can't recall we've heard about
02:24:55       3   Outback for a while -- I'm not going to search the record.
02:24:58       4   BY MS. RODNEY:
02:24:59       5   Q. What other locations did you meet the defendant at?
02:25:01       6   A. At an Outback steakhouse.
02:25:03       7               THE COURT: There you go.
02:25:06       8   BY MS. RODNEY:
02:25:06       9   Q. Where was that located?
02:25:06     10    A. It was right off the hundreds, right off the expressway.
02:25:10     11    Q. You said the hundreds, is that the South Suburban area?
02:25:13     12    A. Yes.
02:25:14     13    Q. How many times did you meet the defendant at that
02:25:17     14    location?
02:25:18     15    A. Just one time.
02:25:22     16    Q. Do you remember when you met the defendant at the Outback?
02:25:23     17    A. No.
02:25:25     18    Q. Was it when you were working for the twins?
02:25:27     19    A. Yes, it was.
02:25:28     20    Q. How did you arrange to meet the defendant in that area?
02:25:31     21    A. The twins would contact me.
02:25:34     22    Q. And how did you travel to that location?
02:25:37     23    A. In my vehicle.
02:25:38     24    Q. And what kind of car were you driving?
02:25:42     25    A. Different cars.
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02:25:46       1   Q. Do you know what kind of car you were --
02:25:49       2   A. The white Expedition at the time too.
02:25:52       3   Q. When you went to the Outback, were you by yourself or with
02:25:55       4   someone else?
02:25:55       5   A. I was with Danny.
02:26:00       6   Q. When you arrived at the Outback, what did you do?
02:26:04       7   A. I went inside, sat at the bar.
02:26:08       8   Q. And why did you go inside -- are you referring to the
02:26:11       9   restaurant?
02:26:11     10    A. Yeah, went inside of Outback and sat at the bar with Danny
02:26:15     11    'til we found Ron Ron.
02:26:18     12    Q. And where did you see the defendant?
02:26:21     13    A. In the restaurant eating.
02:26:23     14    Q. And when you saw him, what did you do?
02:26:26     15    A. Like signaled him down, let him know I was there.
02:26:31     16    Q. And once you let him know you were there, what happened?
02:26:34     17    A. We walked outside.
02:26:35     18    Q. And what happened once you got outside?
02:26:38     19    A. We went to my car, and I got the bag out of the truck.
02:26:43     20    Q. When you say we went to the car, who are you referring to?
02:26:47     21    A. Me, Ron Ron, and Danny.
02:26:50     22    Q. And at your car what happened?
02:26:52     23    A. I just opened up my compartment and grabbed the bag I had
02:26:56     24    for him.
02:26:57     25    Q. And what did you do with it?
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02:26:59       1   A. Placed it in his car.
02:27:03       2   Q. Do you recall how the defendant was dressed, when you met
02:27:07       3   him at the Outback?
02:27:08       4   A. I just know he had a doo rag on, a lot of jewelry. That's
02:27:12       5   about it.
02:27:14       6   Q. Did the defendant say anything to you at that meeting?
02:27:18       7   A. No.
02:27:24       8   Q. Did you deliver to the defendant at any other locations?
02:27:29       9   A. No.
02:27:32     10    Q. Now, you've mentioned the names Danny, Antonio Aguilera,
02:27:36     11    and Jorge Llamas. Did you discuss your testimony today with
02:27:40     12    those individuals?
02:27:41     13    A. No.
02:27:42     14                MS. RODNEY: May I have a moment, your Honor?
02:27:44     15                THE COURT: You may.
02:27:49     16                MS. RODNEY: I don't have anything further at this
02:27:52     17    time.
02:27:52     18                THE COURT: Okay. Mr. Rubino?
02:27:52     19                                         - - -
02:27:52     20                         CESAR PEREZ, CROSS-EXAMINATION
02:27:52     21    BY MR. RUBINO:
02:28:14     22    Q. Good afternoon, sir.
02:28:15     23    A. Good afternoon.
02:28:30     24    Q. Mr. Perez, in April 2010 you told us you made a plea
02:28:35     25    agreement with the Government, correct?
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02:28:36       1   A. Yes.
02:28:36       2   Q. And you, in fact, went before a Court and you entered a
02:28:39       3   plea of guilty to drug dealing charges, did you not?
02:28:42       4   A. Yes.
02:28:42       5   Q. And those charges carry a minimum penalty of ten years, do
02:28:45       6   they not?
02:28:46       7   A. Correct.
02:28:47       8   Q. And they carry a maximum penalty of life in prison with no
02:28:52       9   possibility of parole, correct?
02:28:53     10    A. Yes.
02:28:54     11    Q. And you understand what life in prison with no parole
02:28:58     12    means, do you not?
02:28:59     13    A. Yes, I do.
02:29:00     14    Q. What's it mean to you?
02:29:02     15    A. The rest of my life.
02:29:03     16    Q. It means you die in prison, right?
02:29:06     17    A. Correct.
02:29:07     18    Q. Now, you're out on bond, are you not, and have been such?
02:29:14     19    A. Yes.
02:29:15     20    Q. And while you're out on bond have you seen Mr. Llamas?
02:29:22     21    A. No, I haven't seen him.
02:29:25     22    Q. Okay. Have you seen Mr. Torres?
02:29:30     23    A. No, Mr. Torres, no.
02:29:34     24    Q. Now, part of your agreement with the Government is that
02:29:39     25    they are going to recommend to the Court that you receive a
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02:29:43       1   sentence of approximately eleven years, correct?
02:29:47       2   A. Yes.
02:29:53       3   Q. Now, one of the things in your plea agreement is you agree
02:29:57       4   to a forfeiture of $1 million, do you not?
02:30:01       5   A. Yes.
02:30:02       6   Q. Have you turned that million dollars over to the
02:30:05       7   Government yet?
02:30:05       8   A. No.
02:30:06       9   Q. When do you intend to do that?
02:30:09     10    A. I don't have it.
02:30:13     11    Q. But you agreed to give it to them, correct?
02:30:16     12    A. Yes.
02:30:18     13    Q. You also agreed to, quote, tell the truth, did you not?
02:30:22     14    A. Yes, I did.
02:30:23     15    Q. And basically the reason you're here today is to fulfill
02:30:33     16    your plea agreement by testifying, so you can get your
02:30:39     17    eleven-year sentence instead of possibly life, right?
02:30:43     18    A. Correct.
02:30:47     19    Q. Now, during the time you've testified about, during that
02:30:54     20    entire time, you were using cocaine, were you not?
02:30:56     21    A. No.
02:30:57     22    Q. Well, did you use -- you've testified about a period from,
02:31:02     23    when, '05 through '07?
02:31:04     24    A. Right.
02:31:05     25    Q. Were you not using cocaine from '05 through '07?
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02:31:10       1   A. Oh, yeah, I was.
02:31:11       2   Q. You were?
02:31:12       3   A. Yes.
02:31:12       4   Q. So the time you previously testified about is the same.
02:31:15       5   You were using cocaine during the time you were testifying
02:31:18       6   about, is my question?
02:31:20       7   A. Yes.
02:31:21       8   Q. Okay. Now, when you got out on bond and you're supervised
02:31:28       9   by pretrial, do they give you drug tests?
02:31:31     10    A. Yes, they do.
02:31:32     11    Q. And have you passed all of your drug tests?
02:31:34     12    A. Yes, I have.
02:31:35     13    Q. And is that because you haven't used any drugs since then?
02:31:39     14    A. Yes.
02:31:41     15    Q. Now, you first told us about picking up cocaine?
02:31:48     16    A. Yes.
02:31:49     17    Q. So you're talking then about the people that are supplying
02:31:54     18    the twins, right?
02:31:55     19    A. Yes.
02:31:56     20    Q. Can you get a little closer? Sorry.
02:31:59     21    A. Yes.
02:31:59     22    Q. Okay. Okay. Who did you go and pick up cocaine from for
02:32:05     23    the twins?
02:32:06     24    A. Different people.
02:32:07     25    Q. Can you name them for me?
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02:32:10       1   A. No, I didn't get names.
02:32:10       2   Q. I'm sorry?
02:32:11       3   A. I did not get names.
02:32:12       4   Q. So you do not know the names of any of the people that you
02:32:15       5   picked up cocaine from; is that your testimony?
02:32:20       6   A. Yes.
02:32:22       7   Q. And did anyone else go with you, when you would pick up
02:32:26       8   cocaine from these unknown people?
02:32:29       9   A. Sometimes, yes.
02:32:30     10    Q. Who would go with you?
02:32:31     11    A. T-bag, Danny, Sosa, any of those guys.
02:32:42     12    Q. Now, besides picking up drugs, cocaine for the twins, you
02:32:52     13    used to pick up guns for them, didn't you?
02:32:55     14    A. I did once.
02:32:59     15    Q. On one occasion you purchased five guns for them, didn't
02:33:03     16    you?
02:33:03     17    A. Correct.
02:33:05     18    Q. Two .9 millimeter handguns, a .45 caliber handgun,
02:33:11     19    correct?
02:33:12     20    A. (No response.)
02:33:13     21    Q. A .38 black revolver; is that correct?
02:33:17     22    A. Yes.
02:33:17     23    Q. A stainless steel .357 magnum?
02:33:20     24    A. Yes.
02:33:23     25    Q. And why did you pick up these guns for the twins?
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02:33:26       1   A. Because Pedro had asked me to.
02:33:29       2   Q. And why did Pedro want them?
02:33:31       3   A. Well, he said, We're going to hand them out to some of his
02:33:35       4   customers.
02:33:35       5   Q. And was the purpose of that, to protect the drug loads?
02:33:39       6   A. I'm not too sure what the purpose was for.
02:33:42       7   Q. Did you think they were going to use them for hunting?
02:33:45       8   A. No.
02:33:48       9   Q. Now, you also picked up a machine gun, did you not?
02:33:54     10    A. Yes, I did.
02:33:55     11    Q. An AK47.
02:33:58     12                And what did you do with that?
02:34:00     13    A. Left it at the stash house.
02:34:03     14    Q. And it eventually was seized at the stash house, wasn't
02:34:06     15    it?
02:34:06     16    A. Yes.
02:34:07     17    Q. And it was kept at the stash house to protect the drugs at
02:34:11     18    the stash house, was it not?
02:34:13     19    A. No. It was supposed to be passed out or given away.
02:34:16     20    Obviously, they never got rid of it.
02:34:18     21    Q. Given -- so you got it so they could give it away?
02:34:22     22    A. Correct.
02:34:22     23    Q. As, like, a Christmas gift for someone?
02:34:25     24    A. Could be.
02:34:26     25                MS. RODNEY: Objection, your Honor, form of the
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02:34:27       1   question.
02:34:27       2               THE COURT: Okay. It's sustained.
02:34:30       3               MR. RUBINO: I don't know how else to phrase it.
02:34:32       4               THE COURT: Was it a gift?
02:34:39       5               Are you shaking your head at me?
02:34:40       6               MR. RUBINO: I'm sorry, your Honor.
02:34:47       7   BY MR. RUBINO:
02:34:48       8   Q. So the purpose of the machine gun was not to protect the
02:34:52       9   drug stash house where it was kept, right?
02:34:55     10    A. No guns. We weren't supposed to have drugs with the guns
02:34:59     11    in the houses.
02:35:00     12    Q. But you did?
02:35:01     13    A. Yeah. It was supposed to be a one-time thing and they
02:35:04     14    were supposed to get rid of it, and they didn't.
02:35:15     15    Q. Now, you told us that you were paid $1 million for your
02:35:22     16    drug trafficking activities, correct?
02:35:25     17    A. Yes.
02:35:29     18    Q. Sir, isn't it true that you were paid over a million and a
02:35:33     19    half?
02:35:33     20    A. No.
02:35:35     21    Q. Do you remember being interviewed on July 15th, '09 by
02:35:41     22    Special Agent Don Wood, Chris Riley, and task force agent John
02:35:47     23    Comiskey? You were interviewed by them in Summit, Illinois.
02:35:52     24    Do you remember that?
02:35:53     25    A. Okay, yes.
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02:35:54       1   Q. And at that time didn't you tell them that you had been
02:35:57       2   paid over -- or not over. Strike that.
02:36:01       3               Didn't you tell them that you had been paid
02:36:04       4   approximately a million and a half dollars?
02:36:07       5   A. No. I said a million to a million and a half.
02:36:10       6   Q. You said a million to a million and a half?
02:36:16       7   A. (No response.)
02:36:17       8   Q. What did you do with a million and a half dollars?
02:36:20       9   A. Spent it all.
02:36:21     10    Q. Spent every penny of it?
02:36:24     11    A. Oh, yeah.
02:36:30     12    Q. Now, you told us the last delivery you made to Ron Collins
02:36:36     13    was in '07; is that correct?
02:36:38     14    A. Yes.
02:36:40     15    Q. (Indicating.)
02:36:41     16    A. Yes.
02:36:41     17    Q. When in '07?
02:36:43     18    A. I really don't recall the month.
02:36:48     19    Q. Early '07, mid '07, late '07?
02:36:56     20    A. I'd say mid.
02:36:56     21    Q. Is that a guess?
02:36:58     22    A. Yes.
02:37:06     23    Q. Now, on almost all occasions you've testified about,
02:37:11     24    you've told us that when you met Ron -- when you claimed to
02:37:15     25    have met Ron Collins, you were alone and he was alone, right?
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02:37:18       1   A. Yes.
02:37:19       2   Q. So there would be absolutely no witnesses to any of these
02:37:22       3   events, would there?
02:37:23       4   A. Right.
02:37:29       5   Q. Now, you told us that you met Ron Collins on one occasion
02:37:36       6   at the Outback steakhouse, correct?
02:37:37       7   A. Yes.
02:37:37       8   Q. Was that the first time you ever met Ron Collins?
02:37:44       9   A. No.
02:37:46     10    Q. You had met him before that?
02:37:49     11    A. Yes.
02:37:50     12    Q. How many times?
02:37:52     13    A. I don't know. About twenty times, maybe.
02:37:55     14    Q. Twenty times before the Outback you had met him --
02:38:00     15    A. Yes.
02:38:00     16    Q. -- correct?
02:38:01     17    A. Yes.
02:38:02     18    Q. And you told us that Daniel was with you, correct?
02:38:07     19    A. Yes.
02:38:09     20    Q. That's Daniel Torres?
02:38:10     21    A. Yes.
02:38:10     22    Q. Are you positive Daniel Torres was with you?
02:38:14     23    A. Yes.
02:38:14     24    Q. No doubt in your mind?
02:38:16     25    A. Yes.
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02:38:17       1   Q. And that's the only time you saw Ron Collins or delivered
02:38:22       2   drugs to him at the Outback steakhouse?
02:38:25       3   A. Yes.
02:38:28       4   Q. And that's with Daniel Torres, correct?
02:38:31       5   A. Correct.
02:38:31       6   Q. Not Jorge Llamas?
02:38:33       7   A. Not Jorge Llamas.
02:38:34       8   Q. You're positive?
02:38:36       9   A. Yes.
02:38:37     10                MR. RUBINO: Thank you. I have nothing further.
02:38:39     11                THE COURT: Okay. Any redirect?
02:38:41     12                MS. RODNEY: Yes, your Honor, just one moment.
02:38:41     13                                         - - -
02:38:41     14                       CESAR PEREZ, REDIRECT EXAMINATION
02:38:41     15    BY MS. RODNEY:
02:38:52     16    Q. Mr. Perez, did you carry guns when you delivered cocaine
02:38:55     17    to the customers?
02:38:56     18    A. No, I did not.
02:38:58     19    Q. You were asked about your one-million-dollar forfeiture
02:39:03     20    that you agreed to, and you testified that you have not paid
02:39:06     21    that. Do you understand that you still owe $1 million to the
02:39:11     22    Government?
02:39:11     23    A. Yes, I do.
02:39:12     24                MS. RODNEY: Your Honor, may I just have a moment?
02:39:14     25                THE COURT: Sure.
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02:39:15       1               MS. RODNEY: I have nothing further. Thank you.
02:39:16       2               THE COURT: All right. Anything on that, Mr. Rubino?
02:39:18       3               MR. RUBINO: No, ma'am.
02:39:19       4               THE COURT: Okay, folks. We'll take our afternoon
02:39:21       5   break. Thank you.
02:39:32       6               (The jury leaves the courtroom.)
03:12:06       7               (Recess taken.)
03:12:10       8               (The jury enters the courtroom.)
03:12:29       9               THE COURT: Okay, folks. Please be seated. I hope
03:12:32     10    you had a nice break and a great snack to keep you going for
03:12:36     11    the next two hours.
03:12:37     12                So please call your next witness.
03:12:40     13                MS. RODNEY: Thank you. The Government calls Robert
03:12:43     14    Gregory.
03:12:43     15                THE COURT: Okay.
03:12:55     16                (Witness takes the stand.)
03:12:56     17                THE COURT: Right up here, sir.
03:13:02     18                Please raise your right hand.
03:13:06     19                (The witness was sworn.)
03:13:10     20                THE COURT: Okay. Have a seat.
03:13:10     21                                         - - -
03:13:10     22                      ROBERT GREGORY, DIRECT EXAMINATION
03:13:10     23    BY MS. RODNEY:
03:13:18     24    Q. Mr. Gregory, will you please state and spell your name for
03:13:22     25    the record?
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03:13:22       1   A. Robert Gregory, R-o-b-e-r-t G-r-e-g-o-r-y.
03:13:28       2   Q. How old are you, Mr. Gregory?
03:13:30       3   A. 35.
03:13:31       4   Q. And where were you born?
03:13:33       5   A. Milwaukee.
03:13:34       6   Q. Can you make sure to speak into the microphone, please?
03:13:37       7               How far did you go in school?
03:13:40       8   A. GED.
03:13:41       9   Q. Are you currently working?
03:13:43     10    A. Yes.
03:13:44     11    Q. And what do you do?
03:13:46     12    A. Property management.
03:13:47     13    Q. And what does that mean?
03:13:50     14    A. Rehab houses and upkeep of the houses.
03:13:55     15    Q. And how long have you done that type of work?
03:13:58     16    A. Since August of '09.
03:14:03     17    Q. Do you currently live in the Milwaukee area?
03:14:06     18    A. Yes.
03:14:07     19    Q. And how long have you lived there?
03:14:10     20    A. My whole life.
03:14:12     21    Q. Now, turning your attention to January of 2011, did you
03:14:15     22    plead guilty to a federal drug charge?
03:14:18     23    A. Yes.
03:14:19     24    Q. And what did you plead guilty to?
03:14:23     25    A. Conspiracy charge.
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03:14:25       1   Q. Conspiracy to do what?
03:14:27       2   A. Sell cocaine.
03:14:30       3   Q. And what else did the conspiracy involve?
03:14:32       4   A. And crack.
03:14:34       5   Q. And what years did your conduct cover that you pleaded
03:14:37       6   guilty to?
03:14:39       7   A. (No response.)
03:14:40       8   Q. What years did your conduct cover that you pleaded guilty
03:14:43       9   to?
03:14:43     10    A. Ten to life.
03:14:46     11    Q. No, that's a different question.
03:14:48     12                You pled guilty to conspiracy to sell drugs, correct?
03:14:52     13    A. Yes.
03:14:52     14    Q. In what period did you sell drugs from, that you pled
03:14:56     15    guilty to?
03:14:57     16    A. '06 to '09.
03:15:02     17    Q. Now, under the terms of your plea agreement, what do you
03:15:04     18    have to do here today?
03:15:05     19    A. Give a truthful testimony.
03:15:08     20    Q. And what do you expect from the Government in return, in
03:15:11     21    exchange for your truthful testimony?
03:15:13     22    A. A downward departure.
03:15:17     23    Q. Now, is that a recommendation you expect the Government to
03:15:19     24    make, in exchange for your cooperation?
03:15:22     25    A. Yes.
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03:15:23       1   Q. And who would the Government make that recommendation to?
03:15:27       2   A. The court in Milwaukee.
03:15:31       3   Q. So to the judge in your case?
03:15:33       4   A. Yes.
03:15:35       5   Q. Do you know, as you sit here today, what your sentence
03:15:39       6   will be?
03:15:40       7   A. No.
03:15:46       8   Q. Do you have an understanding of what will happen with your
03:15:49       9   agreement with the Government to receive a recommendation for
03:15:52     10    a downward departure, if you lie during your testimony?
03:15:55     11    A. Yes.
03:15:56     12    Q. And what is that understanding?
03:15:59     13    A. There's going to be no recommendation made.
03:16:04     14    Q. Now, the offense that you pleaded guilty to, do you
03:16:06     15    understand that that offense carries a maximum penalty of life
03:16:10     16    imprisonment?
03:16:11     17    A. Yes.
03:16:11     18    Q. And do you know that penalty carries a maximum fine of
03:16:16     19    $4 million?
03:16:17     20    A. Yes.
03:16:17     21    Q. Now, I'd like to direct you to the time period --
03:16:20     22    actually, before I go to that.
03:16:21     23                Mr. Gregory, have you used drugs before?
03:16:24     24    A. Yes.
03:16:25     25    Q. What type of drugs have you used?
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03:16:27       1   A. Marijuana.
03:16:29       2   Q. And when did you use marijuana?
03:16:32       3   A. From '97 to 2009.
03:16:38       4   Q. What part of 2009?
03:16:39       5   A. Early 2009.
03:16:41       6   Q. And how often did you use drugs, marijuana, during that
03:16:45       7   time period?
03:16:46       8   A. A couple times out of the week.
03:16:49       9   Q. (Indicating.)
03:16:51     10    A. A couple times out of the month, a few times a week, a
03:16:55     11    couple times a month.
03:16:56     12    Q. Did you use drugs regularly between the late '90s and
03:17:00     13    2009?
03:17:00     14    A. Periodically, not a lot.
03:17:06     15    Q. I'm sorry. I didn't hear you.
03:17:07     16    A. I used drugs periodically, not every day.
03:17:12     17    Q. What quantity of marijuana did you use, when you used it?
03:17:15     18    A. A blunt, a dime bag, however you want to word it.
03:17:20     19    Q. Okay. Now, I'd like to direct you to the time period
03:17:23     20    between 2006 and 2009. Were you working during that time?
03:17:27     21    A. No.
03:17:28     22    Q. What did you do to make money?
03:17:32     23    A. Sold drugs.
03:17:34     24    Q. What kind of drugs?
03:17:36     25    A. Cocaine.
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03:17:38       1   Q. When did you first begin selling cocaine?
03:17:43       2   A. Late '90s.
03:17:45       3   Q. And what kind of cocaine were you selling at that time?
03:17:48       4   A. Crack.
03:17:50       5   Q. How long did you sell crack cocaine?
03:17:53       6   A. 'Til like around 2002.
03:17:59       7   Q. And in 2002 what did you begin doing?
03:18:02       8   A. Started middleman in cocaine.
03:18:07       9   Q. And when you say middleman in cocaine, explain what that
03:18:10     10    means.
03:18:12     11    A. I get it from somebody and sell it to someone else.
03:18:18     12    Q. So you get the cocaine from someone and sell that cocaine
03:18:22     13    to another person?
03:18:23     14    A. Yes.
03:18:23     15    Q. And you refer to that as middlemanning?
03:18:26     16    A. Yes.
03:18:27     17    Q. And what quantities of cocaine did you middleman?
03:18:31     18    A. Four and -- four and a half ounces to nine ounces.
03:18:37     19    Q. And was this powder cocaine or crack cocaine that you
03:18:39     20    middlemanned?
03:18:41     21    A. Powder.
03:18:43     22    Q. How often did you do these middlemanning transactions?
03:18:47     23    A. Whenever someone called me that needed it.
03:18:53     24    Q. About how often was that?
03:18:56     25    A. Once every other week.
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03:19:01       1   Q. Now, at some point did you begin regularly selling cocaine
03:19:04       2   yourself?
03:19:05       3   A. Yes.
03:19:06       4   Q. And when did that begin?
03:19:09       5   A. Like late 2005.
03:19:15       6   Q. After -- or beginning in late 2005, did you develop your
03:19:19       7   own customer base?
03:19:21       8   A. Yes.
03:19:21       9   Q. Approximately how many different customers did you sell
03:19:25     10    cocaine to?
03:19:26     11    A. Seven.
03:19:29     12    Q. And where were your customers located?
03:19:31     13    A. In Milwaukee.
03:19:33     14    Q. What quantities of cocaine did you sell to your customers?
03:19:44     15    A. Four and a half ounces to nine ounces at that time.
03:19:46     16    Q. Did that amount change?
03:19:49     17    A. Yes.
03:19:49     18    Q. And to what amount did it change to?
03:19:52     19    A. It changed up to a half a kilo.
03:19:58     20    Q. How long did you sell cocaine to your own customers?
03:20:02     21    A. To early 2009.
03:20:08     22    Q. And what happened in early 2009? Did you stop selling
03:20:12     23    cocaine?
03:20:13     24    A. Yes.
03:20:17     25    Q. How often did you sell cocaine to your own customers
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03:20:21       1   between late 2005 and early 2009?
03:20:26       2   A. It varied. I'll say, if I had to average it out, once a
03:20:35       3   week. It's different quantities, though.
03:20:39       4   Q. Could it be more often than once a week or less often?
03:20:43       5   A. It would be more sometimes.
03:20:45       6   Q. More frequently than once a week sometimes?
03:20:48       7   A. Yeah.
03:20:52       8   Q. And how much did you charge for a half kilogram of cocaine
03:20:55       9   that you sold to your customers?
03:20:58     10    A. The prices varied too.
03:21:02     11    Q. Okay. How much did you charge?
03:21:08     12    A. About 9500.
03:21:14     13    Q. Did you sell other quantities, other than a half kilogram?
03:21:19     14    A. Yes.
03:21:19     15    Q. What are those quantities?
03:21:22     16    A. I sold whole kilograms too.
03:21:24     17    Q. How much did you charge for a whole kilogram?
03:21:29     18    A. From 22,000 to 32,000.
03:21:37     19    Q. Approximately how much money did you make each time you
03:21:40     20    sold a kilogram of cocaine to your customers?
03:21:43     21    A. About a thousand.
03:21:45     22    Q. Is that per kilogram?
03:21:47     23    A. Yeah.
03:21:50     24    Q. Now, during the time period that you sold cocaine to your
03:21:54     25    customers, between late '05 and early 2009, how did you obtain
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03:21:59       1   the cocaine that you sold?
03:22:01       2   A. I got it from a cocaine supplier in Chicago.
03:22:07       3   Q. And who was that person?
03:22:09       4   A. Ron Ron.
03:22:11       5   Q. Did you get your cocaine from anyone else?
03:22:14       6   A. Yes.
03:22:15       7   Q. Was it at that same time period?
03:22:19       8   A. Later time.
03:22:21       9   Q. And who was that person?
03:22:23     10    A. It was another cocaine supplier in Chicago.
03:22:26     11    Q. And what is that person's name?
03:22:28     12    A. Twan (phonetic).
03:22:30     13    Q. And when did you first meet Ron Ron?
03:22:34     14    A. It was, like, early 2006.
03:22:38     15    Q. And where were you, when you met Ron Ron?
03:22:41     16    A. At this car shop.
03:22:43     17    Q. What is the name of the car shop?
03:22:45     18    A. Lee.
03:22:48     19    Q. I'm sorry?
03:22:49     20    A. Lee's.
03:22:49     21    Q. And where is that located?
03:22:52     22    A. On Jefferson and Polk.
03:22:55     23    Q. In what city is that?
03:22:57     24    A. Chicago.
03:22:59     25    Q. And why were you at Lee's that day?
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03:23:02       1   A. Getting some work done to one of my cars.
03:23:05       2   Q. And what car were you driving that day?
03:23:08       3   A. A black BMW.
03:23:10       4   Q. Mr. Gregory, I'm going to hand you two photographs marked
03:23:15       5   Government Exhibit Photo 14 and Government Exhibit Photo 15.
03:23:23       6   Can you take a look at those two exhibits? You can take them
03:23:30       7   out of the folder.
03:23:38       8               Do you recognize the images -- or the image depicted
03:23:41       9   in Government Exhibit Photo 14?
03:23:44     10    A. Yes.
03:23:49     11    Q. And what is it?
03:23:50     12    A. It's a picture of Lee's.
03:23:53     13    Q. Is Government Exhibit Photo 14 a true and accurate
03:23:56     14    depiction of Lee's?
03:23:58     15    A. Yes.
03:23:59     16                MS. RODNEY: Your Honor, Government moves into
03:24:02     17    evidence Government Exhibit Photo 14.
03:24:03     18                THE COURT: Okay. It will be admitted.
03:24:05     19                MS. RODNEY: And may I publish?
03:24:06     20                THE COURT: You may.
03:24:20     21    BY MS. RODNEY:
03:24:21     22    Q. Now, Mr. Gregory, is the image depicted on the screen,
03:24:24     23    Government Exhibit 14, Lee's auto shop, where you met the
03:24:27     24    defendant in early 2006?
03:24:29     25    A. Yes.
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03:24:30       1   Q. And now can you take a look at Government Exhibit Photo 15
03:24:34       2   in front of you?
03:24:36       3   A. Yeah.
03:24:38       4   Q. And what is in Government Exhibit Photo 15?
03:24:41       5   A. It's a --
03:24:42       6   Q. I'm sorry. Government Exhibit -- I apologize.
03:24:44       7               Government Exhibit Photo 14 is shown on the screen.
03:24:48       8   Can you now turn your attention to the other photograph I've
03:24:51       9   handed you, Government Exhibit Photo 15?
03:24:54     10                What is depicted in Government Exhibit Photo 15?
03:24:57     11    A. Like a -- an overhead view of Lee's.
03:25:03     12    Q. And is Government Exhibit Photo 15 a true and accurate
03:25:08     13    depiction of the overhead view of the Lee's auto shop?
03:25:12     14    A. Yes.
03:25:13     15                MS. RODNEY: Your Honor, Government moves into
03:25:16     16    evidence Government Exhibit Photo 15.
03:25:17     17                THE COURT: Okay. It will be admitted.
03:25:24     18                MS. RODNEY: And may I publish?
03:25:27     19                THE COURT: You may.
03:25:28     20    BY MS. RODNEY:
03:25:29     21    Q. And, Mr. Gregory, can you indicate where on Government
03:25:36     22    Exhibit Photo 15 Lee's is by referring to the street names on
03:25:38     23    the exhibit?
03:25:40     24    A. It's on Jefferson Street.
03:25:45     25    Q. And what is the cross street?
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03:25:48       1   A. Polk.
03:25:52       2   Q. Is it at the corner?
03:25:55       3   A. The shop?
03:25:56       4   Q. Yes.
03:25:56       5   A. The shop is in the middle. It's in the middle of the
03:26:00       6   picture.
03:26:02       7   Q. Is this the area in front of the shop?
03:26:05       8   A. Yeah.
03:26:08       9               MS. RODNEY: And for the record, I've just
03:26:09     10    highlighted the lower center portion of Government Exhibit
03:26:12     11    Photo 15.
03:26:13     12    BY MS. RODNEY:
03:26:15     13    Q. Now, how did you meet Ron Ron at Lee's?
03:26:20     14    A. He was buying -- he was buying everybody something to eat.
03:26:28     15    Q. Did he buy you something to eat?
03:26:30     16    A. Yeah, he bought me something to eat.
03:26:32     17    Q. Did you get your food from Ron Ron?
03:26:34     18    A. No, I didn't end up getting the food, but he had bought
03:26:37     19    it.
03:26:37     20    Q. And what happened? Why didn't you get your food?
03:26:40     21    A. It was a mixup in the order or something of that nature.
03:26:45     22    Q. Did Ron Ron say anything to you at Lee's?
03:26:49     23    A. He asked me where I was from, and ...
03:26:53     24    Q. And how did you respond?
03:26:54     25    A. From Milwaukee.
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03:26:55       1   Q. Did Ron Ron say anything else to you?
03:26:58       2   A. He asked me what they was going for up there.
03:27:02       3   Q. And what did you understand Ron Ron to mean when he said
03:27:06       4   that?
03:27:06       5   A. Cocaine.
03:27:10       6   Q. Cocaine. What -- how much cocaine was going for up there?
03:27:14       7   A. How much a key of cocaine was going for up there.
03:27:19       8   Q. And did you respond to his question?
03:27:20       9   A. Yeah.
03:27:22     10    Q. What did you say?
03:27:23     11    A. I said, Like 19.
03:27:25     12    Q. 19 what?
03:27:26     13    A. 19,000.
03:27:28     14    Q. Was that the price of cocaine in Milwaukee at the time?
03:27:31     15    A. That was a good price for it at the time.
03:27:34     16    Q. And did Ron Ron say anything in response to you?
03:27:38     17    A. He said, What if I can get it to you for that same price?
03:27:46     18    Q. And did you say anything back?
03:27:48     19    A. Yeah. I said, That'll be -- That was cool, if he could do
03:27:52     20    it like that.
03:27:53     21    Q. And why did you respond that way?
03:27:55     22    A. Because that was a good price.
03:27:59     23    Q. And what happened next?
03:28:02     24    A. We exchanged numbers.
03:28:05     25    Q. Do you remember what phone number he gave you?
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03:28:08       1   A. Yeah. 414-2 -- 807-1085 number.
03:28:15       2   Q. Was that the phone number he gave you?
03:28:17       3   A. No, he gave me his number.
03:28:19       4   Q. Do you remember what number Ron Ron gave you?
03:28:21       5   A. No, I can't remember the number.
03:28:23       6   Q. What did you do with the number he gave you?
03:28:25       7   A. I stored it in my phone.
03:28:27       8   Q. Under what name did you store it?
03:28:29       9   A. Ron.
03:28:31     10    Q. And in how many phones total did you store the name Ron?
03:28:34     11    A. I stored it probably in several phones.
03:28:39     12    Q. Now, looking around the courtroom, do you see the
03:28:42     13    individual you met at Lee's that day by the name of Ron Ron?
03:28:45     14    A. Yes.
03:28:45     15    Q. Can you point out this person and identify that person by
03:28:48     16    a piece of clothing?
03:28:50     17    A. He is sitting over there with the suit on.
03:28:54     18    Q. Which person?
03:28:55     19    A. The black person.
03:28:58     20                MS. RODNEY: Your Honor, may the record reflect that
03:29:00     21    the witness has identified the defendant?
03:29:01     22                THE COURT: It will.
03:29:14     23    BY MS. RODNEY:
03:29:14     24    Q. Mr. Gregory, I'm handing you what's been marked as
03:29:18     25    Government Exhibit Phone 3 and Government Exhibit Phone 4.
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03:29:24       1   Can you take a look at those exhibits -- excuse me --
03:29:27       2   Government Exhibit Phone 2 and Government Exhibit Phone -- I'm
03:29:30       3   sorry, your Honor. I gave the witness the wrong exhibit.
03:29:33       4               THE COURT: That's fine. Go ahead and give him a
03:29:35       5   different one.
03:29:45       6   BY MS. RODNEY:
03:29:47       7   Q. Mr. Gregory, I've handed you what's been marked as
03:29:50       8   Government Exhibit Phone 2 and Government Exhibit Phone 3. Do
03:29:54       9   you recognize those exhibits?
03:29:55     10    A. Yes.
03:29:56     11    Q. And what are they?
03:29:58     12    A. They are two of my old phones.
03:30:01     13    Q. How do you recognize them as your old phones?
03:30:06     14    A. Because I had powered them up and went through them.
03:30:09     15    Q. And did you initial the exhibits after you looked through
03:30:12     16    them?
03:30:12     17    A. Yes.
03:30:13     18    Q. And are your initials reflected on the exhibit stickers on
03:30:18     19    Government Exhibit Phone 2 and Government Exhibit Phone 3?
03:30:21     20    A. Yes.
03:30:21     21    Q. When you looked through the phones, did you look through
03:30:25     22    the phonebook?
03:30:26     23    A. Yes.
03:30:26     24    Q. And whose name is included in the phonebook?
03:30:29     25    A. Ron.
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03:30:31       1   Q. Now, what phone numbers are associated with Government
03:30:35       2   Exhibit Phone 2 and Government Exhibit Phone 3?
03:30:36       3   A. The (414) 807-1085 number.
03:30:42       4   Q. Both phones have the same phone number?
03:30:44       5   A. Yes.
03:30:44       6   Q. Did you use both phones at the same time?
03:30:47       7   A. No.
03:30:49       8   Q. When did you use those phones?
03:30:56       9   A. '06 and '07.
03:31:00     10    Q. And the name Ron that you found in the phonebook, does
03:31:05     11    that refer to the defendant?
03:31:06     12    A. Yes.
03:31:07     13    Q. Now, do Government Exhibit Phone 2 and Government Exhibit
03:31:11     14    Phone 3 appear to be in substantially the same condition as
03:31:13     15    when you first used them?
03:31:15     16    A. Yeah.
03:31:16     17                MS. RODNEY: Your Honor, the Government moves into
03:31:18     18    evidence Government Exhibit Phone 2 and Phone 3.
03:31:21     19                THE COURT: Okay. They will be admitted.
03:31:25     20    BY MS. RODNEY:
03:31:26     21    Q. Now, Mr. Gregory, returning to your first meeting with Ron
03:31:29     22    Ron, the defendant, at Lee's, was the defendant in a car at
03:31:34     23    the time?
03:31:34     24    A. Yes.
03:31:35     25    Q. And what kind of car did you see him in?
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03:31:38       1   A. He had like a pearl A8 Audi.
03:31:45       2   Q. After you met the defendant that day, did you see him
03:31:48       3   again?
03:31:49       4   A. Yeah.
03:31:51       5   Q. Did you speak to him again after that day?
03:31:53       6   A. Yes.
03:31:54       7   Q. And when did you speak to him?
03:31:57       8   A. I called him the next day.
03:31:59       9   Q. How did you contact him?
03:32:01     10    A. With the phone number he gave me.
03:32:05     11    Q. And what was the number of -- the cellphone number -- what
03:32:08     12    was your cellphone number that you used to contact Ron Ron?
03:32:11     13    A. The (414) 804-8710 number.
03:32:17     14    Q. And where were you calling the defendant from?
03:32:18     15    A. In Milwaukee.
03:32:19     16    Q. What did you say to the defendant during that
03:32:21     17    conversation?
03:32:24     18    A. I was seeing what was up.
03:32:29     19    Q. And what did he say to you in response?
03:32:31     20    A. When could I meet him at the shop.
03:32:34     21    Q. What did you say?
03:32:37     22    A. I think I said -- I think I said, Right now.
03:32:41     23    Q. Did you go meet the defendant at the shop?
03:32:44     24    A. Yes.
03:32:44     25    Q. And did you understand him to be referring to Lee's?
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03:32:47       1   A. Yes.
03:32:50       2   Q. When did you meet the defendant at Lee's?
03:32:52       3   A. I think the day that I talked to him, like in the early --
03:32:57       4   in the -- it's the later afternoon. It was still light
03:33:02       5   outside, later afternoon.
03:33:04       6   Q. Did you drive down to Chicago to meet the defendant?
03:33:06       7   A. Yes.
03:33:08       8   Q. And did you meet the defendant at Lee's?
03:33:10       9   A. Yes.
03:33:11     10    Q. And how was the defendant dressed during that meeting?
03:33:15     11    A. I don't remember exactly what he had on, but he got -- it
03:33:22     12    was a nice jewelry.
03:33:24     13    Q. What kind of jewelry?
03:33:25     14    A. It looked like platinum and white diamonds.
03:33:28     15    Q. Where, what kind of --
03:33:31     16    A. I think a chain and a bracelet.
03:33:35     17    Q. Was anyone else with you when you met the defendant at
03:33:40     18    Lee's that day?
03:33:40     19    A. No.
03:33:40     20    Q. What happened when you met him at Lee's?
03:33:43     21    A. Told me to jump in with him.
03:33:45     22    Q. Jump in what?
03:33:47     23    A. His car.
03:33:48     24    Q. And what kind of car was that?
03:33:49     25    A. He had a silver BMW 645.
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03:33:55       1   Q. Did you get in the car with him?
03:33:56       2   A. Yeah.
03:33:57       3   Q. Where did you all go?
03:33:58       4   A. To some restaurant.
03:34:00       5   Q. In the Chicago area?
03:34:02       6   A. Yeah.
03:34:04       7   Q. And what happened at the restaurant?
03:34:07       8   A. We met up with some other guys.
03:34:09       9   Q. How many other guys?
03:34:11     10    A. Two.
03:34:12     11    Q. Do you know their names?
03:34:15     12    A. I think one was Rio, and I don't know the other one's
03:34:20     13    name.
03:34:20     14    Q. Did you eat at the restaurant with the defendant?
03:34:22     15    A. Yes.
03:34:23     16    Q. And what happened when you all ate?
03:34:27     17    A. You know, we just talked and he introduced me to the other
03:34:32     18    two guys.
03:34:33     19    Q. And who paid for dinner?
03:34:35     20    A. He did.
03:34:36     21    Q. And how did he -- who is he? Excuse me.
03:34:38     22    A. Ron Ron paid.
03:34:39     23    Q. And how did -- did he pay for everyone at dinner?
03:34:43     24    A. I think so.
03:34:44     25    Q. And how did he pay?
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03:34:45       1   A. Cash.
03:34:46       2   Q. What happened after dinner?
03:34:50       3   A. We separated from the other two guys and went back to my
03:34:57       4   car.
03:34:58       5   Q. And where was your car?
03:34:59       6   A. At Lee's.
03:35:01       7   Q. And what happened when you got back to your car?
03:35:05       8   A. He had asked me like what was I willing to spend, what did
03:35:14       9   I have to spend.
03:35:15     10    Q. And where were you when you had the conversation with the
03:35:18     11    defendant?
03:35:18     12    A. We were still in his car in front --
03:35:21     13    Q. Back at Lee's?
03:35:22     14    A. Yeah.
03:35:22     15    Q. And were you parked somewhere?
03:35:24     16    A. Like across the street.
03:35:26     17    Q. Across the street from where?
03:35:28     18    A. Lee's.
03:35:30     19    Q. And what did the defendant say to you during that
03:35:33     20    conversation?
03:35:34     21    A. He said like what am I -- like how-much-do-I-want-to-
03:35:40     22    spend-type of stuff.
03:35:41     23    Q. And what did you understand him to be referring to?
03:35:43     24    A. Like to the cocaine.
03:35:48     25    Q. To do what with cocaine?
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03:35:50       1   A. To -- how much to -- like, what was I going to buy it for.
03:35:55       2   Q. And what did you say to the defendant?
03:35:57       3   A. I told him I wasn't really getting any but nine ounces at
03:36:03       4   the time and my money was kind of funny.
03:36:06       5   Q. And did the defendant say anything back to you?
03:36:09       6   A. He just told me to wait right here.
03:36:11       7   Q. And what happened next?
03:36:12       8   A. He left.
03:36:13       9   Q. Did the defendant come back?
03:36:15     10    A. Yeah.
03:36:17     11    Q. About how much time passed before he came back?
03:36:19     12    A. Fifteen, twenty minutes.
03:36:22     13    Q. And what happened when the defendant returned?
03:36:25     14    A. He came back with -- with nine ounces.
03:36:28     15    Q. Nine ounces of what?
03:36:30     16    A. Cocaine.
03:36:31     17    Q. And how was the nine ounces of cocaine packaged that the
03:36:34     18    defendant brought back?
03:36:35     19    A. In plastic.
03:36:38     20    Q. Did he give the cocaine to you?
03:36:41     21    A. Yes.
03:36:42     22    Q. Did he say anything when he gave you the cocaine?
03:36:45     23    A. He told me -- he's like it -- he giving it to me. You
03:36:55     24    know, he didn't really know me, so he's like -- it really
03:36:58     25    ain't nothing to him. I can burn my own bridges, if I want
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03:37:02    1   to.
03:37:02    2   Q. Did you take the cocaine from the defendant?
03:37:04    3   A. Oh, yeah.
03:37:05    4   Q. Did you say anything to respond to him telling you that?
03:37:10    5   A. Did I say anything?
03:37:11    6   Q. Yes.
03:37:12    7   A. No, I ain't say nothing.
03:37:14    8   Q. What happened after the defendant gave you the nine
03:37:16    9   ounces?
03:37:17   10   A. I got back in my car.
03:37:19   11   Q. And where did you go?
03:37:20   12   A. To Milwaukee.
03:37:21   13   Q. Where did you put the cocaine that the defendant gave you?
03:37:24   14   A. In the tuck spot.
03:37:27   15   Q. And what is a tuck spot?
03:37:29   16   A. A little secret place where the police don't find it.
03:37:32   17   Q. Find what?
03:37:33   18   A. The cocaine.
03:37:34   19   Q. And what kind of car were you driving that day?
03:37:36   20   A. An Audi.
03:37:40   21   Q. Did you pay the defendant for the nine ounces of cocaine
03:37:43   22   he gave you that day?
03:37:45   23   A. When I came back to Chicago.
03:37:51   24   Q. Now, when the defendant told you -- when he gave you the
03:37:54   25   cocaine that you could burn your own bridges, what did you
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03:37:58    1   understand that to mean?
03:37:59    2   A. That -- you know, like he saying that, like, either you
03:38:07    3   can run off with the money, if you want to, or bring it back.
03:38:12    4   Burn your own bridges, like, running off with the money.
03:38:15    5   Q. Did the defendant give you money to run off with?
03:38:18    6   A. No. But run off with the cocaine.
03:38:21    7   Q. And you ultimately paid the defendant for those nine
03:38:23    8   ounces?
03:38:24    9   A. Yeah.
03:38:25   10   Q. And when did you pay him for it?
03:38:27   11   A. I think the next day.
03:38:28   12   Q. Had you sold the cocaine?
03:38:30   13   A. Yeah.
03:38:32   14   Q. Where did you meet the defendant to give him the money?
03:38:36   15   A. At Lee's.
03:38:38   16   Q. So you returned to Chicago to give the defendant the
03:38:42   17   money?
03:38:42   18   A. Yes.
03:38:43   19   Q. Was anyone with the defendant at that time when you met
03:38:45   20   him?
03:38:47   21   A. No, I don't think so.
03:38:49   22   Q. How much money did you give the defendant for the nine
03:38:51   23   ounces?
03:38:55   24   A. If -- 9500, around there. I think he gave it to me for
03:39:04   25   19, so around that.
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03:39:05    1   Q. And do you know how many grams is in nine ounces?
03:39:08    2   A. 250.
03:39:11    3   Q. Did you say anything to the defendant when you gave him
03:39:14    4   the money for the nine ounces?
03:39:17    5   A. Nothing than I wanted another nine ounces.
03:39:23    6   Q. And did the defendant accept the money from you?
03:39:25    7   A. Yeah.
03:39:26    8   Q. And what did he do after he took your money?
03:39:28    9   A. He left again.
03:39:29   10   Q. Did he come back that same day?
03:39:32   11   A. Yes.
03:39:32   12   Q. Did he have anything with him?
03:39:34   13   A. Yes.
03:39:34   14   Q. What?
03:39:35   15   A. Another nine ounces.
03:39:37   16   Q. Of cocaine?
03:39:38   17   A. Yes.
03:39:38   18   Q. Did he give that cocaine to you?
03:39:41   19   A. Yes.
03:39:41   20   Q. Did he say anything to you when he gave it to you?
03:39:45   21   A. Be careful about -- because I had some tint on my car.
03:39:51   22   Q. And what car were you driving during that meeting?
03:39:53   23   A. I think the next day I had the Audi.
03:39:56   24   Q. You had tint on your Audi car?
03:40:00   25   A. Yeah.
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03:40:00    1   Q. Referring to the windows?
03:40:01    2   A. Yeah, the window tint.
03:40:02    3   Q. What did he say about the window tint?
03:40:05    4   A. You know, the police will pull you over for the tint.
03:40:07    5   Q. What did you say in response?
03:40:09    6   A. I told him that, Yeah, I knew that. I told him that I
03:40:13    7   knew that.
03:40:14    8   Q. After you took the cocaine from the defendant, what did
03:40:18    9   you do?
03:40:18   10   A. I came back to Milwaukee.
03:40:20   11   Q. Did you see the defendant again after that second meeting?
03:40:23   12   A. Yes.
03:40:24   13   Q. Approximately how much time passed before you saw the
03:40:27   14   defendant again?
03:40:28   15   A. Like, two days that time.
03:40:30   16   Q. And why did you meet the defendant again?
03:40:33   17   A. To get more cocaine.
03:40:36   18   Q. Had you sold the nine ounces you received that second
03:40:39   19   time?
03:40:41   20   A. Yes.
03:40:42   21   Q. How was that meeting set up, the third meeting?
03:40:47   22   A. He told me to come to the shop again.
03:40:50   23   Q. Did you talk to the defendant by phone?
03:40:52   24   A. Yes.
03:40:53   25   Q. Did you call the defendant or did he call you?
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03:40:55    1   A. I called.
03:40:58    2   Q. And did you return to Lee's to meet the defendant that
03:41:02    3   third time?
03:41:02    4   A. Yeah.
03:41:03    5   Q. Was anyone else present with the defendant at that
03:41:06    6   meeting?
03:41:10    7   A. I don't think nobody was present with him, just the people
03:41:13    8   at Lee's. You know, nobody was there.
03:41:18    9   Q. And describe what happened at that third meeting.
03:41:21   10   A. The third meeting. I think after the third meeting ...
03:41:27   11   Q. At the third meeting what happened?
03:41:29   12   A. At the third meeting? I think I asked him for more than
03:41:37   13   nine ounces.
03:41:38   14   Q. Did you receive anything from the defendant at that
03:41:41   15   meeting?
03:41:41   16   A. I think I received -- I think I received the nine ounces,
03:41:48   17   though.
03:41:48   18   Q. Did you give anything to the defendant at that meeting?
03:41:50   19   A. The money from the previous nine ounces.
03:41:55   20   Q. And what did you do after you received the nine ounces
03:41:58   21   from the defendant that time?
03:42:01   22   A. Came back to Milwaukee.
03:42:02   23   Q. Did you sell the cocaine?
03:42:04   24   A. Yes.
03:42:05   25   Q. Did you continue to purchase cocaine from the defendant
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03:42:08    1   after that third meeting?
03:42:10    2   A. Yes.
03:42:12    3   Q. Approximately how long did you continue to buy cocaine
03:42:16    4   from the defendant?
03:42:18    5   A. 'Til early '09.
03:42:24    6   Q. Approximately, how often did you buy cocaine from the
03:42:27    7   defendant between early 2006 and early 2009?
03:42:30    8   A. Times varied, but like once every week or two.
03:42:38    9   Q. How did you contact the defendant to get cocaine from him?
03:42:42   10   A. By phone.
03:42:43   11   Q. Did you use the same phone to contact the defendant each
03:42:47   12   time?
03:42:49   13   A. No.
03:42:50   14   Q. Did you use more than one phone to contact the defendant?
03:42:53   15   A. Yes.
03:42:53   16   Q. Approximately how many different cellphones did you use to
03:42:57   17   contact the defendant?
03:42:58   18   A. Like, seven.
03:43:01   19   Q. Over what period of time did you use those seven phones?
03:43:05   20   A. Like from '06 to '09.
03:43:07   21   Q. Who gave you the cellphones that you used to contact the
03:43:11   22   defendant?
03:43:11   23   A. Ron Ron.
03:43:17   24   Q. And where were you when he gave you the cellphones?
03:43:21   25   A. I was different places, sometimes at Lee's, sometimes he
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03:43:30    1   gave them to me when we went to the store together.
03:43:33    2   Q. What kind of store?
03:43:34    3   A. A phone store.
03:43:35    4   Q. Approximately when did the defendant begin giving you
03:43:38    5   cellphones?
03:43:40    6   A. Like, around the next month after I had met him.
03:43:44    7   Q. 2006?
03:43:46    8   A. Yeah.
03:43:50    9   Q. What happened the first time the defendant gave you a
03:43:52   10   cellphone?
03:43:56   11   A. He told me to call him on the phone that he gave me.
03:44:02   12   Q. Explain how you got the phone from the defendant that
03:44:05   13   first time.
03:44:06   14   A. The first time I think -- I think we went to a phone store
03:44:14   15   and he bought a phone, and he gave it to me. And I think he
03:44:21   16   bought a phone for hisself also.
03:44:26   17   Q. How did you know what number to contact the defendant,
03:44:30   18   when he gave you this phone?
03:44:32   19   A. He would lock the number in hisself from the phone that he
03:44:38   20   had. He would lock his number in my phone.
03:44:42   21   Q. And when you say lock, do you mean he put his number in
03:44:46   22   your phone?
03:44:47   23   A. Yeah.
03:44:48   24   Q. And how did he program his number in your phone, under
03:44:52   25   what name?
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03:44:52    1   A. Two Rs.
03:45:00    2   Q. Did you get the defendant's phone number in any other way
03:45:05    3   when he gave you a phone?
03:45:06    4   A. Yeah, sometimes he'll take the battery off -- the battery
03:45:10    5   cover off the back and put it on, and we'll swap battery
03:45:15    6   cover.
03:45:15    7   Q. The battery cover off the back of what?
03:45:17    8   A. Off the back of the phones.
03:45:19    9   Q. Your phone or his phone?
03:45:20   10   A. Both phones.
03:45:22   11   Q. And where did he do this?
03:45:24   12   A. At the phone store.
03:45:26   13   Q. And what was on the battery cover?
03:45:29   14   A. At the phone store they put the number of the phone on the
03:45:32   15   little sticky piece of paper and they glue the number -- with
03:45:36   16   the number of that phone on it.
03:45:38   17   Q. And you switched battery covers with the defendant?
03:45:41   18   A. Yeah.
03:45:42   19   Q. How often did the defendant give you a new cellphone?
03:45:46   20   A. Whenever he felt that we was using the phone too much.
03:45:51   21   Q. How often was that?
03:45:54   22   A. Every couple months or something.
03:45:59   23   Q. Did the defendant program his number in each new phone
03:46:03   24   that he gave you?
03:46:04   25   A. No.
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03:46:05    1   Q. How did you get the number in your phone, if he didn't do
03:46:09    2   it?
03:46:11    3   A. What I would do?
03:46:12    4   Q. If the defendant did not program the number in your phone,
03:46:15    5   how did you get the number in your phone?
03:46:17    6   A. I would program it in there.
03:46:19    7   Q. And under what name did you store the defendant's number
03:46:21    8   in your phone?
03:46:22    9   A. R-R.
03:46:24   10   Q. Now, other than talking to the defendant by phone, how
03:46:27   11   else did you communicate with him?
03:46:29   12   A. Texts.
03:46:31   13   Q. Is that a text message?
03:46:34   14   A. Yeah.
03:46:34   15   Q. How frequently did you text the defendant?
03:46:40   16   A. Once every week or two.
03:46:46   17   Q. Did you text and talk to the defendant at the same time?
03:46:49   18   A. No.
03:46:51   19   Q. When did you talk to the defendant by phone?
03:46:55   20   A. When I called him from my 807 number.
03:46:59   21   Q. And when did you begin texting the defendant?
03:47:04   22   A. Like, a few -- like, a month after I met him, when I got
03:47:08   23   the different phone -- I started texting him -- I called him
03:47:13   24   on the phone first, texting him, like, four months after that.
03:47:18   25   Q. And did you continue to text the defendant after that
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03:47:21    1   time?
03:47:21    2   A. Yeah.
03:47:23    3   Q. And what was the purpose of you exchanging text messages
03:47:25    4   with the defendant?
03:47:27    5   A. To tell him that I was finished.
03:47:30    6   Q. Finished doing what?
03:47:32    7   A. With the cocaine that I had.
03:47:40    8   Q. Now, I'm going to show you what's been marked as
03:47:42    9   Government Exhibit Phone 4. Do you recognize that exhibit,
03:47:52   10   Mr. Gregory?
03:47:53   11   A. Yeah.
03:47:54   12   Q. And what is it?
03:47:55   13   A. It's a phone.
03:47:58   14   Q. How do you recognize the exhibit?
03:48:01   15   A. Because I signed the exhibit.
03:48:06   16   Q. Whose phone is it?
03:48:07   17   A. It's mine.
03:48:09   18   Q. And how did you recognize it as your phone?
03:48:11   19   A. Went through the -- powered it up and went through the
03:48:15   20   call log.
03:48:16   21   Q. And did you recognize items when you looked through the
03:48:18   22   call log?
03:48:19   23   A. Yes.
03:48:19   24   Q. And did you sign the exhibit sticker after you reviewed
03:48:22   25   the contents of the phone?
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03:48:24    1   A. Yes.
03:48:25    2   Q. What did you use that phone for?
03:48:28    3   A. Texting.
03:48:29    4   Q. To text who?
03:48:30    5   A. Ron.
03:48:34    6   Q. Whose name is stored in that phone?
03:48:36    7   A. Ron Ron.
03:48:37    8   Q. How is it stored?
03:48:38    9   A. With two Rs.
03:48:41   10   Q. Does Government Exhibit Phone 4 appear to be in
03:48:45   11   substantially the same condition as it was when you used it?
03:48:49   12   A. Yes.
03:48:49   13              MS. RODNEY: Your Honor, Government moves into
03:48:51   14   evidence Government Exhibit Phone 4.
03:48:53   15              THE COURT: Okay. It will be admitted.
03:48:55   16   BY MS. RODNEY:
03:48:55   17   Q. How did you get Government Exhibit Phone 4?
03:48:58   18   A. He gave it to me.
03:49:00   19   Q. Who are you referring to?
03:49:01   20   A. Ron Ron gave it to me.
03:49:04   21   Q. And where were you when he gave you that phone?
03:49:07   22   A. In Chicago.
03:49:09   23   Q. Where in Chicago?
03:49:10   24   A. At a phone store.
03:49:13   25   Q. And do you see a sticker on the back of that phone?
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03:49:16    1   A. Yes.
03:49:17    2   Q. Do you recognize that sticker?
03:49:20    3   A. Yes.
03:49:21    4   Q. And who put that sticker on the phone?
03:49:23    5   A. Probably the phone store.
03:49:25    6   Q. And what does that sticker say?
03:49:28    7   A. (708) 566-7482.
03:49:36    8   Q. And is that your phone number?
03:49:38    9   A. Probably not, no.
03:49:41   10   Q. Would you need your own phone number on the back of your
03:49:46   11   phone?
03:49:46   12   A. Not this phone, no.
03:49:49   13   Q. Do you know whose phone number that is?
03:49:51   14   A. It's -- it has to be Ron Ron's phone number.
03:49:59   15   Q. Now, when you're at the phone store with the defendant,
03:50:02   16   other than obtaining cellphones, did you get anything else
03:50:05   17   from the cellphone store?
03:50:09   18   A. Like SIM cards.
03:50:12   19   Q. What is a SIM card?
03:50:14   20   A. It's the little cards you put in the phone to change the
03:50:18   21   number.
03:50:19   22   Q. Were you with the defendant when you got these SIM cards?
03:50:22   23   A. Sometimes.
03:50:23   24   Q. Did you buy the SIM cards or did the defendant buy them?
03:50:27   25   A. The defendant.
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03:50:28    1   Q. And what information is stored on the SIM card?
03:50:33    2   A. Like contacts and text messages and stuff like that.
03:50:39    3   Q. And did the defendant give you the SIM cards he bought at
03:50:42    4   the store, when you were with him?
03:50:44    5   A. Yeah.
03:50:45    6   Q. How often did the defendant give you SIM cards?
03:50:48    7   A. Every couple months or whatever.
03:50:51    8   Q. And why did you accept these SIM cards from the defendant?
03:50:56    9   A. Because it was the means of communicating with him.
03:51:00   10   Q. What did you do with the SIM card, once you received a new
03:51:04   11   one? What did you do with the old SIM card, once you received
03:51:07   12   a new one from the defendant?
03:51:08   13   A. I put them in the -- in a drawer.
03:51:13   14   Q. Where?
03:51:14   15   A. At my mother's house.
03:51:16   16   Q. And in what room in your mother's house?
03:51:19   17   A. In an upstairs room.
03:51:21   18   Q. So you would leave old SIM cards at your mother's house?
03:51:26   19   A. Yes.
03:51:35   20   Q. Now, did you always meet the defendant at Lee's, when you
03:51:38   21   bought cocaine from him?
03:51:40   22   A. No.
03:51:41   23   Q. What other locations did you meet the defendant?
03:51:45   24   A. I met him in Dalton, on Wabash, some street, Wabash, and
03:51:54   25   other little places around Lee's.
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03:51:58    1   Q. And are those places all in Chicago?
03:52:02    2   A. Yes.
03:52:04    3   Q. When did you start meeting the defendant in Dalton?
03:52:15    4   A. It had to be around five months after I met him.
03:52:20    5   Q. And where in Dalton did you meet the defendant?
03:52:22    6   A. I think like 147th by a little car wash thing.
03:52:29    7   Q. Can you make sure you speak into the microphone,
03:52:32    8   Mr. Gregory. I cannot hear you.
03:52:33    9   A. By 147 at this little car wash.
03:52:37   10   Q. And what happened when you met the defendant on 147th at
03:52:41   11   the car wash?
03:52:42   12   A. I would bring him the money for the cocaine.
03:52:46   13   Q. At the car wash?
03:52:48   14   A. Yes.
03:52:49   15   Q. Did you meet the defendant any other places in Dalton?
03:52:53   16   A. (Indicating.)
03:52:54   17   Q. Did you meet the defendant in any other places in Dalton?
03:52:58   18   A. Yeah, like an apartment complex and a coloring [sic] store
03:53:01   19   before.
03:53:05   20   Q. How long did you meet the defendant in the Dalton area?
03:53:09   21   A. We met in Dalton for almost, like, a year.
03:53:14   22   Q. How did you know where to meet the defendant in Dalton?
03:53:17   23   A. He told me.
03:53:18   24   Q. How did he tell you?
03:53:22   25   A. He -- I think I followed him there the first time, I
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03:53:29    1   think, yeah.
03:53:31    2   Q. And what route did you take to get to Dalton?
03:53:34    3   A. You go through downtown Chicago, and then you go left the
03:53:41    4   Indiana way, and then you go left, and then it curves back
03:53:46    5   south.
03:53:47    6   Q. Did you travel on an expressway or by streets to get to
03:53:50    7   Dalton?
03:53:51    8   A. Expressway.
03:53:52    9   Q. Do you know what expressway you took there?
03:53:55   10   A. I don't know the name of it.
03:54:00   11   Q. You talk about meeting the defendant on Wabash. Where is
03:54:06   12   that?
03:54:06   13   A. It's by some little train and a BP gas station. You make
03:54:11   14   a right. It's -- I don't know the name of the streets,
03:54:15   15   though, but --
03:54:16   16   Q. When did you start meeting the defendant at the Wabash
03:54:19   17   location?
03:54:19   18   A. It was after Dalton.
03:54:23   19   Q. How many times did you meet the defendant on Wabash?
03:54:31   20   A. I met him several times on Wabash.
03:54:34   21   Q. For what period of time did you meet him on Wabash?
03:54:38   22   A. Late '08, early '09.
03:54:40   23   Q. So for a year, between '08 and '09?
03:54:45   24   A. Not probably the whole year, but late '08, I'd say. I
03:54:50   25   don't know exactly, but it's late '08, though.
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03:54:54    1   Q. And what were the particular places around Wabash where
03:54:57    2   you met the defendant?
03:54:58    3   A. It's up Wabash from a BP gas station. It's, like, a
03:55:05    4   police station around the corner or something.
03:55:08    5   Q. Where did you meet the defendant at?
03:55:11    6   A. Like on the next block from the police station.
03:55:18    7   Q. Did you meet the defendant at any other locations, other
03:55:19    8   than in Dalton, Wabash, and Lee's?
03:55:24    9   A. Other little places around Lee's and little alleyways, and
03:55:38   10   I've been to some house by Wabash, apartment or whatever.
03:55:49   11   Q. Did you meet the defendant outside of Chicago?
03:55:53   12   A. (Indicating.)
03:55:54   13   Q. Did you meet the defendant outside of Chicago?
03:55:57   14   A. I met him -- he came once to the -- close to the oasis.
03:56:03   15   Q. And where is that?
03:56:04   16   A. It's, like, on between -- it's in Libertyville, Illinois.
03:56:09   17   That's what it's called.
03:56:10   18   Q. And what is the oasis?
03:56:11   19   A. The oasis is the thing that goes up on the top of the
03:56:15   20   expressway and with the Wendy's and, like, a rest stop thing
03:56:21   21   or whatever.
03:56:23   22   Q. Now, when you met the defendant at each of these
03:56:25   23   locations, how did you get the cocaine from him?
03:56:30   24   A. I got it from -- how did I --
03:56:33   25   Q. How did he give you the cocaine, when you met him at these
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03:56:37    1   locations?
03:56:38    2   A. He handed it to me.
03:56:39    3   Q. In what?
03:56:40    4   A. We was using book bags by this time.
03:56:42    5   Q. By what time?
03:56:44    6   A. By the time in Dalton. After -- in Dalton we started
03:56:50    7   using book bags.
03:56:52    8   Q. And did you use book bags each time after Dalton?
03:56:55    9   A. Yes.
03:56:56   10   Q. And did you give anything to the defendant, when you met
03:56:58   11   him at these locations?
03:57:00   12   A. Yes.
03:57:00   13   Q. What did you give him?
03:57:02   14   A. The money from the previous cocaine.
03:57:05   15   Q. And how did you give him this money?
03:57:07   16   A. In the book bag.
03:57:11   17   Q. You said it was for the previous cocaine. What do you
03:57:14   18   mean by that?
03:57:15   19   A. The cocaine that I had to sell.
03:57:19   20   Q. That you had to sell when?
03:57:21   21   A. Prior to coming there that time.
03:57:26   22   Q. Now, when you met the defendant at these locations to get
03:57:29   23   cocaine from him, was he driving a car?
03:57:34   24   A. Yes, a lot of cars.
03:57:36   25   Q. So more than one type of car?
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03:57:40    1   A. Yes.
03:57:41    2   Q. What kind of cars did the defendant drive?
03:57:43    3   A. He had a silver BMW 645.
03:57:47    4   Q. Speak into the mic.
03:57:49    5   A. A silver BMW 645, a pearl white A8 Audi, a silver QF56, a
03:57:58    6   silver Grand Cherokee, the SRT kind, a burgundy mini-van, a
03:58:05    7   black Lincoln truck, a little Buick -- gold Buick truck, a
03:58:18    8   gray Bentley hard top GT, silver drop top Bentley GT. It's
03:58:25    9   probably some of them I'm forgetting.
03:58:28   10   Q. Did the defendant have a different car each time you met
03:58:31   11   him in Chicago?
03:58:32   12   A. Not each time.
03:58:33   13   Q. How often did he have a different car?
03:58:39   14   A. Like, every couple times.
03:58:45   15   Q. Now, when you met the defendant to pick up cocaine, were
03:58:48   16   you by yourself during each of those pickups?
03:58:51   17   A. Yes.
03:58:51   18   Q. And did you drive to meet the defendant each time you met
03:58:54   19   him?
03:58:55   20   A. Yeah.
03:58:56   21   Q. And how did you transport the cocaine that you picked up
03:58:58   22   from the defendant?
03:58:59   23   A. In my car.
03:59:00   24   Q. And where did you put it in your car?
03:59:04   25   A. Tuck spot.
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03:59:04    1   Q. Is that that hidden area that you referred to earlier?
03:59:08    2   A. Yeah.
03:59:13    3   Q. When you met the defendant, was he by himself or with
03:59:17    4   other people when you met him to pick up the cocaine?
03:59:20    5   A. Mostly by hisself.
03:59:22    6   Q. I'm sorry?
03:59:22    7   A. By hisself most of the time.
03:59:25    8   Q. Other times was he with other people?
03:59:29    9   A. Yes.
03:59:30   10   Q. And who were those people?
03:59:31   11   A. I didn't -- the one guy, I didn't know his name, but he
03:59:36   12   was with. And then the one guy I did know his name, Rio, he
03:59:42   13   was with him.
03:59:42   14   Q. Is Rio the person you met that first night at dinner?
03:59:47   15   A. Yes.
03:59:48   16   Q. When the defendant was with other people, where did those
03:59:51   17   deals occur?
03:59:56   18   A. One time at Lee's and in Dalton.
04:00:02   19   Q. Now, were each of your cocaine pickups from the defendant
04:00:05   20   set up the same way each time?
04:00:09   21   A. Yeah.
04:00:10   22   Q. Did you always contact the defendant when you needed
04:00:13   23   cocaine?
04:00:13   24   A. Yes. Or he would call me.
04:00:16   25   Q. And why did the defendant call you?
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04:00:20    1   A. I guess to -- he needed the money or the check to see how
04:00:24    2   much longer I needed to finish.
04:00:26    3   Q. To finish what?
04:00:28    4   A. Selling the cocaine.
04:00:34    5   Q. Now, you talked about purchasing nine-ounce quantities of
04:00:37    6   cocaine from the defendant at Lee's. Did you continue to
04:00:40    7   purchase that same quantity of cocaine from the defendant
04:00:43    8   between 2006 and 2009?
04:00:46    9   A. No.
04:00:47   10   Q. Did you purchase more or less than nine quantities --
04:00:51   11   nine-ounce quantities from the defendant?
04:00:53   12   A. More.
04:00:58   13   Q. What is the next amount of cocaine that you purchased from
04:01:00   14   the defendant?
04:01:01   15   A. A half a key.
04:01:03   16   Q. Is a key a kilogram?
04:01:05   17   A. Yeah.
04:01:06   18   Q. Approximately when did you begin purchasing
04:01:08   19   half-kilogram-quantities of cocaine from the defendant?
04:01:11   20   A. Probably a month after I had met him.
04:01:15   21   Q. And why did you begin purchasing more cocaine from the
04:01:18   22   defendant?
04:01:19   23   A. Because I needed more, and I didn't want to run up and
04:01:25   24   down the highway for that little bit.
04:01:29   25   Q. How long did you purchase half-kilogram-quantities of
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04:01:32    1   cocaine from the defendant?
04:01:36    2   A. A couple months.
04:01:38    3   Q. How often did you purchase half-kilogram-quantities of
04:01:41    4   cocaine from the defendant during that couple-month period?
04:01:44    5   A. Probably every week, every two weeks.
04:01:47    6   Q. Did you purchase any other quantities of cocaine from the
04:01:50    7   defendant after that couple-month period?
04:01:54    8   A. Yes.
04:01:55    9   Q. How much?
04:01:57   10   A. A whole kilogram.
04:02:01   11   Q. How long did you purchase one whole-kilogram-quantities of
04:02:05   12   cocaine from the defendant?
04:02:08   13   A. A couple months.
04:02:10   14   Q. How often did you purchase whole-kilogram-quantities of
04:02:14   15   cocaine from the defendant during that period?
04:02:17   16   A. Like every week or two.
04:02:26   17   Q. After that period did you purchase any other quantities of
04:02:29   18   cocaine from the defendant?
04:02:33   19   A. Yes.
04:02:34   20   Q. And what were those quantities?
04:02:36   21   A. Two kilograms.
04:02:38   22   Q. Approximately when did you increase to two kilograms?
04:02:45   23   A. I'd say it had to be, like, three months after that, the
04:02:49   24   one kilogram.
04:02:51   25   Q. How often did you meet the defendant to purchase
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04:02:54    1   one-kilogram-quantities of cocaine from him?
04:02:57    2   A. A couple months, three months, two, three months.
04:03:07    3   Q. And how often did you meet him to purchase those
04:03:12    4   two-kilogram quantities?
04:03:13    5   A. Probably every two to three weeks.
04:03:15    6   Q. Did you purchase more than two-kilogram quantities of
04:03:18    7   cocaine from the defendant?
04:03:19    8   A. Yes.
04:03:20    9   Q. How much did you purchase?
04:03:21   10   A. Four kilos.
04:03:23   11   Q. How did you increase to four-kilogram-quantities of
04:03:27   12   cocaine?
04:03:29   13   A. I had a bigger tuck spot for it.
04:03:34   14   Q. Did you have people to sell it to?
04:03:36   15   A. Yes.
04:03:41   16   Q. And how long did you stay at purchasing
04:03:43   17   four-kilogram-quantities of cocaine from the defendant?
04:03:46   18   A. I stayed at four for the whole time, when it was
04:03:51   19   available.
04:03:52   20   Q. And if it wasn't available, how much did you purchase?
04:03:55   21   A. Two, sometimes three, to one sometimes, or whatever was
04:04:02   22   available after that, up to four.
04:04:08   23   Q. And when you stopped buying cocaine from the defendant in
04:04:12   24   early 2009, how much were you purchasing?
04:04:17   25   A. Four kilograms.
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04:04:21    1   Q. And when you were purchasing four-kilogram-quantities of
04:04:24    2   cocaine, how often did you meet the defendant to purchase that
04:04:27    3   quantity?
04:04:28    4   A. That was like every -- sometimes two or three weeks.
04:04:36    5   Q. Every two or three weeks.
04:04:39    6              Why did you stop buying cocaine from the defendant?
04:04:44    7   A. Because he really wasn't having it like that anymore.
04:04:48    8   Q. What do you mean?
04:04:49    9   A. It was like periods that he wasn't -- when I say two or
04:04:55   10   three weeks, that's when it was available. Sometimes he
04:04:58   11   wouldn't have it. Like I'll text him and he wouldn't text me
04:05:01   12   back.
04:05:06   13   Q. So did -- the defendant just ultimately stopped responding
04:05:09   14   to you?
04:05:10   15   A. When he didn't have it.
04:05:14   16   Q. Do you know where the defendant got his cocaine from?
04:05:19   17   A. I don't know exactly where.
04:05:21   18   Q. Did you discuss the defendant's cocaine supplier with him?
04:05:29   19   A. A little bit.
04:05:29   20   Q. When?
04:05:30   21   A. When I asked him, like, What's going on? Why it ain't
04:05:34   22   like it used to be?
04:05:36   23   Q. And when did that conversation take place?
04:05:38   24   A. That had to be like early '09 or late '08, around that
04:05:42   25   time.
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04:05:43    1   Q. And where were you when that conversation took place with
04:05:45    2   the defendant?
04:05:46    3   A. I was downtown Chicago, around Lee's or something.
04:05:54    4   Q. Was anyone else with you?
04:05:57    5   A. My -- one of my buddies was with me.
04:06:01    6   Q. And where were you when you had this conversation with the
04:06:04    7   defendant?
04:06:04    8   A. We was just at a stoplight.
04:06:06    9   Q. Were you inside of your car?
04:06:08   10   A. Yeah.
04:06:08   11   Q. And where was the defendant?
04:06:09   12   A. In his car.
04:06:11   13   Q. Was his car next to yours?
04:06:13   14   A. Yeah.
04:06:14   15   Q. And what happened during that meeting?
04:06:16   16   A. A buddy of mine had just got out of jail that he knew, and
04:06:24   17   I raised [sic] my window down, and they were talking like,
04:06:27   18   What's going on --
04:06:28   19   Q. To be a bit more specific, who was talking to who?
04:06:32   20   A. Ron Ron was talking to my buddy, and he was talking back
04:06:35   21   to Ron Ron. And he was like, What's up? Because he had just
04:06:39   22   got out of jail and he was saying what's up to Ron Ron, and
04:06:42   23   Ron Ron was like, Nothing, the Mexicans telling.
04:06:47   24   Q. And what did you -- what did you understand the defendant
04:06:50   25   to mean when he said, The Mexicans was telling?
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04:06:54    1   A. Because a conversation me and him had prior to that he was
04:06:57    2   telling me that I think one of his drivers had got caught up
04:07:02    3   or something.
04:07:03    4   Q. And when did that conversation take place?
04:07:05    5   A. A couple weeks before then.
04:07:06    6   Q. And that was a conversation between you and the defendant?
04:07:09    7   A. Yeah.
04:07:13    8   Q. Now, Mr. Gregory, do you know anyone by the name of Danny
04:07:16    9   Torres?
04:07:17   10   A. No.
04:07:18   11   Q. Do you know anyone by the name of Antonio Aguilera?
04:07:22   12   A. No.
04:07:23   13   Q. Do you know anyone by the name of Cesar Perez?
04:07:26   14   A. No.
04:07:27   15   Q. Do you know anyone by the name of Jorge Llamas?
04:07:31   16   A. No.
04:07:32   17   Q. Do you know a Peter Flores?
04:07:35   18   A. Uh-uh (shaking head).
04:07:37   19   Q. Do you know a Margarito or Junior Flores?
04:07:40   20   A. No.
04:07:43   21              MS. RODNEY: Your Honor, may I have one moment?
04:07:45   22              THE COURT: Yes.
04:07:47   23              MS. RODNEY: I have no further questions at this
04:07:49   24   time.
04:07:49   25              THE COURT: Okay. All right, Mr. Rubino?
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04:07:49    1                                       - - -
04:07:49    2                      ROBERT GREGORY, CROSS-EXAMINATION
04:07:49    3   BY MR. RUBINO:
04:07:57    4   Q. Good afternoon, sir.
04:07:59    5   A. Good afternoon.
04:08:05    6   Q. Mr. Gregory, you want to go prison for the rest of your
04:08:09    7   life?
04:08:10    8   A. No.
04:08:12    9   Q. What would you do to avoid it?
04:08:16   10   A. I would do what's in my ability.
04:08:19   11   Q. I'm sorry?
04:08:20   12   A. I would do what's in my ability.
04:08:22   13   Q. Do anything you could, wouldn't you?
04:08:24   14   A. Not anything.
04:08:25   15   Q. There's certain things you wouldn't do? You'd rather
04:08:29   16   spend the rest of your life in prison and die there?
04:08:32   17   A. Saying --
04:08:32   18   Q. Like what?
04:08:33   19   A. Go -- just killing nobody or nothing.
04:08:35   20   Q. How about lying to somebody, would you lie to somebody if
04:08:39   21   you could avoid spending the rest of your life in prison?
04:08:42   22   A. Would I lie to somebody? To avoid spending the rest of my
04:08:48   23   life in prison?
04:08:51   24   Q. Yeah.
04:08:51   25   A. Over a lie?
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04:08:52    1   Q. Yeah.
04:08:53    2   A. I can't really say I wouldn't lie to nobody, though.
04:08:57    3   Q. So you would rather spend the rest of your life in prison
04:09:01    4   than lie? Is that what you're telling us?
04:09:03    5   A. No, that ain't what --
04:09:05    6   Q. The opposite. If you could, you would?
04:09:08    7   A. To -- over a lie?
04:09:09    8   Q. Yeah.
04:09:10    9              So you'd lie to avoid spending the rest of your life
04:09:16   10   in prison, wouldn't you?
04:09:17   11   A. That's what I said.
04:09:18   12   Q. Now, you told us that you first met Ron Collins at Lee's,
04:09:23   13   which is an auto repair and paint and body shop, right?
04:09:27   14   A. Yes.
04:09:28   15   Q. And you were there getting your car repaired?
04:09:31   16   A. Yes.
04:09:31   17   Q. What kind of car?
04:09:32   18   A. A BMW.
04:09:34   19   Q. And what was wrong with it?
04:09:36   20   A. I think I was getting some suspension work done to it that
04:09:41   21   day.
04:09:43   22   Q. What year BMW?
04:09:45   23   A. It was a '97.
04:09:50   24   Q. Now, Milwaukee's a good hour and a half to two hours from
04:09:55   25   Chicago, isn't it?
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04:09:56    1   A. Yeah.
04:09:57    2   Q. So you drove this car an hour and a half to two hours to
04:10:05    3   Lee's to get it fixed?
04:10:07    4   A. Yes.
04:10:08    5   Q. There isn't anybody in Milwaukee that could fix a '97 BMW?
04:10:13    6   A. Plenty of people.
04:10:14    7   Q. What made Lee's so special that you would drive an hour
04:10:19    8   and a half to two hours to go there?
04:10:21    9   A. He had different performance parts that you can put on
04:10:23   10   that type of car that I can't get up there.
04:10:27   11   Q. On that BMW?
04:10:29   12   A. Yes.
04:10:29   13   Q. Now, while you're there, Mr. Collins -- who is a total
04:10:36   14   stranger -- never seen this man in your whole life, right?
04:10:40   15   A. No, I never seen him.
04:10:41   16   Q. Just walks up to you and says, What are they going for
04:10:48   17   there? A total stranger walks up and asks you that, right?
04:10:54   18   A. It was -- he asked me, Did I want something to eat, first.
04:10:58   19   It was little --
04:10:59   20   Q. Oh. Now, you're not strangers anymore, right?
04:11:01   21   A. No, it's -- we're still strangers.
04:11:04   22   Q. You had lunch.
04:11:05   23              Okay. So you and this man, who you now have had
04:11:09   24   lunch with --
04:11:10   25   A. Yes.
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04:11:10    1   Q. -- and that just sort of warms you right up to him,
04:11:14    2   doesn't it?
04:11:14    3              MS. RODNEY: Objection, your Honor, a bit
04:11:16    4   argumentative.
04:11:16    5              THE COURT: Overruled. So the question is ...
04:11:23    6              (Record read.)
04:11:23    7              THE WITNESS: Not really, because I didn't even
04:11:25    8   receive the lunch.
04:11:27    9   BY MR. RUBINO:
04:11:28   10   Q. Well, you know he could have been a cop. You didn't know
04:11:31   11   who he was?
04:11:32   12   A. No, I didn't.
04:11:32   13   Q. Nobody recommended him, did they?
04:11:34   14   A. No.
04:11:34   15   Q. Nobody vouched for him, did they?
04:11:36   16   A. No, nobody.
04:11:37   17   Q. Nobody put their arm around him and said, You can trust
04:11:40   18   this guy, did they? No friend of yours?
04:11:41   19   A. No, nobody at all.
04:11:43   20   Q. So a total stranger asked you, in so many words, How much
04:11:47   21   cocaine's selling for in Milwaukee, right?
04:11:52   22   A. Yeah, that's what happened.
04:11:56   23   Q. How would a total stranger know you were a drug dealer?
04:12:00   24   A. He asked me what I do up there.
04:12:02   25   Q. Oh. And you told him, huh?
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04:12:03    1   A. Yeah.
04:12:04    2   Q. You said, I'm a drug dealer?
04:12:05    3   A. I said, I do my thing, but -- you know, you can read
04:12:11    4   between the lines.
04:12:12    5   Q. Okay. So a total stranger says, What do you do, and you
04:12:15    6   sort of let him know you're a drug dealer, right?
04:12:19    7   A. (No response.)
04:12:20    8   Q. Isn't that what --
04:12:21    9   A. That's why I didn't come right out and say, I'm a drug
04:12:25   10   dealer. I said, I come out and do my thing. If you're
04:12:29   11   another drug dealer, you're going to take it like that, yeah.
04:12:32   12   Q. Okay. So now this total stranger you answer to him, 19.
04:12:38   13   That's how much -- $19,000 a kilo, right?
04:12:42   14   A. Yes.
04:12:42   15   Q. And then this total stranger says, Well, what if I can get
04:12:46   16   it for you at that price too, right?
04:12:49   17   A. Yes.
04:12:50   18   Q. And with those two, three sentences, one from him, an
04:12:56   19   answer from you, and then, What if I can get it for you,
04:13:00   20   suddenly you two are dealing drugs together, right?
04:13:04   21   A. Yeah.
04:13:04   22   Q. Just like that, three sentences, and you're dealing --
04:13:07   23   A. And a phone call.
04:13:08   24   Q. Oh, a phone call too.
04:13:11   25              Now, the Government then asked you about a phone,
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04:13:19    1   Government Number 2. And you said Ron's name is in the
04:13:23    2   phone --
04:13:24    3   A. Yeah.
04:13:24    4   Q. -- correct?
04:13:25    5              Is that the only name in the phone?
04:13:27    6   A. No.
04:13:28    7   Q. How many other names are in the phone?
04:13:30    8   A. Probably about 30.
04:13:33    9   Q. And is it Ron? Is it Ron Ron? Is it RR? What is it in
04:13:38   10   the phone?
04:13:40   11   A. On that exhibit it's Ron.
04:13:43   12   Q. It's Ron, R-o-n?
04:13:45   13   A. Yes.
04:13:45   14   Q. And what is the number for Ron in the phone?
04:13:49   15   A. I don't know it by heart.
04:13:51   16   Q. I'm sorry?
04:13:53   17   A. I don't know it by heart.
04:13:55   18   Q. Well, can you power it up and tell us?
04:13:59   19   A. It's on the phone. I don't know the number by heart,
04:14:02   20   though.
04:14:09   21   Q. Now, you told us he was driving an Audi A8 that was pearl
04:14:17   22   white, right?
04:14:19   23   A. Yes.
04:14:19   24   Q. It wasn't silver, was it?
04:14:21   25   A. No.
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04:14:22    1   Q. It was white?
04:14:23    2   A. Yes.
04:14:25    3   Q. Now, he gives you -- or fronts you nine ounces of cocaine,
04:14:32    4   your new friend, right?
04:14:34    5   A. Yes.
04:14:36    6   Q. And you pay him $9,500 for nine ounces you told us, right?
04:14:46    7   A. Yeah.
04:14:47    8   Q. Now, nine ounces is a quarter of a kilo; am I correct?
04:14:51    9   A. Yeah.
04:14:52   10   Q. It's 250 grams, right --
04:14:54   11   A. Yeah.
04:14:54   12   Q. -- give or take?
04:14:55   13              Which makes it a quarter or one-fourth of a kilo,
04:15:00   14   right?
04:15:00   15   A. Yeah.
04:15:02   16   Q. Makes it one-fourth or quarter of a kilo; am I right?
04:15:06   17   A. Yeah.
04:15:07   18   Q. But didn't you tell me he was going to give it to you for
04:15:11   19   19,000 a kilo?
04:15:13   20   A. Yes.
04:15:14   21   Q. Well, if it's 19,000 a kilo, wouldn't 9500 be half of
04:15:20   22   19,000?
04:15:21   23   A. Yes.
04:15:21   24   Q. Wouldn't that be the price for half a kilo, not the price
04:15:25   25   for a quarter of a kilo?
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04:15:29    1   A. Yes.
04:15:29    2   Q. And a quarter of a kilo should have been $4750, right?
04:15:34    3   A. Exactly.
04:15:35    4   Q. So he charged you double the amount, is your testimony?
04:15:40    5   A. No, he didn't. My math all the way wrong.
04:15:41    6   Q. Oh.
04:15:42    7   A. It was much better then.
04:15:44    8   Q. Well, what did you give him? Did you give him 4750, did
04:15:48    9   you give him 9500, or did you give him anything?
04:15:51   10   A. I gave him a quarter of 19.
04:15:53   11   Q. You gave him how much?
04:15:54   12   A. A quarter of 19,000.
04:15:56   13   Q. But you testified here on two or three occasions you gave
04:15:59   14   him $9500, did you not?
04:16:02   15   A. I did.
04:16:03   16   Q. And that testimony was wrong, wasn't it?
04:16:06   17   A. It really was.
04:16:11   18   Q. What number did you use when you would contact
04:16:13   19   Mr. Collins?
04:16:14   20   A. My phone?
04:16:15   21   Q. Yeah.
04:16:16   22   A. 807-1085 number.
04:16:19   23   Q. Okay. And what number did you dial him at?
04:16:21   24   A. I don't know it by heart.
04:16:25   25   Q. Now, you have before you Government Phone 4.
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04:16:28    1              Okay. Now, that phone did you have Mr. Collins'
04:16:35    2   number in?
04:16:37    3   A. Yes.
04:16:37    4   Q. Did you have other people's numbers or was his number the
04:16:40    5   only number in the phone?
04:16:42    6   A. I think his number was the only number in the phone, in
04:16:48    7   that phone.
04:16:48    8   Q. No other numbers. That was a one-number phone, right?
04:16:51    9   A. I'm not sure.
04:16:52   10   Q. Is that your testimony?
04:16:53   11   A. I'm not sure now since you keep -- I don't know how many
04:16:57   12   numbers in it, but I know his number is in it.
04:17:00   13   Q. Now, was his number under Ron, Ron Ron, Ron Collins? What
04:17:05   14   was it under?
04:17:05   15   A. Just two Rs.
04:17:07   16   Q. Well, why would you have it in two Rs in one phone and the
04:17:12   17   one word R-o-n -- or name -- in another phone?
04:17:15   18   A. Because when he first gave me another phone to call him,
04:17:19   19   he locked his own name in there under the RR, so I continued
04:17:24   20   that.
04:17:26   21   Q. Now, on all the deals you did with Ron Collins, there was
04:17:34   22   never anyone else present when you actually did a drug deal,
04:17:38   23   was there?
04:17:39   24   A. It was people around.
04:17:41   25   Q. And they saw the drug deal?
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04:17:43    1   A. They weren't -- they were around, but they weren't like
04:17:46    2   looking at us or nothing like that, though.
04:17:48    3   Q. You do drug deals in secret, though?
04:17:52    4   A. Yeah. But they knew what was going on, if he was to have
04:17:54    5   somebody with him.
04:17:57    6   Q. Basically everything you told us, we only have your word.
04:18:02    7   We don't have any witnesses, do we?
04:18:05    8   A. No, you ain't got no witnesses.
04:18:07    9   Q. Right.
04:18:07   10              Now, let me ask you this: In truth and in fact, you
04:18:14   11   met Ron Collins because you sold him a VW Jetta, didn't you?
04:18:18   12   A. I have what?
04:18:19   13   Q. You sold Ron Collins a Volkswagen Jetta, didn't you?
04:18:24   14   A. Yeah, I sold him a Jetta.
04:18:26   15   Q. That's how you met him, isn't it? And you sold it to him
04:18:29   16   at that paint and body shop, did you not?
04:18:33   17   A. I didn't sell it to him at the paint and body shop, no, I
04:18:37   18   didn't.
04:18:37   19   Q. But that's how you met him, isn't it, by selling him a
04:18:41   20   Volkswagen Jetta?
04:18:42   21   A. That's not how I met him.
04:18:44   22   Q. It's not?
04:18:45   23   A. No.
04:18:45   24   Q. And that's why his name is in your phone because you sold
04:18:50   25   him a car, right?
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04:18:53    1   A. His name was in the phone prior to the car sale.
04:18:57    2   Q. And you didn't have the title for the car and you had to
04:18:59    3   drive back to Milwaukee and get it, didn't you? When you sold
04:19:04    4   it to him.
04:19:06    5   A. No, I brought the title with me.
04:19:09    6   Q. In truth and in fact, that's how you know Ron Collins,
04:19:12    7   isn't it, from selling him a car?
04:19:14    8   A. I knew him before the car deal.
04:19:17    9   Q. And you're blaming him to shield who?
04:19:22   10   A. I'm not blaming him to shield me or nothing. I'm just
04:19:27   11   telling you how I know.
04:19:28   12   Q. You're just here to tell the truth, right?
04:19:30   13   A. Yeah.
04:19:31   14              MR. RUBINO: No further questions.
04:19:33   15              MS. RODNEY: Just one moment, your Honor?
04:19:33   16                                       - - -
04:19:33   17                    ROBERT GREGORY, REDIRECT EXAMINATION
04:19:33   18   BY MS. RODNEY:
04:20:01   19   Q. Mr. Gregory, when you met the defendant for that first
04:20:05   20   time at Lee's, did you approach him or did he approach you?
04:20:09   21   A. He approached me.
04:20:10   22   Q. Okay. And after he approached you, he asked you, How much
04:20:14   23   they go for up there, correct?
04:20:16   24   A. Yes.
04:20:17   25   Q. Now, this Jetta that you sold the defendant, when did you
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04:20:21    1   sell him that?
04:20:25    2   A. I don't remember the dates, but it's in the motor vehicle
04:20:29    3   record. I didn't even buy the Jetta 'til after then.
04:20:32    4   Q. After when?
04:20:33    5   A. After I met him. In DMV it's like the day that I bought
04:20:37    6   the Jetta I was already making money to buy the Jetta from
04:20:40    7   him.
04:20:41    8   Q. And were you already buying cocaine from the defendant,
04:20:43    9   when you sold him this Jetta?
04:20:45   10   A. Yes.
04:20:47   11              MS. RODNEY: Now, your Honor, I have nothing further.
04:20:49   12              THE COURT: Do you have anything, Mr. Rubino?
04:20:51   13              MR. RUBINO: No, your Honor.
04:20:51   14              THE COURT: Okay. You may step down and be excused.
04:20:55   15              (Witness leaves the stand.)
04:20:55   16              THE COURT: And you can call your next witness.
04:21:00   17              MS. GUREN: Your Honor, the Government calls Officer
04:21:04   18   Dean Newport.
04:21:04   19              THE COURT: Okay.
04:21:11   20              (Witness takes the stand.)
04:21:19   21              THE COURT: Raise your right hand, sir.
04:21:22   22              (The witness was sworn.)
04:21:26   23              THE COURT: All right. Have a seat.
04:21:26   24                                       - - -
04:21:26   25                      DEAN NEWPORT, DIRECT EXAMINATION
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04:21:26    1   BY MS. GUREN:
04:21:31    2   Q. Good afternoon.
04:21:31    3   A. Good afternoon.
04:21:32    4   Q. Can you introduce yourself to the jury and spell your last
04:21:35    5   name?
04:21:35    6   A. My name is Dean Newport, N-e-w-p-o-r-t. I'm a police
04:21:41    7   officer for the City of Milwaukee.
04:21:43    8   Q. How long have you been a police officer for the City of
04:21:46    9   Milwaukee?
04:21:46   10   A. A little over sixteen and a half years.
04:21:48   11   Q. What is your current assignment?
04:21:51   12   A. Currently, I'm assigned as a task force officer for the
04:22:00   13   Bureau of Alcohol, Tobacco, and Firearms.
04:22:00   14   Q. Is that sometimes known as ATF?
04:22:03   15   A. It is.
04:22:05   16   Q. In July 2009 what was your assignment?
04:22:10   17   A. I was assigned as a police officer on a different task
04:22:14   18   force with the Wisconsin Department of Justice.
04:22:17   19   Q. What were your responsibilities as a task force officer
04:22:21   20   for the Wisconsin Department of Justice?
04:22:23   21   A. It was to investigate large narcotic drug trafficking
04:22:28   22   organizations as it affected Milwaukee.
04:22:31   23   Q. In your career as an officer, how many searches have you
04:22:34   24   participated in?
04:22:35   25   A. Hundreds of searches.
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04:22:38    1   Q. Turning your attention now to July 15th, 2009. Did you
04:22:43    2   participate in a search related to an investigation into
04:22:46    3   Robert Gregory, among other individuals?
04:22:49    4   A. Yes.
04:22:49    5   Q. Without saying the address itself, what location did you
04:22:54    6   search, in terms of whose place it was?
04:22:57    7   A. It was the mother of Robert Gregory.
04:23:02    8   Q. What was your authority to search, first, based on?
04:23:06    9   A. Was consent, I asked Robert Gregory's mother for consent
04:23:10   10   to search a garage.
04:23:13   11   Q. Later did law enforcement get any additional authority to
04:23:16   12   search?
04:23:17   13   A. Yes.
04:23:17   14   Q. What was that authority?
04:23:19   15   A. That was a search warrant that was authorized by a
04:23:23   16   commissioner, State of Wisconsin.
04:23:25   17   Q. Did that allow you to search the rest of the house?
04:23:28   18   A. It did.
04:23:29   19   Q. In searching this location, what was your role?
04:23:32   20   A. I played more of a supervisory role, so I oversaw and
04:23:37   21   communicated with a command post that was based out of
04:23:41   22   Milwaukee, and I oversaw the collection of evidence. I did
04:23:47   23   drug testing and took photographs of evidence.
04:23:53   24   Q. Was there a team of law enforcement officers with you?
04:23:56   25   A. There was.
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04:23:57    1   Q. What did the law enforcement officers do when they found
04:24:00    2   an item that needed to be collected as evidence?
04:24:03    3   A. It was placed in a bag. If the evidence was photographed,
04:24:07    4   I photographed it. I was notified ultimately and that
04:24:11    5   evidence was then collected and brought down to another
04:24:15    6   location.
04:24:16    7   Q. So did you go to where the evidence was found?
04:24:19    8   A. I did, yes.
04:24:21    9   Q. Once the evidence -- where was the location that the
04:24:24   10   evidence was then brought down to within the search location?
04:24:27   11   A. It was brought down to a commonplace. I believe it was
04:24:31   12   the dining room of Robert Gregory's mother's house.
04:24:36   13   Q. Once it was brought down to that central location, what,
04:24:40   14   if anything, happened there?
04:24:41   15   A. It was inventoried with an intelligence analyst, and
04:24:49   16   ultimately a receipt was printed for Robert Gregory's mother
04:24:54   17   on the evidence that we took.
04:24:56   18   Q. Did you have any role in that inventorying process at all?
04:24:59   19   A. No.
04:25:00   20   Q. Once the items were inventoried, who took custody of the
04:25:04   21   items found?
04:25:05   22   A. Ultimately, I released those items of evidence to an
04:25:10   23   officer, Jose Medina, it's M-e-d-i-n-a, and an intelligence
04:25:15   24   analyst Matt Parco, P-a-r-c-o. They brought that evidence
04:25:22   25   down to the Milwaukee HIDTA office.
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04:25:24    1   Q. And the Milwaukee HIDTA office, where was that?
04:25:27    2   A. That is in Milwaukee. It's downtown. It's out of a
04:25:31    3   building in the southern half of downtown Milwaukee.
04:25:35    4   Q. That day what was your understanding of what was
04:25:38    5   happening -- what the Milwaukee HIDTA office was being used
04:25:41    6   for?
04:25:41    7   A. As -- like I indicated earlier, a command post, while I
04:25:45    8   was on scene. That would be the building where I would call
04:25:50    9   to update information to relay other facts, as it related to
04:25:54   10   evidence found in Robert Gregory's mother's house.
04:25:59   11   Q. In preparation for your testimony, did you review the
04:26:02   12   original evidence that you collected during the search of the
04:26:04   13   house?
04:26:05   14   A. Yes, I did.
04:26:06   15   Q. When was that that you did this?
04:26:08   16   A. That was in March of this year.
04:26:10   17   Q. In March of this year, when you were reviewing those
04:26:14   18   items, how did you know that the evidence that you were
04:26:17   19   reviewing at that time was the original evidence that you
04:26:20   20   found in the house?
04:26:21   21   A. Based on the packaging that came with it, my recollection
04:26:24   22   of the evidence at the scene, a review of the photographs that
04:26:30   23   were taken at the scene, that's what I based my belief that
04:26:35   24   that was evidence taken out of that house.
04:26:37   25   Q. Handing you at this time what's already been admitted as
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04:26:40    1   Government Exhibit Phones 2 through 4 and then also handing
04:26:44    2   you Government Exhibit SIM Card 1 and SIM Card 2. So here are
04:26:52    3   the SIM cards, and here are the phones.
04:27:04    4   A. These are the items that I reviewed and just spoke of,
04:27:07    5   back in March of this year.
04:27:09    6   Q. And to clarify, is this the original packaging that you
04:27:12    7   had found them in?
04:27:13    8   A. No.
04:27:14    9   Q. And -- I'm sorry -- that you had placed them in?
04:27:17   10   A. No, it is not.
04:27:18   11   Q. Where were these items found in the house?
04:27:21   12   A. The phones were found in an upstairs attic bedroom
04:27:26   13   dresser. These are just a portion of the phones that were
04:27:28   14   found in that dresser.
04:27:30   15              The SIM cards were found in a dresser in, like, an
04:27:34   16   attic storage room, which went into a bedroom that was up in
04:27:39   17   the attic where the phones were.
04:27:41   18   Q. And to clarify, you mentioned that there were additional
04:27:44   19   phones to those found in that area as well?
04:27:46   20   A. That's correct, yes.
04:27:48   21              MS. GUREN: At this time, your Honor, the Government
04:27:51   22   would move into evidence Government Exhibit SIM Cards 1
04:27:53   23   through 2.
04:27:53   24              THE COURT: Okay. Any objection?
04:27:55   25              (No response.)
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04:27:56    1              THE COURT: They'll be admitted.
04:28:01    2              MS. GUREN: One moment, your Honor?
04:28:01    3   BY MS. GUREN:
04:28:10    4   Q. And just to clarify, could you just name the street but
04:28:13    5   not the street number of the house that you searched?
04:28:15    6   A. West Glendale Avenue.
04:28:19    7              MS. GUREN: Thank you. No further questions.
04:28:19    8                                       - - -
04:28:19    9                       DEAN NEWPORT, CROSS-EXAMINATION
04:28:19   10   BY MR. RUBINO:
04:28:30   11   Q. Sir, you saw something else pretty significant at that
04:28:33   12   house, didn't you?
04:28:34   13   A. A few other items, correct.
04:28:36   14   Q. Like maybe $52,310 --
04:28:40   15   A. Yes.
04:28:40   16   Q. -- of drug money?
04:28:41   17              MS. GUREN: Objection, your Honor, foundation.
04:28:44   18              THE COURT: He said -- he answered, yes, so it's
04:28:47   19   answered. Overruled.
04:28:48   20   BY MR. RUBINO:
04:28:48   21   Q. That money was seized. That money was forfeited, was it
04:28:51   22   not?
04:28:52   23   A. I don't know the outcome of that money.
04:28:53   24              MR. RUBINO: Thank you.
04:28:56   25              MS. GUREN: No redirect, your Honor.
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04:28:58    1              THE COURT: Okay. You can step down and be excused.
04:29:00    2              THE WITNESS: Thank you.
04:29:02    3              (Witness leaves the stand.)
04:29:02    4              THE COURT: Call your next witness.
04:29:04    5              MS. RODNEY: Your Honor, the Government calls Special
04:29:06    6   Agent Jason Soule, who's on his way.
04:29:39    7              (Witness takes the stand.)
04:29:39    8              THE COURT: Right here, sir.
04:29:41    9              Please raise your right hand.
04:29:44   10              (The witness was sworn.)
04:29:47   11              THE COURT: Okay. Have a seat.
04:29:47   12                                       - - -
04:29:47   13                       JASON SOULE, DIRECT EXAMINATION
04:29:47   14   BY MS. RODNEY:
04:29:55   15   Q. Will you please state and spell your last name for the
04:29:56   16   record?
04:29:56   17   A. Yes. My name is Jason Soule. Last name is spelled
04:30:01   18   S-o-u-l-e.
04:30:03   19   Q. Where do you work?
04:30:04   20   A. I'm a special agent with the FBI, Milwaukee division.
04:30:07   21   Q. Is that the Federal Bureau of Investigation?
04:30:09   22   A. Yes, ma'am, it is.
04:30:10   23   Q. How long have you worked as a special agent?
04:30:12   24   A. Approximately three years as a special agent.
04:30:15   25   Q. Are you assigned to a particular squad or group in
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04:30:18    1   Milwaukee?
04:30:18    2   A. I'm -- sorry. I'm currently assigned to the High
04:30:23    3   Intensity Drug Trafficking Areas task force.
04:30:23    4   Q. Is that also known as HIDTA?
04:30:25    5   A. Yes, ma'am, it is.
04:30:27    6   Q. And is that located in Milwaukee?
04:30:29    7   A. Yes.
04:30:29    8   Q. And prior to becoming a special agent, did you have any
04:30:33    9   other law enforcement [sic]?
04:30:34   10   A. I was a police officer in Tucson, Arizona for
04:30:37   11   approximately three years.
04:30:38   12   Q. And what are your current responsibilities as a special
04:30:41   13   agent?
04:30:41   14   A. Currently responsible for investigating violent gangs and
04:30:46   15   narcotic trafficking on the north side of Milwaukee.
04:30:50   16   Q. Do your responsibilities also include handling and
04:30:53   17   processing evidence?
04:30:55   18   A. Yes.
04:30:55   19   Q. I'd like to direct your attention to July 15th of 2009.
04:30:59   20   Were you working at the Milwaukee HIDTA office that day?
04:31:01   21   A. Yes, ma'am, I was.
04:31:03   22   Q. And what was your assignment?
04:31:05   23   A. I was part of a search team. Upon completion of the
04:31:10   24   location where I was responsible for, I came back and started
04:31:15   25   receiving property from other search teams, who had been out
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04:31:17    1   on various search warrants throughout the city.
04:31:20    2   Q. And how did you go about receiving that property from
04:31:23    3   those other search locations?
04:31:26    4   A. When we'd receive the property, we'd separate the property
04:31:31    5   based on location.
04:31:33    6   Q. Was anyone else working with you at the HIDTA office that
04:31:36    7   day?
04:31:37    8   A. Typically we have about two or three special agents.
04:31:40    9   Since it is FBI property, we have two or three special agents
04:31:44   10   handling it and processing it, as FBI property, and then we
04:31:48   11   may have one or two support personnel assisting as well.
04:31:50   12   Q. Can you just generally describe the categories of evidence
04:31:53   13   that you processed or property that you processed that day?
04:31:57   14   A. Yes. General evidence, such as maybe documents, such as
04:32:04   15   mail, cellphones. Then you have narcotics; that's handled
04:32:14   16   differently. You have weapons; that's also handled
04:32:17   17   differently. And valuables, such as credit cards, currency,
04:32:21   18   jewelry.
04:32:26   19   Q. I'm handing you five separate exhibits that have
04:32:33   20   previously been admitted into evidence. And they are marked
04:32:36   21   Government Exhibit Phone 2, Government Exhibit Phone 3,
04:32:39   22   Government Exhibit Phone 4, and also Government Exhibit SIM
04:32:44   23   Card 1, and Government Exhibit SIM Card 2. Do you recognize
04:32:49   24   those exhibits, Agent?
04:32:50   25   A. Yes, I do.
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04:32:51    1   Q. And what are they?
04:32:54    2   A. Several cellphones and several SIM cards.
04:32:58    3   Q. How do you recognize those exhibits?
04:33:00    4   A. They are evidence that was collected by me on July 15th.
04:33:09    5   I also recognize -- having just recently dealt with them --
04:33:13    6   because my name is actually on -- when it was relinquished to
04:33:21    7   the Drug Enforcement Administration, I was required to sign
04:33:21    8   and date and, I believe, initial somewhere on here.
04:33:25    9   Q. And when you said the evidence was collected by you, where
04:33:28   10   were you when you collected that evidence?
04:33:30   11   A. I was at the HIDTA, the Milwaukee HIDTA when I originally
04:33:35   12   collected the evidence.
04:33:36   13   Q. So you were not at the location that the --
04:33:39   14   A. No, I was not.
04:33:40   15   Q. And from whom did you receive that evidence, when you were
04:33:43   16   at HIDTA?
04:33:44   17   A. The evidence was received by the search team leader, which
04:33:48   18   is Detective Dean Newport of the Milwaukee Police Department.
04:33:52   19   Q. And what did you do with the exhibits when you received
04:33:55   20   them -- I'm sorry. Let me back up.
04:33:57   21              In what condition were the exhibits, when you
04:34:00   22   received them at the HIDTA office?
04:34:02   23   A. The search team did a pretty good job of separating the
04:34:07   24   contents of the items that were taken from the residence into
04:34:10   25   the, you know, general -- the categories that I had mentioned
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04:34:14    1   earlier. The cellphones, I believe, were in a large brown
04:34:18    2   paper bag.
04:34:19    3   Q. Were there other phones in addition to the ones in front
04:34:22    4   of you?
04:34:22    5   A. Yes, ma'am, there were.
04:34:23    6   Q. Were the SIM cards also in that brown paper bag that you
04:34:27    7   referenced?
04:34:28    8   A. Yes, some cellphones, some cards, and maybe a few chargers
04:34:32    9   as well.
04:34:33   10   Q. And what did you do with those exhibits, when you received
04:34:35   11   them --
04:34:36   12   A. I would take the cellphones. I would jot down the serial
04:34:40   13   numbers for each phone. If I was able to get a serial
04:34:43   14   number -- or a phone number off the phone, I would also
04:34:45   15   include that as well. But I basically inventoried the
04:34:48   16   property, once I received it.
04:34:50   17   Q. Are those exhibits in substantially the same condition now
04:34:53   18   as they were when you first received them?
04:34:57   19   A. Yes, except, you know, of course, it didn't have a
04:35:01   20   Government Exhibit sticker on it, when I received it.
04:35:05   21   Q. And after you received the exhibits, what did you do with
04:35:07   22   them, after you inventoried them, what did you do with them?
04:35:11   23   A. Then we do a cellphone analysis where we -- while still
04:35:19   24   maintaining possession of the cellphones, we have one of our
04:35:22   25   analysts analyze the cellphones.
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04:35:25    1   Q. So did you give the exhibits to someone?
04:35:28    2   A. Yes. They were handed -- they were handed off to
04:35:33    3   intelligent analyst Nicole Smith.
04:35:36    4   Q. Who did you give the exhibits to on July 15th?
04:35:39    5   A. Well, originally I accepted custody of the phones, turned
04:35:43    6   them over to one of the support personnel, I had mentioned
04:35:48    7   earlier, who was there. Her responsibility was to have the
04:35:51    8   phones analyzed. However, due to time constraints, we weren't
04:35:55    9   able to. So she ended up returning the phones to me, which I
04:35:59   10   signed custody for once again. I think that is probably
04:36:02   11   within a five- or ten-minute span. And then the phones were
04:36:06   12   turned over to the intelligence analyst, Nicole Smith,
04:36:11   13   several, several minutes later.
04:36:13   14   Q. Did you receive those exhibits back into your custody?
04:36:18   15   A. The -- all evidence was maintained in our secure storage
04:36:23   16   over at the HIDTA. The FBI has a room where we conduct a lot
04:36:30   17   of our in-house reports that the rest of the HIDTA, the task
04:36:34   18   force, do not have access to. It is a secured door, and we
04:36:39   19   also do have a safe inside of that room.
04:36:41   20   Q. Did you put the phones and SIM cards --
04:36:44   21   A. Yes.
04:36:44   22   Q. -- in that facility?
04:36:46   23   A. Yes, ma'am, I did.
04:36:47   24   Q. How long did you --
04:36:48   25   A. Well, FBI standards, we are required to turn evidence in
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04:36:52    1   within ten days of receiving it. Because of the amount -- the
04:36:58    2   volume of cellphones that were recovered during this
04:37:01    3   particular operation, it was -- it ended up being a few days
04:37:06    4   before we were actually able to download the phones. I ended
04:37:10    5   up relinquishing custody of the phones on July 23rd, I
04:37:15    6   believe, to our evidence custodian technician, Frank
04:37:21    7   Majestrial (phonetic).
04:37:21    8   Q. And was that in a different location than the HIDTA
04:37:25    9   office?
04:37:25   10   A. Yes, it's actually at our main building. Again, I'm at a
04:37:31   11   satellite office where the evidence was collected. Usually
04:37:34   12   when you collect evidence there, we'll bring it over to our
04:37:37   13   main office, which is approximately two miles away.
04:37:40   14   Q. And why did you relinquish the evidence to your evidence
04:37:43   15   technician at their office?
04:37:45   16   A. He puts it into our database and takes sole custody, and
04:37:50   17   he actually ends up taking all items of evidentiary value and
04:37:55   18   placing them in a vault.
04:37:56   19   Q. Did he place those items in a vault?
04:37:59   20   A. Yes, ma'am, he did.
04:38:00   21   Q. And I'm referring Government Exhibits Phones 2 through 4
04:38:03   22   and SIM Cards 1 through 2.
04:38:06   23   A. Yes, ma'am, he did.
04:38:07   24   Q. Did you remove this evidence from FBI's evidence vault?
04:38:13   25   A. Yes.
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04:38:13    1   Q. When did you do so?
04:38:14    2   A. The date, I believe, was March 10th.
04:38:16    3   Q. Of what year?
04:38:17    4   A. I'm sorry. Of this year, 2011.
04:38:20    5   Q. And why did you remove them from the evidence vault?
04:38:22    6   A. Well, to meet with the prosecution and to, I guess --
04:38:31    7   Q. What --
04:38:31    8   A. Oh, I'm sorry. Go ahead.
04:38:32    9   Q. I'm sorry.
04:38:32   10              What did you do with the exhibits, when you removed
04:38:35   11   them from the evidence vault?
04:38:36   12   A. I brought them from the FBI building to the HIDTA where
04:38:42   13   we --
04:38:42   14   Q. Did you transfer custody of the exhibits to someone?
04:38:46   15   A. On this day, yes. The phones were transferred custody to
04:38:50   16   DEA Special Agent Tuskman (phonetic).
04:38:54   17   Q. And is that indicated on the evidence bag?
04:38:56   18   A. Yes. As mentioned before, my name is up top there,
04:39:00   19   signature, and the date.
04:39:03   20   Q. And were the exhibits put into the packaging they are
04:39:09   21   currently in, in March 2011?
04:39:10   22   A. Yes, ma'am, they were.
04:39:12   23              MS. RODNEY: Your Honor, I have nothing further for
04:39:13   24   this witness.
04:39:14   25              THE COURT: Okay.
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04:39:16    1              MR. RUBINO: I have no questions of this witness.
04:39:17    2              THE COURT: Okay. All right, sir, you may step down
04:39:20    3   and be excused.
04:39:21    4              THE WITNESS: Thank you, your Honor.
04:39:23    5              (Witness leaves the stand.)
04:39:25    6              MS. GUREN: Your Honor, at this time the Government
04:39:26    7   calls Nicole Smith.
04:39:27    8              THE COURT: Okay.
04:39:34    9              MS. GUREN: And, your Honor, we have summary charts
04:39:37   10   that are copies for the jury. I think in order to save time
04:39:41   11   because we're towards the end of the day, unless the jury is
04:39:44   12   having a hard time seeing the chart on the projector, we'll
04:39:48   13   try it that way first. But we would just ask that if there
04:39:52   14   was any trouble, that we would be able to have the opportunity
04:39:55   15   to pass out the binders.
04:39:58   16              THE COURT: Okay.
04:40:06   17              (Witness takes the stand.)
04:40:14   18              THE COURT: Please raise your right hand.
04:40:17   19              (The witness was sworn.)
04:40:21   20              THE COURT: Okay. You may proceed.
04:40:21   21                                       - - -
04:40:21   22                      NICOLE SMITH, DIRECT EXAMINATION
04:40:21   23   BY MS. GUREN:
04:40:26   24   Q. Good afternoon.
04:40:26   25              Can you state your name and spell your last name for
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04:40:28    1   the jury?
04:40:29    2   A. My name is Nicole Marie Smith, S-m-i-t-h.
04:40:33    3   Q. What is your current position?
04:40:34    4   A. I'm an intelligence analyst at the Milwaukee HIDTA.
04:40:38    5   Q. What does it mean to be an intelligence analyst?
04:40:41    6   A. I aid investigators with their investigation, do a lot of
04:40:45    7   phone analysis, find people, identification, things like that.
04:40:49    8   Q. What is your formal educational background?
04:40:51    9   A. I have my master's degree in criminal justice.
04:40:54   10   Q. Did you receive any special training as an intelligence
04:40:58   11   analyst?
04:40:59   12   A. Yes.
04:41:00   13   Q. What training was that?
04:41:01   14   A. When you get the job, they send you to various schools to
04:41:04   15   learn how to conduct investigations.
04:41:05   16   Q. Did you receive any specific training in analyzing phones?
04:41:09   17   A. Yes.
04:41:10   18   Q. What training was that?
04:41:11   19   A. We had a representative from Cellebrite come and teach us
04:41:15   20   how to use the equipment that they gave us.
04:41:18   21   Q. What is Cellebrite?
04:41:19   22   A. It's a cellphone downloading machine.
04:41:21   23   Q. I'm sorry. I didn't hear that.
04:41:24   24   A. It's a cellphone downloading machine.
04:41:26   25   Q. Okay. Approximately how many cellphones have you searched
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04:41:30    1   or analyzed during your time as an intelligence analyst?
04:41:35    2   A. Hundreds.
04:41:36    3   Q. What is a SIM card?
04:41:37    4   A. A SIM card is like a memory device that you hold inside
04:41:41    5   the card. Sometimes it has cellphone numbers. It'll hold
04:41:44    6   text messages. Depending on the phone company, it holds
04:41:48    7   different things.
04:41:49    8   Q. And does that go inside a phone?
04:41:51    9   A. Yes.
04:41:51   10   Q. How many SIM cards have you searched?
04:41:53   11   A. Hundreds as well.
04:41:54   12   Q. Turning to July 15th, 2009, what, if anything, was your
04:41:58   13   assignment related to phones that day?
04:42:00   14   A. I was to download all the cellphones that we got from
04:42:03   15   search warrants that we conducted that day.
04:42:05   16   Q. What location were you at when you were doing this?
04:42:08   17   A. The Milwaukee HIDTA.
04:42:10   18   Q. Did you conduct a search of cellphones related to an
04:42:13   19   investigation in this case?
04:42:14   20   A. Yes.
04:42:14   21   Q. And SIM cards?
04:42:15   22   A. Yes.
04:42:16   23   Q. How did you receive those phones and SIM cards?
04:42:19   24   A. After the search warrant was conducted on the address,
04:42:23   25   they were given to me in a bag.
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04:42:25    1   Q. What day were they given to you?
04:42:27    2   A. July 15th.
04:42:30    3   Q. At this time I'm going to show you what's already been
04:42:32    4   admitted into evidence as Government Exhibit Phone 2,
04:42:36    5   Government Exhibit Phone 3 and Phone 4, as well as Government
04:42:41    6   Exhibit SIM Card 1 and SIM Card 2. Do you recognize these
04:42:51    7   exhibits?
04:42:52    8   A. Yes.
04:42:52    9   Q. What are they?
04:42:53   10   A. These are the phones that were given to me and SIM cards
04:42:56   11   from 4223 Glendale.
04:42:59   12   Q. And how do you recognize them?
04:43:01   13   A. Some of them have my sticky notes on them that I use when
04:43:06   14   I analyze them, and I was able to review them beforehand and
04:43:10   15   know that these are the phones.
04:43:11   16   Q. When you say the sticky note, is that the tag --
04:43:15   17   A. Yeah, on the SIM cards I put little tags to tell them
04:43:20   18   apart.
04:43:21   19   Q. And what are those tags labeled?
04:43:24   20   A. SIM 1 and SIM 2 in my handwriting.
04:43:27   21   Q. Did you end up analyzing Government Exhibit Phones 2
04:43:32   22   through 4 and SIM Card 1 and 2?
04:43:35   23   A. Yes.
04:43:35   24   Q. Did you analyze that day, on July 15th?
04:43:38   25   A. No.
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04:43:39    1   Q. What date?
04:43:40    2   A. The 16th.
04:43:40    3   Q. Where were the Government Exhibits 2 through 4 and
04:43:43    4   Government Exhibits SIM Card 1 and 2 kept in the meantime?
04:43:46    5   A. In the bag that they were given to me in in the cellphone
04:43:49    6   downloading room at the Milwaukee HIDTA.
04:43:51    7   Q. What was the first thing you did in your examination of
04:43:54    8   just Government Exhibits Phones 2 and 3?
04:43:56    9   A. 2 and 3, I opened them up, looked at the back to get the
04:44:01   10   model number, so I could plug them into the system correctly.
04:44:04   11   And then I do a manual search to find the telephone number
04:44:09   12   associated with them.
04:44:09   13   Q. Were you able to find the telephone number associated with
04:44:12   14   those phones?
04:44:13   15   A. Yes.
04:44:13   16   Q. What was the telephone number for Government Exhibit?
04:44:16   17   A. 807-1085, 414 area code.
04:44:21   18              MR. RUBINO: I'm sorry. I couldn't hear the number,
04:44:23   19   please.
04:44:30   20              (Record read.)
04:44:30   21   BY MS. GUREN:
04:44:31   22   Q. And, actually, Ms. Smith, do you mind slowing down a
04:44:33   23   little bit --
04:44:33   24              MR. RUBINO: I'm sorry, your Honor.
04:44:34   25              MS. GUREN: Thank you.
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04:44:34    1              THE COURT: It's no problem.
04:44:36    2   BY MS. GUREN:
04:44:36    3   Q. In terms of Government Exhibit Phone 3, what phone number
04:44:39    4   did you find with that phone?
04:44:40    5   A. That was a 708 number. It's on the back.
04:44:44    6   Q. And I think I confused you. I'm not referring to
04:44:46    7   Government Exhibit Phone 4.
04:44:47    8   A. Oh, I'm sorry.
04:44:48    9   Q. For Government Exhibit Phone 3, what was --
04:44:51   10   A. Oh, that was the same, the 807-1085, 414 area code.
04:44:57   11   Q. Are you familiar with the term contact list or phonebook?
04:45:00   12   A. Yes.
04:45:00   13   Q. What is that?
04:45:01   14   A. It's the numbers that you put into your phone that you
04:45:05   15   want to keep by name and phone -- associated phone number.
04:45:08   16   Q. Did Cellebrite recover any contacts from Government
04:45:13   17   Exhibits Phones 2 and 3?
04:45:14   18   A. Could I see the report?
04:45:16   19   Q. Are you asking to refresh your memory?
04:45:18   20   A. Yes, ma'am.
04:45:19   21   Q. And what would refresh your memory?
04:45:21   22   A. Seeing the report that I generated from the Cellebrite.
04:45:25   23   Q. And what I'm going to do is I anticipated that you may
04:45:29   24   need to refer to this on other occasions, so I'm going to hand
04:45:32   25   you all of the Cellebrite reports that are associated with
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04:45:35    1   these items, and at the same time hand them to defense
04:45:39    2   counsel, so that he has access to them as well.
04:45:43    3              And what I would ask you to do is when you do look at
04:45:46    4   the report, can you ask to refresh your memory with it, and
04:45:51    5   otherwise keep the reports facedown?
04:45:55    6   A. We're talking about Phone 2 right now?
04:45:57    7   Q. So Phones 2 and 3.
04:46:05    8              The question is: Did Cellebrite recover any
04:46:08    9   contacts?
04:46:08   10   A. Yes.
04:46:09   11   Q. In phones -- Government Phones 2 and 3, are you familiar
04:46:13   12   with the contact Ron?
04:46:16   13   A. Yes.
04:46:17   14   Q. What was the phone number listed with the contact Ron?
04:46:20   15   A. I'm going to refresh my memory with the report.
04:46:25   16              (773) 858- --
04:46:29   17   Q. I would just ask you when you do refresh your memory read
04:46:32   18   it and turn it back over.
04:46:34   19   A. Okay. (773) 858-6892.
04:46:37   20   Q. And -- I'm sorry. Read it to yourself and refresh your
04:46:41   21   memory, and then turn it back over.
04:46:42   22              But did you -- so in the future.
04:46:45   23              For that number associated with Ron, did you just say
04:46:48   24   it was (773) 858-6892?
04:46:52   25   A. Yes.
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04:46:52    1   Q. Okay. For Government Exhibit Phone 2, was there any set
04:46:55    2   of numbers or symbols before this contact number for Ron
04:46:59    3   before that phone number?
04:47:00    4   A. Yes, star 82.
04:47:02    5   Q. Are you familiar with what star 82 means?
04:47:05    6   A. Yes.
04:47:06    7   Q. What does it mean?
04:47:07    8   A. When you have -- when you block your cellphone number.
04:47:09    9   What it means is that when you dial that person's cellphone
04:47:13   10   number, your contact information shows, so your number isn't
04:47:16   11   blocked, so they can see it's you calling them.
04:47:18   12   Q. So in this case is it Government Phone 2 that was blocked,
04:47:22   13   with the star 82 unblocking it, when he calls that particular
04:47:26   14   contact?
04:47:27   15   A. Correct.
04:47:27   16   Q. Are you familiar with the term text message?
04:47:29   17   A. Yes.
04:47:30   18   Q. What is it?
04:47:30   19   A. It's a written message that you can send via your
04:47:34   20   cellphone.
04:47:34   21   Q. Were there any text messages recovered from Government
04:47:38   22   Exhibit Phone 2?
04:47:38   23   A. Phone 2, I'm just going to refresh really quick with
04:47:41   24   the --
04:47:41   25   Q. Just read it silently to yourself, and when you're done
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04:47:45    1   turn it back over.
04:47:51    2   A. No, there were no text messages with Phone 2.
04:47:54    3   Q. For Government Exhibit Phone 3 were there any text
04:47:58    4   messages recovered?
04:47:59    5   A. Yes.
04:47:59    6   Q. Do you want to check your --
04:48:01    7   A. Oh, sure.
04:48:10    8              Oh, I'm sorry. No, there were not.
04:48:12    9   Q. Now, turning to Government Exhibit Phone 4, for Government
04:48:18   10   Exhibit Phone 4, were you able to analyze the actual phone
04:48:20   11   with Cellebrite?
04:48:21   12   A. No.
04:48:21   13   Q. What instead did you do?
04:48:23   14   A. I took the SIM card out of it and analyzed the SIM card.
04:48:26   15   Q. Were you able to recover a contacts list from that phone?
04:48:30   16   A. I'm going to have a look again.
04:48:32   17   Q. And just look at it, and when you're done, turn it back
04:48:35   18   over.
04:48:37   19   A. Yes.
04:48:38   20   Q. How many contacts did you recover?
04:48:40   21   A. Four.
04:48:41   22   Q. What were the names listed for the contact?
04:48:43   23   A. They were 414 and more, customer service, voice-mail, and
04:48:48   24   RR.
04:48:49   25   Q. What was the number listed for RR?
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04:48:52    1   A. I'm going to refresh my memory again with this.
04:48:56    2              (708) 566- -- I'm going to have to look at it
04:49:01    3   again -- -7480.
04:49:03    4   Q. And just so that's clear for the record, was that
04:49:05    5   (708) 566-7488?
04:49:09    6              MR. RUBINO: 88?
04:49:10    7              MS. GUREN: I'm sorry. 7480.
04:49:12    8              MR. RUBINO: 8-0. Sorry. Thank you.
04:49:15    9              THE WITNESS: Yes.
04:49:16   10   BY MS. GUREN:
04:49:16   11   Q. Were any text messages recovered from that phone?
04:49:19   12   A. I'm going to have to refresh my memory again.
04:49:21   13   Q. Please do.
04:49:22   14   A. Yes.
04:49:22   15   Q. How many?
04:49:23   16   A. Three.
04:49:24   17   Q. What were the phone numbers or contact names associated
04:49:28   18   for those three text messages?
04:49:30   19   A. One was RR. And another one, I'll have to look at the
04:49:33   20   report again to get the number. And that was 39411.
04:49:41   21   Q. Turning now to Government Exhibit SIM Card 1, were you
04:49:45   22   able to analyze Government Exhibit SIM Card 1?
04:49:48   23   A. Yes.
04:49:49   24   Q. How did you analyze it?
04:49:51   25   A. You can just plug the SIM cards into the Cellebrite
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04:49:53    1   machine and get a report off of them.
04:49:55    2   Q. Were you able to recover a contact list or a phonebook
04:49:58    3   from that cell -- from that SIM card?
04:50:00    4   A. I'm going to refresh my memory with the report again.
04:50:03    5   With SIM 1.
04:50:05    6   Q. SIM Card 1?
04:50:07    7   A. Yes.
04:50:08    8   Q. How many contacts did you recover -- did you -- were you
04:50:11    9   able to recover?
04:50:12   10   A. Three.
04:50:13   11   Q. What were those contacts?
04:50:14   12   A. The customer care, voice-mail, and RR.
04:50:17   13   Q. Did you also recover text messages?
04:50:21   14   A. I'm going to look again.
04:50:23   15              Yes.
04:50:24   16   Q. At this time I'm going to hand you Government Exhibit
04:50:29   17   Summary Chart 2. I'm also going to put the first page on the
04:50:32   18   screen, but it might be easier for you to look at the hard
04:50:36   19   copy.
04:50:57   20              Do you recognize that?
04:50:58   21   A. Yes.
04:50:58   22   Q. What is it?
04:50:59   23   A. It's a cell -- or I'm sorry -- it's a summary chart made
04:51:03   24   off of the report that I had made off of Cellebrite.
04:51:07   25   Q. What were -- and you said it was made off of the
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04:51:11    1   Cellebrite report.
04:51:12    2              And did that information come from Government
04:51:14    3   Exhibit SIM Card 1?
04:51:16    4   A. Yes.
04:51:16    5   Q. Did you review this summary chart for accuracy?
04:51:19    6   A. I did.
04:51:20    7   Q. Is this exhibit a true and accurate summary of incoming
04:51:24    8   text messages from the contact RR that you recovered from
04:51:28    9   Government Exhibit SIM Card 1?
04:51:30   10   A. Yes.
04:51:31   11              MS. GUREN: At this time we would move Government
04:51:34   12   Exhibit Summary 2 into evidence.
04:51:34   13              THE COURT: Okay. It will be admitted.
04:51:36   14              MS. GUREN: Permission to publish, your Honor?
04:51:38   15              THE COURT: You may.
04:51:39   16   BY MS. GUREN:
04:51:39   17   Q. I just want to go through with you the organization of
04:51:41   18   this. And for purposes of the jury, just give me a moment to
04:51:48   19   better magnify. I'm just going to magnify that top part.
04:51:51   20              Does that top part read Government Exhibit Summary 2,
04:51:55   21   Incoming Text Messages From RR from Government Exhibit Summary
04:52:02   22   Card 1?
04:52:03   23   A. Yes.
04:52:03   24   Q. Can you go through with me the organization of the chart
04:52:05   25   going through the column heads?
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04:52:05    1   A. It looks like the first column is just a numerical, how
04:52:09    2   many there were. The next is the number that had contact with
04:52:14    3   the SIM card that I downloaded. The next name is
04:52:18    4   associated -- the number that was associated with that phone
04:52:22    5   number. The date, time, and then the context of the text
04:52:27    6   message.
04:52:27    7   Q. Just taking it one step at a time, is the number and name
04:52:30    8   from the contact list of the SIM Card 1 that you looked at?
04:52:34    9   A. Yes.
04:52:34   10   Q. And is that number -- is that name RR?
04:52:37   11   A. Yes.
04:52:37   12   Q. Is that associated with the phone number (773) 290-3132?
04:52:43   13   A. Yes.
04:52:43   14   Q. And going through the date, is this the date that's
04:52:46   15   associated with the text message --
04:52:48   16   A. Yes.
04:52:48   17   Q. -- that was recovered?
04:52:49   18              And the time was also the time of that text message?
04:52:53   19   A. Yes.
04:52:53   20   Q. And for the time, it looks like, it's in 24-hour time or
04:52:56   21   military time --
04:52:57   22   A. Yes.
04:52:58   23   Q. -- is that accurate?
04:52:59   24              Looking at -- and this chart has two pages; is that
04:53:06   25   correct?
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04:53:06    1   A. Yes.
04:53:07    2   Q. Turning to the second page, does looking at the second
04:53:10    3   page tell you the total number of incoming text messages from
04:53:14    4   the contact RR?
04:53:15    5   A. Yes.
04:53:16    6   Q. And I didn't ask you this earlier, but was there also
04:53:19    7   another text that was not from RR that was recovered from SIM
04:53:23    8   Card 1?
04:53:23    9   A. Yes.
04:53:24   10   Q. And was there a contact number associated -- contact name
04:53:27   11   associated with that?
04:53:28   12   A. No.
04:53:29   13   Q. Was there a phone number associated with that?
04:53:31   14   A. Yes.
04:53:32   15   Q. What was the area code to that number?
04:53:36   16   A. 773.
04:53:36   17   Q. Now, looking -- I'm going to take you backwards, actually.
04:53:40   18   How many text messages in total were recovered from RR in
04:53:45   19   Government Exhibit SIM Card 1?
04:53:47   20   A. 27.
04:53:48   21   Q. Was the -- and I'm going backwards, because I'm now on
04:53:52   22   page 2. But was the last date of the text message
04:53:57   23   August 26th, 2006?
04:53:58   24   A. Yes.
04:53:58   25   Q. Turning to the first page, was the beginning date range of
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04:54:03    1   these text messages recovered July 24th, 2006?
04:54:06    2   A. Yes.
04:54:07    3   Q. I just want to ask you about some particular text
04:54:10    4   messages.
04:54:11    5              Looking at, for example, row eight, does that show a
04:54:17    6   text message at July 28, 2006, 13:08:25?
04:54:25    7   A. Yes.
04:54:25    8   Q. And would that be 1:08:25 p.m.?
04:54:29    9   A. Yes.
04:54:29   10   Q. Does that text message read, So what time you going to
04:54:33   11   come?
04:54:34   12   A. Yes.
04:54:34   13   Q. And looking down at the line that says 11 on that, what is
04:54:37   14   the date and time of that text message?
04:54:39   15   A. On line 11 it should be July 30th, 2006 at 11:32:28.
04:54:46   16   Q. What does that text message say?
04:54:48   17   A. It says, I need you come up to bring that change and come
04:54:53   18   back tomorrow.
04:54:54   19   Q. And, finally, just looking at the line 13, what date and
04:54:59   20   time is that text message?
04:55:01   21   A. August 1st, 2006 at 7:16.
04:55:05   22   Q. What does that text message read?
04:55:07   23   A. When you coming.
04:55:16   24   Q. Turning now to SIM Card 2, did you also analyze Government
04:55:23   25   Exhibit SIM Card 2?
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04:55:23    1   A. I did.
04:55:24    2   Q. How did you analyze that?
04:55:25    3   A. Same way I did SIM Card 1. I took the SIM card and put it
04:55:31    4   in the Cellebrite machine.
04:55:33    5   Q. Did you recover a contact list or a phonebook for that
04:55:35    6   one?
04:55:35    7   A. May I look at my report again? I need to refresh my
04:55:39    8   memory.
04:55:39    9   Q. You can.
04:55:48   10   A. I did get a contact list.
04:55:50   11   Q. And was there a contact associated with the name Ron?
04:55:54   12   A. Yes.
04:55:54   13   Q. What was the phone number associated with the contact
04:55:57   14   named Ron?
04:55:58   15   A. I'll have to refer to the report again.
04:56:19   16              858 -- sorry, I'm going to have to look again.
04:56:23   17   Q. It's all right.
04:56:27   18   A. (Continuing.) -- 6892, 773 area code.
04:56:31   19   Q. Okay. Were there any text messages associated -- or I'm
04:56:35   20   sorry -- recovered from Government Exhibit SIM Card 2?
04:56:37   21   A. No.
04:56:38   22   Q. After you completed your search of Government Exhibit
04:56:42   23   Phone 2, 3, 4, and Government Exhibit SIM Card 1 and 2, what
04:56:46   24   did you do with these phones and SIM cards?
04:56:49   25   A. I put them back in the bag that they were given to me, and
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04:56:52    1   I handed them back to Special Agent Soule.
04:56:55    2              MS. GUREN: One moment, your Honor?
04:57:05    3              No further questions.
04:57:05    4                                       - - -
04:57:05    5                       NICOLE SMITH, CROSS-EXAMINATION
04:57:05    6   BY MR. RUBINO:
04:57:22    7   Q. Good afternoon.
04:57:22    8   A. Hi.
04:57:27    9   Q. Ms. Smith, Mrs.?
04:57:29   10   A. Miss.
04:57:30   11   Q. Miss Smith, telephone number 2, the phone number was
04:57:40   12   (414) 807-1085; is that correct?
04:57:46   13   A. I'd have to refer to my --
04:57:47   14   Q. You can use it all you want, turn it over, leave it over.
04:57:51   15   You don't have to flip it back and forth for me.
04:57:53   16   A. For Phone 2?
04:57:55   17   Q. Phone 2.
04:58:00   18   A. Yes.
04:58:01   19   Q. And stay there.
04:58:03   20              And Phone 3 had the exact same number, did it not?
04:58:07   21   A. Yes.
04:58:07   22   Q. So Phones 2 and 3 both have the same number --
04:58:11   23   A. Yes.
04:58:11   24   Q. -- correct?
04:58:12   25              Okay. In the memory of Phone 2 and Phone 3, correct
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04:58:23    1   me if I'm wrong now, we don't have an RR, do we?
04:58:28    2   A. No.
04:58:29    3   Q. We do have a Ron, R-o-n?
04:58:33    4   A. Correct.
04:58:34    5   Q. And that number associated with Ron in the memory is
04:58:41    6   (773) 858-6892, correct?
04:58:48    7   A. Yes.
04:58:48    8   Q. Now, that is not the same number that the text came from,
04:58:56    9   is it?
04:58:56   10   A. No.
04:58:56   11   Q. The text came from (773) 290-3132?
04:59:03   12   A. Yes.
04:59:03   13   Q. So, clearly, neither one of these two phones caused this
04:59:06   14   text, did it?
04:59:07   15   A. I'm sorry?
04:59:08   16   Q. Neither one of the two phones, number 2 and number 3, were
04:59:12   17   the phones that initiated these text messages in number 2?
04:59:17   18   A. Correct.
04:59:17   19   Q. In Summary 2, am I right?
04:59:23   20   A. (No response.)
04:59:24   21   Q. You want me to try it again?
04:59:25   22   A. No.
04:59:26   23   Q. Summary 2 came from a number of 290-3132, correct?
04:59:31   24   A. Summary -- no. Summary 2 got -- received the text
04:59:36   25   messages from the 3132 number.
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04:59:41    1   Q. Right. But it -- okay.
04:59:42    2              Summary number 2 received the texts from
04:59:48    3   (713) 290-3132?
04:59:53    4   A. Yes.
04:59:54    5   Q. That's the sender, am I correct? 3132 is the sender?
05:00:00    6   A. Yes.
05:00:00    7   Q. The receiver is the SIM card and whatever phone it's in?
05:00:05    8   A. Correct.
05:00:05    9   Q. Okay. So that's the sender.
05:00:06   10              So now the sender of those text messages is not the
05:00:11   11   number that was associated to the name Ron in Phones 2 and 3,
05:00:16   12   is it?
05:00:17   13   A. No.
05:00:17   14   Q. Okay, good.
05:00:19   15              Now, the next question I have is Phone 4, okay,
05:00:30   16   Phone 4 did have initials RR in it, didn't it?
05:00:36   17   A. Yes.
05:00:37   18   Q. And the number in the memory index, whatever -- what do
05:00:44   19   you call this?
05:00:44   20   A. Just the contact list.
05:00:46   21   Q. Contact list, okay.
05:00:47   22              The contact list had the initials RR, correct?
05:00:51   23   A. Yes.
05:00:52   24   Q. And Summary Chart 2 has the initials RR, correct?
05:00:56   25   A. Yes.
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05:00:57    1   Q. But they are not the same phone, are they?
05:01:00    2   A. No, they are not the same phone number, no.
05:01:02    3   Q. Entirely different.
05:01:03    4              One is (708) 566-7480 in phone number 4, right?
05:01:09    5   A. 566-7480, yes.
05:01:12    6   Q. So phone number 4 did not send these text messages, did
05:01:18    7   it?
05:01:18    8   A. Not with this SIM card in it, no.
05:01:21    9   Q. Right.
05:01:21   10              So that RR doesn't necessarily have -- the RR in
05:01:26   11   Phone 4 doesn't have to be the same RR as in Summary 2, does
05:01:29   12   it?
05:01:30   13   A. No.
05:01:30   14   Q. Two entirely different numbers?
05:01:34   15   A. (No response.)
05:01:39   16   Q. The SIM card number -- this is number one, your Summary
05:01:47   17   Chart 2.
05:01:47   18              SIM Card number 2, did SIM Card number 2, in its
05:01:52   19   memory list -- what do you -- there's a word --
05:01:55   20   A. Contact list.
05:01:56   21   Q. Contact list. I'm getting closer. I have list.
05:01:58   22              In the contact list did that have an RR listed in it,
05:02:06   23   in the contact list?
05:02:10   24   A. No.
05:02:11   25   Q. No.
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05:02:13    1              So SIM Card 2 could not have been used to send these
05:02:19    2   text messages?
05:02:20    3   A. Correct.
05:02:22    4   Q. So we don't have either the phone or the SIM card that
05:02:25    5   sent these text messages, do we?
05:02:27    6   A. That sent the text messages?
05:02:31    7   Q. That sent them, the sender?
05:02:34    8   A. No, we don't.
05:02:34    9   Q. That's my point.
05:02:34   10   A. We don't have the phone that --
05:02:35   11   Q. We don't have that?
05:02:35   12   A. No.
05:02:37   13   Q. Okay. So we don't know where that is, do we?
05:02:39   14   A. I don't know where it is.
05:02:40   15   Q. We don't have the faintest idea who owns it or who
05:02:44   16   subscribes to it, do we?
05:02:46   17   A. I do not.
05:02:47   18   Q. Last question.
05:02:48   19              Did you ever find the number (773) 691-1702 in
05:02:57   20   anything you examined?
05:03:00   21   A. I would have to look through all the pages. Could I write
05:03:03   22   the number down or --
05:03:05   23   Q. I'm sorry. I'm barely --
05:03:07   24              THE COURT: Can she write the number down?
05:03:09   25              MR. RUBINO: Of course, this is not a memory test.
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05:03:11    1   Please, whatever I can ...
05:03:13    2              THE WITNESS: There's a lot of numbers.
05:03:15    3              THE COURT: Do you have a piece of paper?
05:03:17    4              MR. RUBINO: Whatever I can do to help you is fine.
05:03:20    5              THE WITNESS: Thank you.
05:03:20    6   BY MR. RUBINO:
05:03:21    7   Q. The number is (773) 691-1702.
05:03:28    8              MS. GUREN: Your Honor, we stipulate -- she doesn't
05:03:30    9   have to look through it -- that number is not in there.
05:03:33   10              THE COURT: Okay.
05:03:35   11              MR. RUBINO: I have no further questions and we've
05:03:36   12   saved you --
05:03:36   13              THE COURT: But I'll take my pen back.
05:03:38   14              MR. RUBINO: -- some time. Thank you.
05:03:40   15              MS. GUREN: No questions, your Honor.
05:03:41   16              THE COURT: Okay. You may step down then and be
05:03:43   17   excused.
05:03:45   18              (Witness leaves the stand.)
05:03:45   19              THE COURT: All right, folks. Here is the situation.
05:03:47   20   It's good news for you. We're moving very fast, much faster
05:03:51   21   than we thought, which means that we intend to finish the
05:03:55   22   trial much sooner than we thought. And that means that one
05:03:59   23   way to not waste your time is if we do legal work tomorrow as
05:04:04   24   opposed to trial.
05:04:05   25              So we're not going to meet tomorrow for jury trial.
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05:04:08    1   We're going to meet up again on Monday, and we think that
05:04:11    2   we'll finish the case in chief on Monday, which means that you
05:04:15    3   might get the case as early as Monday evening or Tuesday. So
05:04:19    4   it'll be a shorter jury trial for you.
05:04:21    5              Okay. So do not come back tomorrow. Come back on
05:04:25    6   Monday at 9:30. Okay. Thanks very much. Have a nice long
05:04:29    7   weekend.
05:04:29    8              Oh, wait, before you go. Remember, you know what I'm
05:04:32    9   going to say, right?
05:04:33   10              (Laughter.)
05:04:35   11              THE JURY: Yeah.
05:04:35   12              THE COURT: No Googling, no Twittering, no online
05:04:39   13   communications, don't discuss it with each other or others.
05:04:42   14   Please don't do outside research. Keep it clean. Thank you.
05:05:07   15              (The jury begins to leave the courtroom.)
05:05:07   16              THE JUROR: Have a nice weekend.
05:05:08   17              THE COURT: You too.
05:05:17   18              THE JUROR: Judge, do I have to report to work
05:05:19   19   tomorrow?
05:05:19   20              THE COURT: Oh, that's up to you.
05:05:25   21              (The jury leaves the courtroom.)
05:05:25   22              THE COURT: Okay, folks. Let me get a sense of what
05:05:27   23   we're up to next week.
05:05:29   24              MS. GUREN: Yes, your Honor. On Monday we will have
05:05:31   25   three witnesses. One of them is the financial summary
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05:05:35    1   witness.
05:05:35    2              THE COURT: Okay.
05:05:36    3              MS. GUREN: So I anticipate this might take some
05:05:39    4   time.
05:05:39    5              THE COURT: Okay.
05:05:39    6              MS. GUREN: One of them will be a fairly quick
05:05:41    7   witness, and one of them will be a medium-sized one --
05:05:43    8              MR. RUBINO: I'm sorry. A what one is fairly quick
05:05:47    9   and -- I just --
05:05:47   10              THE COURT: A fairly quick and a medium-sized one.
05:05:50   11              MR. RUBINO: Oh, I'm sorry.
05:05:53   12              THE COURT: Whatever that means.
05:05:53   13              MR. RUBINO: Okay.
05:05:53   14              THE COURT: And since we know that Ms. Guren doesn't
05:05:55   15   have a very good estimate on the time of things, I'm not sure
05:05:58   16   what that means.
05:05:59   17              (Laughter.)
05:05:59   18              MR. RUBINO: Sorry.
05:06:00   19              MS. GUREN: Fair enough. I've definitely earned that
05:06:03   20   reputation.
05:06:04   21              THE COURT: So do you think that we're talking about
05:06:06   22   finishing by early afternoon? Is this a good estimate?
05:06:09   23              MS. GUREN: I would say mid-afternoon.
05:06:10   24              THE COURT: Okay. All right. Well, if it is
05:06:13   25   mid-afternoon, what we'll probably do is break at that point
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05:06:17    1   and do jury instructions or clean up jury instructions, unless
05:06:22    2   you can let me know whether or not you're going to put on a
05:06:27    3   case.
05:06:28    4              Let me just take this time, before you say anything
05:06:32    5   on that, and inform you, Mr. Collins, that you do have an
05:06:34    6   absolute right not to testify and have the jury make any
05:06:39    7   inference of guilt from that refusal to testify. So if you
05:06:43    8   discussed --
05:06:44    9              MS. GUREN: I'm sorry. I think you might have
05:06:44   10   misspoke, not make any inference of guilt.
05:06:48   11              THE COURT: Oh, I'm sorry if I just misspoke at
05:06:51   12   5:00 p.m. Let me start over.
05:06:52   13              You have a constitutional right not to incriminate
05:06:56   14   yourself. And so if you chose not to testify, I would
05:06:58   15   instruct the jury that they could make no inference of guilt
05:07:01   16   from your refusal to testify. So one of the things that you
05:07:04   17   should be discussing with your attorney over the long weekend
05:07:07   18   is whether or not you want to testify, because I will ask you
05:07:11   19   on Monday, before your case starts, whether you want to do so.
05:07:15   20   Okay?
05:07:15   21              THE DEFENDANT: Okay.
05:07:15   22              THE COURT: And then I'll ask you whether you've had
05:07:17   23   an opportunity to talk with your attorney about that. All
05:07:20   24   right. Just so you understand that.
05:07:21   25              Do you understand that?
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05:07:22    1              THE DEFENDANT: Yes.
05:07:23    2              THE COURT: Okay. All right, now go ahead,
05:07:25    3   Mr. Rubino. You were going to say something about a defense
05:07:28    4   case or --
05:07:28    5              MR. RUBINO: Yeah. I -- you have covered it. Until
05:07:31    6   I spend the weekend with him going over what's happened this
05:07:35    7   week, we are not able to tell you if Mr. Collins will or will
05:07:38    8   not be testifying.
05:07:39    9              THE COURT: That's fine. But we'll find that out on
05:07:41   10   Monday.
05:07:41   11              MR. RUBINO: Yeah, absolutely.
05:07:42   12              THE COURT: All right. Anything else that we need to
05:07:45   13   address?
05:07:45   14              MS. GUREN: No, your Honor.
05:07:45   15              THE COURT: All right. Have a good long weekend
05:07:47   16   then.
05:07:47   17              MS. GUREN: Thank you, your Honor.
05:07:49   18              (Adjourned at 5:07 p.m.)
           19                                       - - -
           20
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           22
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    2
    3                              C E R T I F I C A T E
    4
    5       I certify that the foregoing is a correct transcript from
    6    the record of proceedings in the above-entitled matter.
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    8    /s/April M. Metzler, RPR, CRR, FCRR            June 2, 2011
    9    April M. Metzler, RPR, CRR, FCRR               Date
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                                at (312) 408-5154
